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                       MAY 2015
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FROM THE CO-CHAIRS
We wish to thank President Barack Obama for giving us the honor and privilege of leading his Task Force
on 21st Century Policing. The task force was created to strengthen community policing and trust among
law enforcement officers and the communities they serve—especially in light of recent events around
the country that have underscored the need for and importance of lasting collaborative relationships
between local police and the public. We found engaging with law enforcement officials, technical advi-
sors, youth and community leaders, and nongovernmental organizations through a transparent public
process to be both enlightening and rewarding, and we again thank the President for this honor.

Given the urgency of these issues, the President gave the task force an initial 90 days to identify best
policing practices and offer recommendations on how those practices can promote effective crime
reduction while building public trust. In this short period, the task force conducted seven public listen-
ing sessions across the country and received testimony and recommendations from a wide range of
community and faith leaders, law enforcement officers, academics, and others to ensure its recommen-
dations would be informed by a diverse range of voices. Such a remarkable achievement could not have
been accomplished without the tremendous assistance provided by the U.S. Department of Justice’s
Office of Community Oriented Policing Services (COPS Office), led by Director Ronald L. Davis, who also
served as the executive director of the task force. We thank Director Davis for his leadership, as well as his
chief of staff, Melanca Clark, and the COPS Office team that supported the operation and administration
of the task force.

We also wish to extend our appreciation to the COPS Office’s extremely capable logistical and technical
assistance provider, Strategic Applications International (SAI), led by James and Colleen Copple. In ad-
dition to logistical support, SAI digested the voluminous information received from testifying witnesses
and the public in record time and helped facilitate the task force’s deliberations on recommendations for
the President. We are also grateful for the thoughtful assistance of Darrel Stephens and Stephen Rick-
man, our technical advisors.

Most important, we would especially like to thank the hundreds of community members, law en-
forcement officers and executives, associations and stakeholders, researchers and academics, and civic
leaders nationwide who stepped forward to support the efforts of the task force and to lend their
experience and expertise during the development of the recommendations contained in this report.
The passion and commitment shared by all to building strong relationships between law enforcement
and communities became a continual source of inspiration and encouragement to the task force.

The dedication of our fellow task force members and their commitment to the process of arriving at
consensus around these recommendations is also worth acknowledging. The task force members
brought diverse perspectives to the table and were able to come together to engage in meaningful
dialogue on emotionally charged issues in a respectful and effective manner. We believe the type of
constructive dialogue we have engaged in should serve as an example of the type of dialogue that
must occur in communities throughout the nation.



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While much work remains to be done to address many longstanding issues and challenges—not only
within the field of law enforcement but also within the broader criminal justice system—this experience
has demonstrated to us that Americans are, by nature, problem solvers. It is our hope that the recom-
mendations included here will meaningfully contribute to our nation’s efforts to increase trust between
law enforcement and the communities they protect and serve.

Charles H. Ramsey                                           Laurie O. Robinson
Co-Chair                                                    Co-Chair




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President Barack Obama joins members of the President’s Task Force on 21st Century Policing for a group photo in the Oval Office, March 2, 2015.
                                                                                                                  OFFICIAL WHITE HOUSE PHOTO BY PETE SOUZA


M E M B E R S O F T H E TA S K F O R C E
Co-Chairs
Charles Ramsey, Commissioner, Philadelphia Police Department
Laurie Robinson, Professor, George Mason University

Members
Cedric L. Alexander, Deputy Chief Operating Officer for Public Safety, DeKalb County, Georgia
Jose Lopez, Lead Organizer, Make the Road New York
Tracey L. Meares, Walton Hale Hamilton Professor of Law, Yale Law School
Brittany N. Packnett, Executive Director, Teach For America, St. Louis, Missouri
Susan Lee Rahr, Executive Director, Washington State Criminal Justice Training Commission
Constance Rice, Co-Director, Advancement Project
Sean Michael Smoot, Director and Chief Counsel, Police Benevolent & Protective Association of Illinois
Bryan Stevenson, Founder and Executive Director, Equal Justice Initiative
Roberto Villaseñor, Chief of Police, Tucson Police Department

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TA S K F O R C E S TA F F
The U.S. Department of Justice’s Office of Community Oriented Policing Services, led by Director Ronald
L. Davis, provided administrative services, funds, facilities, staff, equipment, and other support services as
necessary for the task force to carry out its mission:

Executive Director                                           Ronald L. Davis

Chief of Staff                                               Melanca Clark

Communications Director                                      Silas Darden (Office of Justice Programs)

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Bigelow, Monica Palacio, and Adrienne Semidey

Technical Advisors: Stephen Rickman and Darrel Stephens

Consultant Research Assistants: Jan Hudson, Yasemin Irvin-Erickson, Katie Jares, Erin Kearns,
Belen Lowrey, and Kristina Lugo




1.   SAI provided technical and logistical support through a cooperative agreement with the COPS Office.




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led by Acting Assistant Attorney General Vanita Gupta.

The following individuals from across the U.S. Department of Justice also assisted the task force in its
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Margaret Richardson, Janice Rodgers, Elizabeth Simpson, Jonathan Smith, Brandon Tramel, Donte Turner,
and Miriam Vogel.




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Cincinnati Police Chief Jeffrey Blackwell welcomes the task force to the University of Cincinnati, January 30, 2015.   PHOTO: DEBORAH SPENCE
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EXECUTIVE SUMMARY
Trust between law enforcement agencies and                pose reforms; as a corollary to this effort, the task
the people they protect and serve is essential in a       force also recommends that the President support
democracy. It is key to the stability of our communi-     programs that take a comprehensive and inclusive
ties, the integrity of our criminal justice system, and   look at community-based initiatives addressing
the safe and effective delivery of policing services.     core issues such as poverty, education, and health
                                                          and safety.
In light of recent events that have exposed rifts
in the relationships between local police and the
communities they protect and serve, on Decem-             Pillar One: Building Trust
ber 18, 2014, President Barack Obama signed an            and Legitimacy
executive order establishing the Task Force on 21st
                                                          Building trust and nurturing legitimacy on both
Century Policing. The President charged the task
                                                          sides of the police/citizen divide is the founda-
force with identifying best practices and offering
                                                          tional principle underlying the nature of relations
recommendations on how policing practices can
                                                          between law enforcement agencies and the
promote effective crime reduction while building
                                                          communities they serve. Decades of research
public trust.
                                                          and practice support the premise that people are
This executive summary provides an overview               more likely to obey the law when they believe that
of the recommendations of the task force, which           those who are enforcing it have authority that is
met seven times in January and February of 2015.          perceived as legitimate by those subject to the
These listening sessions, held in Washington, D.C.;       authority. The public confers legitimacy only on
Phoenix, Arizona; and Cincinnati, Ohio, brought           those whom they believe are acting in procedur-
the 11 members of the task force together with            ally just ways. In addition, law enforcement cannot
more than 100 individuals from diverse stakeholder        build community trust if it is seen as an occupying
groups—law enforcement officers and executives,           force coming in from outside to impose control on
community members, civic leaders, advocates,              the community. Pillar one seeks to provide focused
researchers, academics, and others—in addition to         recommendations on building this relationship.
many others who submitted written testimony to
                                                          Law enforcement culture should embrace a guard-
study the problems from all perspectives.
                                                          ian—rather than a warrior—mindset to build trust
The task force recommendations, each with action          and legitimacy both within agencies and with
items, are organized around six main topic areas or       the public. Toward that end, law enforcement
“pillars:” Building Trust and Legitimacy, Policy and      agencies should adopt procedural justice as the
Oversight, Technology and Social Media, Commu-            guiding principle for internal and external policies
nity Policing and Crime Reduction, Officer Training       and practices to guide their interactions with rank
and Education, and Officer Safety and Wellness.           and file officers and with the citizens they serve.
                                                          Law enforcement agencies should also establish
The task force also offered two overarching rec-          a culture of transparency and accountability to
ommendations: the President should support the            build public trust and legitimacy. This is critical to
creation of a National Crime and Justice Task Force       ensuring decision making is understood and in
to examine all areas of criminal justice and pro-         accord with stated policy.

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Law enforcement agencies should also proactively        data on all parties involved. All policies and
promote public trust by initiating positive non-        aggregate data should be made publicly available
enforcement activities to engage communities            to ensure transparency.
that typically have high rates of investigative and
enforcement involvement with government agen-           To ensure policies are maintained and current,
cies. Law enforcement agencies should also track        law enforcement agencies are encouraged to
and analyze the level of trust communities have in      periodically review policies and procedures,
police just as they measure changes in crime. This      conduct nonpunitive peer reviews of critical
can be accomplished through consistent annual           incidents separate from criminal and administra-
community surveys. Finally, law enforcement             tive investigations, and establish civilian oversight
agencies should strive to create a workforce that       mechanisms with their communities.
encompasses a broad range of diversity including        Finally, to assist law enforcement and the com-
race, gender, language, life experience, and cul-       munity achieve the elements of pillar two, the
tural background to improve understanding and           U.S. Department of Justice, through the Office
effectiveness in dealing with all communities.          of Community Oriented Policing Services (COPS
                                                        Office) and Office of Justice Programs (OJP), should
Pillar Two: Policy and Oversight                        provide technical assistance and incentive funding
                                                        to jurisdictions with small police agencies that take
Pillar two emphasizes that if police are to carry out   steps toward interagency collaboration, shared
their responsibilities according to established poli-   services, and regional training. They should also
cies, those policies must reflect community values.     partner with the International Association of Direc-
Law enforcement agencies should collaborate with        tors of Law Enforcement Standards and Training
community members, especially in communities            (IADLEST) to expand its National Decertification
and neighborhoods disproportionately affected           Index to serve as the National Register of Decerti-
by crime, to develop policies and strategies for        fied Officers with the goal of covering all agencies
deploying resources that aim to reduce crime by         within the United States and its territories.
improving relationships, increasing community
engagement, and fostering cooperation.
                                                        Pillar Three: Technology &
To achieve this end, law enforcement agencies           Social Media
should have clear and comprehensive policies on
the use of force (including training on the im-         The use of technology can improve policing practic-
portance of de-escalation), mass demonstrations         es and build community trust and legitimacy, but its
(including the appropriate use of equipment,            implementation must be built on a defined policy
particularly rifles and armored personnel carriers),    framework with its purposes and goals clearly de-
consent before searches, gender identification,         lineated. Implementing new technologies can give
racial profiling, and performance measures—             police departments an opportunity to fully engage
among others such as external and independent           and educate communities in a dialogue about their
investigations and prosecutions of officer-involved     expectations for transparency, accountability, and
shootings and other use of force situations and         privacy. But technology changes quickly in terms
in-custody deaths. These policies should also in-       of new hardware, software, and other options. Law
clude provisions for the collection of demographic      enforcement agencies and leaders need to be able


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                                                                               EXECUTIVE SUMMARY



to identify, assess, and evaluate new technology       munity engagement in managing public safety.
for adoption and do so in ways that improve their      Law enforcement agencies should also engage in
effectiveness, efficiency, and evolution without       multidisciplinary, community team approaches for
infringing on individual rights.                       planning, implementing, and responding to crisis
                                                       situations with complex causal factors.
Pillar three guides the implementation, use, and
evaluation of technology and social media by law       Communities should support a culture and
enforcement agencies. To build a solid foundation      practice of policing that reflects the values of
for law enforcement agencies in this field, the U.S.   protection and promotion of the dignity of all—
Department of Justice, in consultation with the        especially the most vulnerable, such as children
law enforcement field, should establish national       and youth most at risk for crime or violence. Law
standards for the research and development of          enforcement agencies should avoid using law
new technology including auditory, visual, and bio-    enforcement tactics that unnecessarily stigmatize
metric data, “less than lethal” technology, and the    youth and marginalize their participation in schools
development of segregated radio spectrum such          (where law enforcement officers should have limit-
as FirstNet. These standards should also address       ed involvement in discipline) and communities. In
compatibility, interoperability, and implementation    addition, communities need to affirm and recog-
needs both within local law enforcement agencies       nize the voices of youth in community decision
and across agencies and jurisdictions and should       making, facilitate youth participation in research
maintain civil and human rights protections. Law       and problem solving, and develop and fund youth
enforcement implementation of technology               leadership training and life skills through positive
should be designed considering local needs and         youth/police collaboration and interactions.
aligned with these national standards. Finally,
law enforcement agencies should adopt model
policies and best practices for technology-based
                                                       Pillar Five: Training & Education
community engagement that increases communi-           As our nation becomes more pluralistic and
ty trust and access.                                   the scope of law enforcement’s responsibilities
                                                       expands, the need for expanded and more
                                                       effective training has become critical. Today’s line
Pillar Four: Community Policing &                      officers and leaders must be trained and capable
Crime Reduction                                        to address a wide variety of challenges including
Pillar four focuses on the importance of com-          international terrorism, evolving technologies,
munity policing as a guiding philosophy for all        rising immigration, changing laws, new cultural
stakeholders. Community policing emphasizes            mores, and a growing mental health crisis.
working with neighborhood residents to co-
                                                       Pillar five focuses on the training and education
produce public safety. Law enforcement agencies
                                                       needs of law enforcement. To ensure the high
should, therefore, work with community residents
                                                       quality and effectiveness of training and educa-
to identify problems and collaborate on imple-
                                                       tion, law enforcement agencies should engage
menting solutions that produce meaningful results
                                                       community members, particularly those with spe-
for the community. Specifically, law enforcement
                                                       cial expertise, in the training process and provide
agencies should develop and adopt policies and
                                                       leadership training to all personnel throughout
strategies that reinforce the importance of com-
                                                       their careers.

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To further assist the training and educational           Law enforcement agencies should also promote
needs of law enforcement, the Federal Gov-               wellness and safety at every level of the organiza-
ernment should support the development of                tion. For instance, every law enforcement officer
partnerships with training facilities across the         should be provided with individual tactical first aid
country to promote consistent standards for high         kits and training as well as anti-ballistic vests. In
quality training and establish training innovation       addition, law enforcement agencies should adopt
hubs involving universities and police academies.        policies that require officers to wear seat belts and
A national postgraduate institute of policing for        bullet-proof vests and provide training to raise
senior executives should be created with a stan-         awareness of the consequences of failure to do so.
dardized curriculum preparing participants to lead       Internal procedural justice principles should be ad-
agencies in the 21st century.                            opted for all internal policies and interactions. The
                                                         Federal Government should develop programs
One specific method of increasing the quality of         to provide financial support for law enforcement
training would be to ensure that Peace Officer           officers to continue to pursue educational op-
and Standards Training (POST) boards include             portunities. Finally, Congress should develop and
mandatory Crisis Intervention Training (CIT), which      enact peer review error management legislation.
equips officers to deal with individuals in crisis or
living with mental disabilities, as part of both basic
recruit and in-service officer training—as well as       Implementation Recommendations
instruction in disease of addiction, implicit bias
                                                         The administration, through policies and practices
and cultural responsiveness, policing in a dem-
                                                         already in place, can start right now to move
ocratic society, procedural justice, and effective
                                                         forward on the recommendations contained in
social interaction and tactical skills.
                                                         this report. The President should direct all federal
                                                         law enforcement agencies to implement the task
Pillar Six: Officer Wellness & Safety                    force recommendations to the extent practica-
                                                         ble, and the U.S. Department of Justice should
The wellness and safety of law enforcement               explore public-private partnership opportunities
officers is critical not only for the officers, their    with foundations to advance implementation of
colleagues, and their agencies but also to public        the recommendations. Finally, the COPS Office
safety. Pillar six emphasizes the support and prop-      and OJP should take a series of targeted actions
er implementation of officer wellness and safety as      to assist the law enforcement field in addressing
a multi-partner effort.                                  current and future challenges.
The U.S. Department of Justice should enhance
and further promote its multi-faceted officer safety     Conclusion
and wellness initiative. Two specific strategies
recommended for the U.S. Department of Justice           The members of the Task Force on 21st Century
include (1) encouraging and assisting departments        Policing are convinced that the concrete recom-
in the implementation of scientifically supported        mendations contained in this publication will
shift lengths by law enforcement and (2) expand-         bring long-term improvements to the ways in
ing efforts to collect and analyze data not only on      which law enforcement agencies interact with and
officer deaths but also on injuries and “near misses.”   bring positive change to their communities.


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INTRODUCTION
“When any part of the American family does not feel like it is being
treated fairly, that’s a problem for all of us.”
                                                                                  —President Barack Obama
Trust between law enforcement agencies and               These remarks underpin the philosophical
the people they protect and serve is essential           foundation for the Task Force on 21st Century
in a democracy. It is key to the stability of our        Policing: to build trust between citizens and their
communities, the integrity of our criminal justice       peace officers so that all components of a com-
system, and the safe and effective delivery of           munity are treating one another fairly and justly
policing services.                                       and are invested in maintaining public safety in
                                                         an atmosphere of mutual respect. Decades of
In light of the recent events that have exposed          research and practice tell us that the public cares
rifts in the relationships between local police and      as much about how police interact with them as
the communities they protect and serve, on De-           they care about the outcomes that legal actions
cember 18, 2014, President Barack Obama signed           produce. People are more likely to obey the law
Executive Order 13684 establishing the Task Force        when they believe those who are enforcing it
on 21st Century Policing.                                have the right—the legitimate authority—to tell
In establishing the task force, the President spoke      them what to do.2 Building trust and legitimacy,
of the distrust that exists between too many             therefore, is not just a policing issue. It involves all
police departments and too many communi-                 components of the criminal justice system and
ties—the sense that in a country where our basic         is inextricably bound to bedrock issues affecting
principle is equality under the law, too many            the community such as poverty, education, and
individuals, particularly young people of color, do      public health.
not feel as if they are being treated fairly.            The mission of the task force was to examine ways
“When any part of the American family does not           of fostering strong, collaborative relationships
feel like it is being treated fairly, that’s a problem   between local law enforcement and the commu-
for all of us,” said the President. “It’s not just a     nities they protect and to make recommendations
problem for some. It’s not just a problem for a          to the President on ways policing practices can
particular community or a particular demographic.        promote effective crime reduction while building
It means that we are not as strong as a country          public trust. The President selected members of
as we can be. And when applied to the criminal           the task force based on their ability to contribute
justice system, it means we’re not as effective in       to its mission because of their relevant perspec-
fighting crime as we could be.”                          tive, experience, or subject matter expertise
                                                         in policing, law enforcement and community
                                                         relations, civil rights, and civil liberties.

                                                         2. T.R. Tyler, Why People Obey the Law (New Haven, CT: Yale University Press,
                                                         1990); M.S. Frazer, The Impact of the Community Court Model on Defendant
                                                         Perceptions of Fairness: A Case Study at the Red Hook Community Justice Center (New
                                                         York: Center for Court Innovation, 2006).


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The task force was given 90 days to conduct             licing” in its historical and contemporary contexts,
hearings, review the research, and make recom-          defining the difference between implicit bias and
mendations to the President, so its focus was           racial discrimination—two concepts at the heart
sharp and necessarily limited. It concentrated          of perceived difficulties between police and the
on defining the cross-cutting issues affecting          people. Witnesses from community organizations
police-community interactions, questioning              stressed the need for more police involvement in
the contemporary relevance and truth about              community affairs as an essential component of
long-held assumptions regarding the nature and          their crime fighting duties. Police officers gave the
methods of policing, and identifying the areas          beat cop’s perspective on protecting people who
where research is needed to highlight examples          do not respect their authority, and three big-city
of evidence-based policing practices compatible         mayors told of endemic budgetary obstacles to
with present realities.                                 addressing policing challenges.

To fulfill this mission, the task force convened sev-   The session on Policy and Oversight again brought
en listening sessions to hear testimony—including       witnesses from diverse police forces (both chiefs
recommendations for action—from government              and union representatives), from law and academia,
officials; law enforcement officers; academic ex-       and from established civil rights organizations and
perts; technical advisors; leaders from established     grass-root groups. They discussed use of force from
nongovernmental organizations, including grass-         the point of view of both research and policy and
roots movements; and any other members of the           internal and external oversight; explained how they
public who wished to comment. The listening             prepare for and handle mass demonstrations; and
sessions were held in Washington, D.C., January 13;     pondered culture and diversity in law enforcement.
Cincinnati, Ohio, January 30–31; Phoenix, Arizona,      Witnesses filled the third session, on Technology
February 13–14; and again in Washington, D.C.,          and Social Media, with testimony on the use of
February 23–24. Other forms of outreach included        body-worn cameras and other technologies from
a number of White House listening sessions to           the angles of research and legal considerations,
engage other constituencies, such as people with        as well as the intricacies of implementing new
disabilities, the LGBTQ community, and members          technologies in the face of privacy issues. They
of the armed forces, as well as careful study of        discussed the ever-expanding ubiquity of social
scholarly articles, research reports, and written       media and its power to work both for and against
contributions from informed experts in various          policing practice and public safety.
fields relevant to the task force’s mission.
                                                        The Community Policing and Crime Reduction lis-
Each of the seven public listening sessions ad-         tening session considered current research on the
dressed a specific aspect of policing and               effectiveness of community policing on bringing
police-community relations, although cross-             down crime, as well as building up public trust.
cutting issues and concerns made their appear-          Task force members heard detailed descriptions
ance at every session. At the first session, Building   of the methods used by chiefs in cities of varying
Trust and Legitimacy, the topic of procedural           sizes to implement effective community policing
justice was discussed as a foundational necessity       in their jurisdictions over a number of years. They
in building public trust. Subject matter experts        also heard from a panel of young people about
also testified as to the meaning of “community po-      their encounters with the criminal justice system


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                                                                                                            INTRODUCTION



and the lasting effects of positive interactions         0.1 O VERARCHING R ECOMMENDATION :
with police through structured programs as well          The President should support and provide
as individual relationships. The fifth listening         funding for the creation of a National Crime
session considered Training and Education in law         and Justice Task Force to review and evaluate
enforcement over an officer’s entire career—from         all components of the criminal justice system
recruitment through basic training to in-service         for the purpose of making recommendations
training—and the support, education, and                 to the country on comprehensive criminal
training of supervisors, leaders, and managers.          justice reform.
Finally, the panel on Officer Safety and Wellness
                                                         Several witnesses at the task force’s listening
considered the spectrum of mental and physical
                                                         sessions pointed to the fact that police represent
health issues faced by police officers from the
                                                         the “face” of the criminal justice system to the
day-to-day stress of the job, its likely effect on an
                                                         public. Yet police are obviously not responsible for
officer’s physical health, and the need for mental
                                                         laws or incarceration policies that many citizens
health screening to traffic accidents, burnout,
                                                         find unfair. This misassociation leads us to call for a
suicide, and how better to manage these issues to
                                                         broader examination of such issues as drug policy,
determine the length of an officer’s career.
                                                         sentencing and incarceration, which are beyond
A listening session on the Future of Community Po-       the scope of a review of police practices.
licing concluded the task force’s public sessions and
                                                         This is not a new idea.
was followed by the deliberations leading to the
recommendations that follow on ways to research,         In the 1967 President’s Commission on Law
improve, support, and implement policies and             Enforcement and Administration of Justice report,
procedures for effective policing in the 21st century.   The Challenge of Crime in a Free Society, one of the
                                                         major findings stated, “Officials of the criminal
Many excellent and specific suggestions emerged
                                                         justice system . . . must re-examine what they do.
from these listening sessions on all facets of polic-
                                                         They must be honest about the system’s short-
ing in the 21st century, but many questions arose
                                                         comings with the public and with themselves.”3
as well. Paramount among them was how to bring
unity of purpose and consensus on best practices         The need to establish a formal structure to take a
to a nation with 18,000 separate law enforcement         continuous look at criminal justice reform in the
agencies and a strong history of a preference for        context of broad societal issues has never faded
local control of local issues. It became very clear      from public consciousness. When former Senator
that it is time for a comprehensive and multifacet-      Jim Webb (D-VA) introduced legislation to create
ed examination of all the interrelated parts of the      the National Criminal Justice Commission in 2009,
criminal justice system and a focused investigation      a number of very diverse organizations from the
into how poverty, lack of education, mental health,      Major Cities Chiefs Association, the Fraternal Order
and other social conditions cause or intersect with      of Police, the National Sheriffs Association, and the
criminal behavior. We propose two overarching            National District Attorneys Association to Human
recommendations that will seek the answers to            Rights Watch, the American Civil Liberties Union,
these questions.
                                                         3. The President’s Commission on Law Enforcement and Administration of
                                                         Justice, The Challenge of Crime in a Free Society (Washington, DC: U.S. Government
                                                         Printing Office, 1967), 15, https://www.ncjrs.gov/pdffiles1/nij/42.pdf.



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A panel of community voices with Allie Bones, Renaldo Fowler, Keeshan Harley, Andrea Ritchie, and Linda Sarsour, Phoenix, February 14, 2015.
                                                                                                                                                 PHOTO: DEBORAH SPENCE

and the National Association for the Advancement                                   And Jeremy Travis, president of John Jay
of Colored People all supported it. This legislation                               College of Criminal Justice, added, in the final
would have authorized a national criminal justice                                  listening session,
commission to conduct a comprehensive review
                                                                                      You said it is time to look at the criminal justice
of the criminal justice system by a bipartisan panel
                                                                                      system, and actually I would broaden the scope. We
of stakeholders, policymakers, and experts that
                                                                                      have this question of how to reintegrate into our
would make thoughtful, evidence-based recom-
                                                                                      society those who have caused harms . . . . It is not
mendations for reform. The bill received strong
                                                                                      just the system but these big, democratic, societal
bipartisan support and passed the House but
                                                                                      questions that go to government functions and how
never received a final vote.
                                                                                      we deal with conflict as well.5
More recently, a number of witnesses raised the
idea of a national commission at the task force’s
                                                                                   0.2 O VERARCHING R ECOMMENDATION :
listening sessions—notably Richard Beary, presi-
                                                                                   The President should promote programs
dent of the International Association of Chiefs of
                                                                                   that take a comprehensive and inclusive look
Police (IACP), who said,
                                                                                   at community-based initiatives that address
    For over 20 years, the IACP has called for the                                 the core issues of poverty, education, health,
    creation of a National Commission on Criminal                                  and safety.
    Justice to develop across-the-board improvements                               As is evident from many of the recommendations
    to the criminal justice system in order to address                             in this report, the justice system alone cannot
    current challenges and to increase the efficiency                              solve many of the underlying conditions that give
    and effectiveness of the entire criminal justice                               rise to crime. It will be through partnerships across
    community. A deep dive into community-police                                   sectors and at every level of government that we
    relations is only one part of this puzzle. We must                             will find the effective and legitimate long-term
    explore other aspects of the criminal justice system                           solutions to ensuring public safety.
    that need to be revamped and further contribute to
    today’s challenges.4

4. Listening Session on Building Trust and Legitimacy (oral testimony of Richard   5. Listening Session on the Future of Community Policing (oral testimony of
Beary, president, IACP, for the President’s Task Force on 21st Century Policing,   Jeremy Travis, president, John Jay College of Criminal Justice, for the President’s Task
Washington, DC, January 13–14, 2015).                                              Force on 21st Century Policing, Washington, DC, January 24, 2015).

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PILLAR 1. BUILDING TRUST & LEGITIMACY
People are more likely to obey the law when they believe that those
who are enforcing it have the legitimate authority to tell them what
to do . . . . The public confers legitimacy only on those they believe
are acting in procedurally just ways.

Building trust and nurturing legitimacy on both                                       This decline is in addition to the fact that non-
sides of the police-citizen divide is not only the first                              Whites have always had less confidence in law
pillar of this task force’s report but also the foun-                                 enforcement than Whites, likely because “the
dational principle underlying this inquiry into the                                   poor and people of color have felt the greatest
nature of relations between law enforcement and                                       impact of mass incarceration,” such that for “too
the communities they serve. Since the 1990s, po-                                      many poor citizens and people of color, arrest
licing has become more effective, better equipped,                                    and imprisonment have become an inevitable
and better organized to tackle crime. Despite this,                                   and seemingly unavoidable part of the American
Gallup polls show the public’s confidence in police                                   experience.”7 Decades of research and practice
work has remained flat, and among some popula-                                        support the premise that people are more likely to
tions of color, confidence has declined.6                                             obey the law when they believe that those

Figure 1. Confidence in police to protect them from violent crime, U.S. Whites vs. non-Whites




Source: Justin McCarthy, “Nonwhites Less Likely” (see note 6).
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6. Justin McCarthy, “Nonwhites Less Likely to Feel Police Protect and Serve           7. Bryan Stevenson, “Confronting Mass Imprisonment and Restoring Fairness to
Them,” Gallup: Politics, November 17, 2014, http://www.gallup.com/poll/179468/        Collateral Review of Criminal Cases,” Harvard Civil Rights-Civil Liberties Law Review
nonwhites-less-likely-feel-police-protect-serve.aspx.                                 41 (Summer 2006): 339–367.


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who are enforcing it have the legitimate authority                                follows that officers who feel respected by their
to tell them what to do. But the public confers                                   organizations are more likely to bring this respect
legitimacy only on those they believe are acting in                               into their interactions with the people they serve.
procedurally just ways.
                                                                                  External procedural justice focuses on the ways
Procedurally just behavior is based on four central                               officers and other legal authorities interact with
principles:                                                                       the public and how the characteristics of those in-
                                                                                  teractions shape the public’s trust of the police. It
1. Treating people with dignity and respect                                       is important to understand that a key component
2. Giving individuals “voice” during encounters                                   of external procedural justice—the practice of fair
3. Being neutral and transparent in                                               and impartial policing—is built on understanding
   decision making                                                                and acknowledging human biases,11 both explicit
                                                                                  and implicit.
4. Conveying trustworthy motives8
Research demonstrates that these principles lead                                  All human beings have biases or prejudices as
to relationships in which the community trusts                                    a result of their experiences, and these biases
that officers are honest, unbiased, benevolent, and                               influence how they might react when dealing
lawful. The community therefore feels obligated to                                with unfamiliar people or situations. An explicit
follow the law and the dictates of legal authorities                              bias is a conscious bias about certain populations
and is more willing to cooperate with and engage                                  based upon race, gender, socioeconomic status,
those authorities because it believes that it shares a                            sexual orientation, or other attributes.12 Common
common set of interests and values with the police.9                              sense shows that explicit bias is incredibly dam-
                                                                                  aging to police-community relations, and there is
There are both internal and external aspects to
                                                                                  a growing body of research evidence that shows
procedural justice in policing agencies. Internal
                                                                                  that implicit bias—the biases people are not even
procedural justice refers to practices within an
                                                                                  aware they have—is harmful as well.
agency and the relationships officers have with
their colleagues and leaders. Research on internal                                Witness Jennifer Eberhardt said,
procedural justice tells us that officers who feel
respected by their supervisors and peers are more                                    Bias is not limited to so-called “bad people.” And
likely to accept departmental policies, understand                                   it certainly is not limited to police officers. The
decisions, and comply with them voluntarily.10 It                                    problem is a widespread one that arises from history,
                                                                                     from culture, and from racial inequalities that still
8. Lorraine Mazerolle, Sarah Bennett, Jacqueline Davis, Elise Sargeant,              pervade our society and are especially salient in the
and Matthew Manning, “Legitimacy in Policing: A Systematic Review,” The
                                                                                     context of criminal justice.13
Campbell Collection Library of Systematic Reviews 9 (Oslo, Norway: The Campbell
Collaboration, 2013).
9. Tom Tyler, Jonathon Jackson, and Ben Bradford, “Procedural Justice and
Cooperation,” in Encyclopedia of Criminology and Criminal Justice, eds. Gerben
Bruinsma and David Weisburd (New York: Springer, 2014), 4011–4024.                11. Lorie Fridell, “This is Not Your Grandparents’ Prejudice: The Implications of
10. Nicole Haas et al., “Explaining Officer Compliance: The Importance of         the Modern Science of Bias for Police Training,” Translational Criminology (Fall
Procedural Justice and Trust inside a Police Organization,” Criminology and       2013):10–11.
Criminal Justice (January 2015), doi: 10.1177/1748895814566288; COPS Office,      12. Susan Fiske, “Are We Born Racist?” Greater Good (Summer 2008):14–17.
“Comprehensive Law Enforcement Review: Procedural Justice and Legitimacy,”        13. Listening Session on Building Trust and Legitimacy (oral testimony of Jennifer
accessed February 28, 2015, http://www.cops.usdoj.gov/pdf/taskforce/              Eberhardt for the President’s Task Force on 21st Century Policing, Washington, DC,
Procedural-Justice-and-Legitimacy-LE-Review-Summary.pdf.                          January 13, 2015).



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                                                                                    PILLAR 1. BUILDING TRUST & LEGITIMACY



To achieve legitimacy, mitigating implicit bias                                        1.1 RECOMMENDATION: Law enforcement
should be a part of training at all levels of a law                                    culture should embrace a guardian mindset to
enforcement organization to increase awareness                                         build public trust and legitimacy. Toward that
and ensure respectful encounters both inside the                                       end, police and sheriffs’ departments should
organization and with communities.                                                     adopt procedural justice as the guiding principle
                                                                                       for internal and external policies and practices to
The first witnesses at the task force sessions on                                      guide their interactions with the citizens they serve.
the first pillar also directly addressed the need for
a change in the culture in which police do their                                       How officers define their role will set the tone
work: the use of disrespectful language and the                                        for the community. As Plato wrote, “In a republic
implicit biases that lead officers to rely upon race                                   that honors the core of democracy—the great-
in the context of stop and frisk. They addressed                                       est amount of power is given to those called
the need for police officers to find how much they                                     Guardians. Only those with the most impeccable
have in common with the people they serve—                                             character are chosen to bear the responsibility of
not the lines of authority they may perceive to                                        protecting the democracy.”
separate them—and to continue with enduring
                                                                                       Law enforcement cannot build community trust
programs proven successful over many years.
                                                                                       if it is seen as an occupying force coming in from
Several speakers stressed the continuing need                                          outside to rule and control the community.
for civilian oversight and urged more research
                                                                                       As task force member Susan Rahr wrote,
into proving ways it can be most effective. And
many spoke to the complicated issue of diversity                                          In 2012, we began asking the question, “Why are we
in recruiting, especially Sherrilyn Ifill, who said of                                    training police officers like soldiers?” Although police
youth in poor communities,                                                                officers wear uniforms and carry weapons, the similarity
                                                                                          ends there. The missions and rules of engagement
   By the time you are 17, you have been stopped
                                                                                          are completely different. The soldier’s mission is that
   and frisked a dozen times. That does not make that
                                                                                          of a warrior: to conquer. The rules of engagement are
   17-year-old want to become a police officer . . . .
                                                                                          decided before the battle. The police officer’s mission is
   The challenge is to transform the idea of policing in
                                                                                          that of a guardian: to protect. The rules of engagement
   communities among young people into something
                                                                                          evolve as the incident unfolds. Soldiers must follow
   they see as honorable. They have to see people
                                                                                          orders. Police officers must make independent
   at local events, as the person who lives across the
                                                                                          decisions. Soldiers come into communities as an
   street, not someone who comes in and knows
                                                                                          outside, occupying force. Guardians are members of
   nothing about my community.14
                                                                                          the community, protecting from within.15
The task force’s specific recommendations that
                                                                                       There’s an old saying, “Organizational culture
follow offer practical ways agencies can act to
                                                                                       eats policy for lunch.” Any law enforcement
promote legitimacy.
                                                                                       15. Sue Rahr, “Transforming the Culture of Policing from Warriors to Guardians
14. Listening Session on Building Trust and Legitimacy (oral testimony                 in Washington State,” International Association of Directors of Law Enforcement
of Sherrilyn Ifill, president and director-counsel, NAACP Legal Defense and            Standards and Training Newsletter 25, no. 4 (2014): 3–4; see also Sue Rahr and
Educational Fund, Inc., for the President’s Task Force on 21st Century Policing,       Stephen K. Rice, “From Warriors to Guardians: Recommitting American Police
Washington, DC, January 13, 2015); “Statement by the NAACP Legal Defense               Culture to Democratic Ideals,” New Perspectives in Policing Bulletin (Washington,
and Educational Fund, Inc.” (written testimony submitted for listening session at      DC: National Institute of Justice, 2015), NCJ 248654, http://www.hks.harvard.edu/
Washington, DC, January 13, 2015).                                                     content/download/76023/1708385/version/1/file/WarriorstoGuardians.pdf.


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organization can make great rules and policies                                     Baltimore Police Commissioner Anthony Batts
that emphasize the guardian role, but if policies                                  described the process in his city:
conflict with the existing culture, they will not be
                                                                                      The process started with the commissioning of a
institutionalized and behavior will not change. In
                                                                                      study to evaluate the police department and the
police work, the vast majority of an officer’s work is
                                                                                      community’s views of the agency . . . . The review
done independently outside the immediate over-
                                                                                      uncovered broken policies, outdated procedures,
sight of a supervisor. But consistent enforcement
                                                                                      outmoded technology, and operating norms that
of rules that conflict with a military-style culture,
                                                                                      put officers at odds with the community they are
where obedience to the chain of command is the
                                                                                      meant to serve. It was clear that dramatic and
norm, is nearly impossible. Behavior is more likely
                                                                                      dynamic change was needed.17
to conform to culture than rules.

The culture of policing is also important to the                                   Ultimately, the Baltimore police created the
proper exercise of officer discretion and use of                                   Professional Standards and Accountability Bureau,
authority, as task force member Tracey Meares has                                  tasked with rooting out corruption, holding offi-
written.16 The values and ethics of the agency will                                cers accountable, and implementing national best
guide officers in their decision-making process;                                   practices for polices and training. New department
they cannot simply rely on rules and policy to act                                 heads were appointed and a use of force review
in encounters with the public. Good policing is                                    structure based on the Las Vegas model was
more than just complying with the law. Some-                                       implemented. “These were critical infrastructure
times actions are perfectly permitted by policy,                                   changes centered on the need to improve the in-
but that does not always mean an officer should                                    ternal systems that would build accountability and
take those actions. Adopting procedural justice                                    transparency, inside and outside the organization,”
as the guiding principle for internal and external                                 noted Commissioner Batts.18
policies and practices can be the underpinning
of a change in culture and should contribute to                                    1.2.1 A CTION I TEM : The U.S. Department of
building trust and confidence in the community.                                    Justice should develop and disseminate case studies
                                                                                   that provide examples where past injustices were
                                                                                   publicly acknowledged by law enforcement agen-
1.2 R ECOMMENDATION : Law enforcement
                                                                                   cies in a manner to help build community trust.
agencies should acknowledge the role of
policing in past and present injustice and
discrimination and how it is a hurdle to the                                       1.3 R ECOMMENDATION : Law enforcement
promotion of community trust.                                                      agencies should establish a culture of
                                                                                   transparency and accountability in order to
At one listening session, a panel of police chiefs
                                                                                   build public trust and legitimacy. This will help
described what they had been doing in recent
                                                                                   ensure decision making is understood and in
years to recognize and own their history and to
                                                                                   accord with stated policy.
change the culture within both their police forces
and their communities.
                                                                                   17. Listening Session on Community Policing and Crime Reduction: Building
16. Tracey L. Meares, “Rightful Policing,” New Perspectives in Policing Bulletin   Community Policing Organizations (oral testimony of Anthony Batts, commissioner,
(Washington, DC: National Institute of Justice, 2015), NCJ 248411,                 Baltimore Police Department, for the President’s Task Force on 21st Century Policing,
http://www.hks.harvard.edu/content/download/74084/1679313/                         Phoenix, AZ, February 13, 2015).
version/4/file/RightfulPolicing.pdf.                                               18. Ibid.

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                                                                          PILLAR 1. BUILDING TRUST & LEGITIMACY



1.3.1 A CTION I TEM : To embrace a culture of                                    with citizens and the media swiftly, openly,
transparency, law enforcement agencies should                                    and neutrally, respecting areas where the law
make all department policies available for public                                requires confidentiality.
review and regularly post on the department’s
website information about stops, summonses, ar-                                  One way to promote neutrality is to ensure that
rests, reported crime, and other law enforcement                                 agencies and their members do not release back-
data aggregated by demographics.                                                 ground information on involved parties. While a
                                                                                 great deal of information is often publicly avail-
                                                                                 able, this information should not be proactively
1.3.2 A CTION I TEM : When serious incidents
                                                                                 distributed by law enforcement.
occur, including those involving alleged police
misconduct, agencies should communicate

Figure 2. Community members’ confidence in their police officers




Note: Survey conducted August 20–24, 2014. Voluntary responses of “None” and “Don’t know/Refused” not shown. Blacks and Whites include only non-Hispanics.
Hispanics are of any race.
Source: Jens Manuel Krogstad, “Latino Confidence in Local Police Lower than among Whites,” Pew Research Center, August 28, 2014,
http://www.pewresearch.org/fact-tank/2014/08/28/latino-confidence-in-local-police-lower-than-among-whites/.


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1.4 R ECOMMENDATION : Law enforcement                                               For example, internal department surveys should
agencies should promote legitimacy internally                                       ask officers what they think of policing strategies
within the organization by applying the                                             in terms of enhancing or hurting their ability to
principles of procedural justice.                                                   connect with the public. Sometimes the lead-
                                                                                    ership is out of step with their rank and file, and
Organizational culture created through employee
                                                                                    a survey like this can be a diagnostic tool—a
interaction with management can be linked to
                                                                                    benchmark against which leadership can measure
officers’ interaction with citizens. When an agency
                                                                                    its effectiveness and ability to create a work envi-
creates an environment that promotes internal
                                                                                    ronment where officers feel safe to discuss their
procedural justice, it encourages its officers to
                                                                                    feelings about certain aspects of the job.
demonstrate external procedural justice. And just
as employees are more likely to take direction
from management when they believe manage-                                           1.4.2 A CTION I TEM : Law enforcement agency
ment’s authority is legitimate, citizens are more                                   leadership should examine opportunities to incor-
likely to cooperate with the police when they                                       porate procedural justice into the internal discipline
believe the officers’ authority is legitimate.                                      process, placing additional importance on values
                                                                                    adherence rather than adherence to rules. Union
Internal procedural justice begins with the clear                                   leadership should be partners in this process.
articulation of organizational core values and
the transparent creation and fair application
                                                                                    1.5 R ECOMMENDATION : Law enforcement
of an organization’s policies, protocols, and
                                                                                    agencies should proactively promote public
decision-making processes. If the workforce is
                                                                                    trust by initiating positive nonenforcement
actively involved in policy development, workers
                                                                                    activities to engage communities that
are more likely to use these same principles of
                                                                                    typically have high rates of investigative and
external procedural justice in their interactions
                                                                                    enforcement involvement with government
with the community. Even though the approach
                                                                                    agencies.
to implementing procedural justice is “top down,”
the method should include all employees to best                                     In communities that have high numbers of inter-
reach a shared vision and mission. Research shows                                   actions with authorities for a variety of reasons,
that agencies should also use tools that encour-                                    police should actively create opportunities for
age employee and supervisor collaboration and                                       interactions that are positive and not related to
foster strong relationships between supervisors                                     investigation or enforcement action. Witness
and employees. A more effective agency will result                                  Laura Murphy, for example, pointed out that when
from a real partnership between the chief and the                                   law enforcement targets people of color for the
staff and a shared approach to public safety.19                                     isolated actions of a few, it tags an entire com-
                                                                                    munity as lawless when in actuality 95 percent
1.4.1 A CTION I TEM : In order to achieve                                           are law abiding.20 This becomes a self-reinforcing
internal legitimacy, law enforcement agen-
                                                                                    concept. Another witness, Carmen Perez, provided
cies should involve employees in the process
                                                                                    an example of police engaging with citizens in
of developing policies and procedures.
                                                                                    another way:
19. Tim Richardson (senior legislative liaison, Fraternal Order of Police), in      20. Listening Session on Building Trust and Legitimacy (oral testimony of Laura
discussion with Ajima Olaghere (research assistant, COPS Office, Washington, DC),   Murphy to the President’s Task Force on 21st Century Policing, Washington, DC,
October 2014.                                                                       January 13, 2015).


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                                                                                    PILLAR 1. BUILDING TRUST & LEGITIMACY



   In the community [where] I grew up in southern                                       1.5.2 A CTION I TEM : Law enforcement agen-
   California, Oxnard, we had the Police Athletic League.                               cies should institute residency incentive programs
   A lot of officers in our communities would volunteer                                 such as Resident Officer Programs.
   and coach at the police activities league. That
   became our alternative from violence, from gangs                                     Resident Officer Programs are arrangements
   and things like that. That allows for police officers                                where law enforcement officers are provided
   to really build and provide a space to build trusting                                housing in public housing neighborhoods as
   relationships. No longer was that such and such over                                 long as they fulfill public safety duties within
   there but it was Coach Flores or Coach Brown.21                                      the neighborhood that have been agreed to
                                                                                        between the housing authority and the law
In recent years, agencies across the county have                                        enforcement agency.
begun to institutionalize community trust building
endeavors. They have done this through programs                                         1.5.3 A CTION I TEM : Law enforcement agen-
such as Coffee with a Cop (and Sweet Tea with the                                       cies should create opportunities in schools and
Chief ), Cops and Clergy, Citizens on Patrol Mobile,                                    communities for positive nonenforcement interac-
Students Talking It Over with Police, and the West                                      tions with police. Agencies should also publicize
Side Story Project. Joint community and law dia-                                        the beneficial outcomes and images of positive,
logues and truth telling, as well as community and                                      trust-building partnerships and initiatives.
law enforcement training in procedural justice and
bias, are also occurring nationally. Some agencies                                      For example, Michael Reynolds, a member of the
are even using training, dialogues, and workshops                                       Youth and Law Enforcement panel at the Listening
to take steps towards racial reconciliation.                                            Session on Community Policing and Crime Reduc-
                                                                                        tion, told the moving story of a police officer who
Agencies engaging in these efforts to build re-                                         saw him shivering on the street when he was six
lationships often experience beneficial results.22                                      years old, took him to a store, and bought him a
Communities are often more willing to assist law                                        coat. Despite many negative encounters with po-
enforcement when agencies need help during in-                                          lice since then, the decency and kindness of that
vestigations. And when critical incidents occur, those                                  officer continue to favorably impact Mr. Reynolds’
agencies already have key allies who can help with                                      feelings towards the police.23
information messaging and mitigating challenges.

                                                                                        1.5.4 A CTION I TEM : Use of physical control
1.5.1 A CTION I TEM : In order to achieve                                               equipment and techniques against vulnerable
external legitimacy, law enforcement agencies                                           populations—including children, elderly persons,
should involve the community in the process of de-                                      pregnant women, people with physical and men-
veloping and evaluating policies and procedures.                                        tal disabilities, limited English proficiency, and
                                                                                        others—can undermine public trust and should
21. Listening Session on Building Trust and Legitimacy—Community
Representatives: Building Community Policing Organizations (oral testimony of           be used as a last resort. Law enforcement agencies
Carmen Perez, executive director, The Gathering for Justice, for the President’s Task
Force on 21st Century Policing, Washington, DC, January 13, 2015).
22. Constance Rice and Susan K. Lee, Relationship-Based Policing: Achieving             23. Listening Session on Community Policing and Crime Reduction: Youth and
Safety in Watts (Los Angeles: The Advancement Project, February 2015),                  Law Enforcement (oral testimony of Michael Reynolds, co-president, Youth Power
http://67.20.108.158/sites/default/files/imce/President%27s%20Task%20                   Movement, for the President’s Task Force on 21st Century Policing, Phoenix, AZ,
Force%20CSP%20Policy%20Brief%20FINAL%2002-27-15.pdf.                                    February 13, 2015).



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should carefully consider and review their policies    Agencies should partner with local universities
towards these populations and adopt policies if        to conduct surveys by ZIP code, for example, to
none are in place.                                     measure the effectiveness of specific policing
                                                       strategies, assess any negative impact they have
                                                       on a community’s view of police, and gain the
1.6 R ECOMMENDATION : Law enforcement
                                                       community’s input.
agencies should consider the potential
damage to public trust when implementing
crime fighting strategies.                             1.7.1 A CTION I TEM : The Federal Gov-
                                                       ernment should develop survey tools and
Crime reduction is not self-justifying. Overly         instructions for use of such a model to prevent
aggressive law enforcement strategies can poten-       local departments from incurring the expense and
tially harm communities and do lasting damage to       to allow for consistency across jurisdictions.
public trust, as numerous witnesses over multiple
listening sessions observed.                           A model such as the National Institute of
                                                       Justice-funded National Police Research Platform
1.6.1 A CTION I TEM : Research conducted               could be developed and deployed to conduct
to evaluate the effectiveness of crime fighting        such surveys. This platform seeks to advance the
strategies should specifically look at the potential   science and practice of policing in the United
for collateral damage of any given strategy on         States by introducing a new system of measure-
community trust and legitimacy.                        ment and feedback that captures organizational
                                                       excellence both inside and outside the walls of
                                                       the agency. The platform is managed by a team
1.7 R ECOMMENDATION : Law enforcement                  of leading police scholars from seven universi-
agencies should track the level of trust in            ties supported by the operational expertise of a
police by their communities just as they               respected national advisory board.
measure changes in crime. Annual community
surveys, ideally standardized across
jurisdictions and with accepted sampling               1.8 R ECOMMENDATION : Law enforcement
protocols, can measure how policing in that            agencies should strive to create a workforce
community affects public trust.                        that contains a broad range of diversity
                                                       including race, gender, language, life
Trust in institutions can only be achieved if the      experience, and cultural background to
public can verify what they are being told about       improve understanding and effectiveness in
a product or service, who is responsible for the       dealing with all communities.
quality of the product or service, and what will be
done to correct any problems. To operate effec-        Many agencies have long appreciated the critical
tively, law enforcement agencies must maintain         importance of hiring officers who reflect the
public trust by having a transparent, credible         communities they serve and also have a high
system of accountability.                              level of procedural justice competency. Achieving
                                                       diversity in entry level recruiting is important,
                                                       but achieving systematic and comprehensive
                                                       diversification throughout each segment of the



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                                                                                  PILLAR 1. BUILDING TRUST & LEGITIMACY




Task force members, along with Executive Director Ronald L. Davis, listen to testimony, Washington, D.C., February 23, 2015.   PHOTO: BRANDON TRAMEL


department is the ultimate goal. It is also import-                                   1.8.2 A CTION I TEM : The department
ant to recognize that diversity means not only                                        overseeing this initiative should help localities
race and gender but also the genuine diversity                                        learn best practices for recruitment, training,
of identity, experience, and background that has                                      and outreach to improve the diversity as well as
been found to help improve the culture of police                                      the cultural and linguistic responsiveness of law
departments and build greater trust and legitima-                                     enforcement agencies.
cy with all segments of the population.
                                                                                      National and local affinity police organizations
A critical factor in managing bias is seeking                                         could be formally included in this effort. This
candidates who are likely to police in an unbiased                                    program should also evaluate and assess diversity
manner.24 Since people are less likely to have biases                                 among law enforcement agencies around the
against groups with which they have had positive                                      country and issue public reports on national trends.
experiences, police departments should seek can-
didates who have had positive interactions with                                       1.8.3 A CTION I TEM : Successful law en-
people of various cultures and backgrounds.25                                         forcement agencies should be highlighted and
                                                                                      celebrated and those with less diversity should be
1.8.1 A CTION I TEM : The Federal Government                                          offered technical assistance to facilitate change.
should create a Law Enforcement Diversity Initiative
designed to help communities diversify law en-                                        Law enforcement agencies must be continuously
forcement departments to reflect the demographics                                     creative with recruitment efforts and employ the
of the community.                                                                     public, business, and civic communities to help.


24. Lorie Fridell, “Racially Biased Policing: The Law Enforcement Response to the     1.8.4 ACTION ITEM: Discretionary federal
Implicit Black-Crime Association,” in Racial Divide: Racial and Ethnic Bias in the    funding for law enforcement programs could be influ-
Criminal Justice System, eds. Michael J. Lynch, E. Britt Patterson, and Kristina K.
                                                                                      enced by that department’s efforts to improve their
Childs (Monsey, NY: Criminal Justice Press, 2008), 51.
25. Ibid., 51–52.                                                                     diversity and cultural and linguistic responsiveness.


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1.8.5 A CTION I TEM : Law enforcement                                                  In 2011, the Major Cities Chiefs Association
agencies should be encouraged to explore more                                          recommended nine points to Congress and the
flexible staffing models.                                                              President on this issue, noting that “immigration
                                                                                       is a federal policy issue between the U.S. gov-
As is common in the nursing profession, offering                                       ernment and other countries, not local or state
flexible schedules can help officers achieve better                                    entities and other countries. Any immigration
work-life balance that attracts candidates and                                         enforcement laws or practices should be national-
encourages retention, particularly for officers with                                   ly based, consistent, and federally funded.”27
sole responsibility for the care of family members.

                                                                                       1.9.2 A CTION I TEM : Law enforcement
1.9 R ECOMMENDATION : Law enforcement                                                  agencies should ensure reasonable and equitable
agencies should build relationships based                                              language access for all persons who have encounters
on trust with immigrant communities. This is                                           with police or who enter the criminal justice system.28
central to overall public safety.

Immigrants often fear approaching police offi-                                         1.9.3 A CTION I TEM : The U.S. Department
cers when they are victims of and witnesses to                                         of Justice should not include civil immigration
crimes and when local police are entangled with                                        information in the FBI’s National Crime Informa-
federal immigration enforcement. At all levels of                                      tion Center database.29
government, it is important that laws, policies,
                                                                                       The National Crime Information Center (NCIC)
and practices not hinder the ability of local law
                                                                                       database is an electronic clearinghouse that law
enforcement to build the strong relationships nec-
                                                                                       enforcement officers can access in the field. It
essary to public safety and community well-being.
                                                                                       contains data submitted by agencies across the
It is the view of this task force that whenever possi-
                                                                                       country aimed at helping officers identify people,
ble, state and local law enforcement should not be
                                                                                       property, and criminal histories. At one time, NCIC
involved in immigration enforcement.
                                                                                       also included civil immigration detainers (nonman-
                                                                                       datory temporary hold requests issued by a federal
1.9.1 A CTION I TEM : Decouple federal immi-                                           immigration officer), although the FBI has indicated
gration enforcement from routine local policing                                        that the practice of accepting this information was
for civil enforcement and nonserious crime.                                            discontinued and that the information does not
                                                                                       currently exist in the database. The U.S. Department
The U.S. Department of Homeland Security should
                                                                                       of Justice should ensure that this remains the case.
terminate the use of the state and local criminal
justice system, including through detention,
notification, and transfer requests, to enforce civil
immigration laws against civil and nonserious                                          27. “Major Cities Chiefs Association Immigration Position October 2011,” accessed
criminal offenders.26                                                                  February 26, 2015, http://majorcitieschiefs.com/pdf/news/immigration_
                                                                                       position112811.pdf.
                                                                                       28. Listening Session on Building Trust and Legitimacy (written testimony of
                                                                                       Nicholas Turner, president and director, Vera Institute of Justice, for the President’s
                                                                                       Task Force on 21st Century Policing, Washington, DC, January 13, 2015).
26. Listening Session on Building Trust and Legitimacy: Civil Rights/Civil Liberties   29. Listening Session on Community Policing and Crime Reduction (written
(oral testimony of Maria Teresa Kumar, president and CEO, Voto Latino, for the         testimony of Javier Valdes, executive director, Make the Road New York, for the
President’s Task Force on 21st Century Policing, Washington, DC, January 13, 2015).    President’s Task Force on 21st Century Policing, Phoenix, AZ, February 13–14, 2015).



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PILLAR 2. POLICY & OVERSIGHT
Citizens have a constitutional right to freedom of expression, including the
right to peacefully demonstrate.
The issues addressed in the first pillar of this report,   mistakes, what information was missing or misin-
building trust and legitimacy between law enforce-         terpreted, and how they could have improved their
ment agencies and the communities they serve,              behavior and response to suspects.30
underlie all questions of law enforcement policy
and community oversight. If police are to carry            Data collection, supervision, and accountability
out their responsibilities according to established        are also part of a comprehensive systemic ap-
policies, these policies must be reflective of             proach to keeping everyone safe and protecting
community values and not lead to practices that            the rights of all involved during police encounters.
result in disparate impacts on various segments            Members of the Division of Policing of the Ameri-
of the community. They also need to be clearly             can Society of Criminology recently wrote, “While
articulated to the community and implemented               the United States presently employs a broad
transparently so police will have credibility with         array of social and economic indicators in order
residents and the people can have faith that their         to gauge the overall ‘health’ of the nation, it has a
guardians are always acting in their best interests.       much more limited set of indicators concerning
                                                           the behavior of the police and the quality of
Paramount among the policies of law enforcement            law enforcement.”31
organizations are those controlling use of force.
Not only should there be policies for deadly and           That body noted that Section 210402 of the
nondeadly uses of force but a clearly stated “sanc-        Violent Crime Control and Law Enforcement Act of
tity of life” philosophy must also be in the forefront     1994 requires the U.S. Attorney General to “acquire
of every officer’s mind. This way of thinking should       data about the use of excessive force by law
be accompanied by rigorous practical ongoing               enforcement officers” and to “publish an annual
training in an atmosphere of nonjudgmental and             summary of the data acquired under this section.”32
safe sharing of views with fellow officers about           But the U.S. Department of Justice (DOJ) has never
how they behaved in use of force situations. At            been allocated the funds necessary to undertake
one listening session, Geoffrey Alpert described           the serious and sustained program of research and
Officer-Created Jeopardy Training, in which officers       development to fulfill this mandate. Expanded
who had been in situations where mistakes were             research and data collection are also necessary
made or force was used came to explain their               to knowing what works and what does not work,
decision making to other officers. Some explained          which policing practices are effective and which
what they did right and how potentially violent            30. Listening Session on Policy and Oversight: Use of Force Research and Policies
situations were resolved without violence. Other           (oral testimony of Geoffrey Alpert, professor, University of South Carolina, for the
officers told what they did wrong, why they made           President’s Task Force on 21st Century Policing, Cincinnati, OH, January 30, 2015).
                                                           31. “Recommendations to the President’s Task Force on 21st Century Policing,”
                                                           Listening Session on Training and Education (written testimony of Anthony Braga
                                                           et al., Ad Hoc Committee to the President’s Task Force on 21st Century Policing,
                                                           Division of Policing, American Society of Criminology, February 13–14, 2015).
                                                           32. Ibid.


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ones have unintended consequences. Greater                                                Angeles Police Department (LAPD) described the
acceptance of the Federal Bureau of Investigation’s                                       LAPD’s Community Safety Partnership, in which
(FBI) National Incident-Based Reporting                                                   officers engage the community and build trust
System could also benefit policing practice                                               where it is needed most, in the public housing
and research endeavors.                                                                   projects in Watts. The department has assigned 45
                                                                                          officers to serve for five years at three housing proj-
Mass demonstrations, for example, are occasions                                           ects in Watts and at an additional housing project
where evidence-based practices successfully ap-                                           in East Los Angeles. Through a partnership with the
plied can make the difference between a peaceful                                          Advancement Project and the Housing Authority
demonstration and a riot. Citizens have a consti-                                         of the City of Los Angeles, the program involves
tutional right to freedom of expression, including                                        officers going into the housing developments with
the right to peacefully demonstrate. There are                                            the intent not to make arrests but to create part-
strong examples of proactive and positive com-                                            nerships, create relationships, hear the community,
munication and engagement strategies that can                                             and see what they need—and then work together
protect constitutional rights of demonstrators and                                        to make those things happen.34 The work in Watts
the safety of citizens and the police.33                                                  has been documented in an Advancement Project
                                                                                          report presented to the task force.35
2.1 R ECOMMENDATION : Law enforcement
agencies should collaborate with community                                                2.1.1 A CTION I TEM : The Federal
members to develop policies and strategies                                                Government should incentivize this collaboration
in communities and neighborhoods                                                          through a variety of programs that focus on public
disproportionately affected by crime for                                                  health, education, mental health, and other
deploying resources that aim to reduce crime                                              programs not traditionally part of the criminal
by improving relationships, greater community                                             justice system.
engagement, and cooperation.

The development of a service model process that                                           2.2 R ECOMMENDATION : Law enforcement
focuses on the root causes of crime should include                                        agencies should have comprehensive policies
the community members themselves because                                                  on the use of force that include training,
what works in one neighborhood might not be                                               investigations, prosecutions, data collection,
equally successful in every other one. Larger de-                                         and information sharing. These policies must
partments could commit resources and personnel                                            be clear, concise, and openly available for
to areas of high poverty, limited services, and at-risk                                   public inspection.
or vulnerable populations through creating priority
units with specialized training and added status                                          2.2.1 A CTION I TEM : Law enforcement
and pay. Chief Charlie Beck of the Los                                                    agency policies for training on use of force should
                                                                                          emphasize de-escalation and alternatives to arrest
33. Listening Session on Policy and Oversight: Mass Demonstrations (oral                  or summons in situations where appropriate.
testimony of Garry McCarthy, chief of police, Chicago Police Department, for the
President’s Task Force on 21st Century Policing, Cincinnati, OH, January 31, 2015);       34. Listening Session on Policy and Oversight: Civilian Oversight (oral testimony
Listening Session on Policy and Oversight: Mass Demonstrations (oral testimony of         of Charlie Beck, chief, Los Angeles Police Department, for the President’s Task Force
Rodney Monroe, chief of police, Charlotte-Mecklenberg [NC] Police Department, for         on 21st Century Policing, Cincinnati, OH, January 30, 2015).
the President’s Task Force on 21st Century Policing, Cincinnati, OH, January 30, 2015).   35. Rice and Lee, Relationship-Based Policing (see note 22).



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                                                                                                     PILLAR 2. POLICY & OVERSIGHT



As Chuck Wexler noted in his testimony,                                                a law enforcement agency that employs a
                                                                                       law enforcement officer involved in the officer-
   In traditional police culture, officers are taught never
                                                                                       involved death.”37 Furthermore, in order to es-
   to back down from a confrontation, but instead to
                                                                                       tablish and maintain internal legitimacy and
   run toward the dangerous situation that everyone
                                                                                       procedural justice, these investigations should
   else is running away from. However, sometimes the
                                                                                       be performed by law enforcement agencies with
   best tactic for dealing with a minor confrontation
                                                                                       adequate training, knowledge, and experience
   is to step back, call for assistance, de-escalate, and
                                                                                       investigating police use of force.
   perhaps plan a different enforcement action that can
   be taken more safely later.36
                                                                                       2.2.3 A CTION I TEM : The task force encour-
Policies should also include, at a minimum, annual                                     ages policies that mandate the use of external and
training that includes shoot/don’t shoot scenarios                                     independent prosecutors in cases of police use of
and the use of less than lethal technologies.                                          force resulting in death, officer-involved shootings
                                                                                       resulting in injury or death, or in-custody deaths.
2.2.2 A CTION I TEM : These policies should                                            Strong systems and policies that encourage use
also mandate external and independent criminal                                         of an independent prosecutor for reviewing
investigations in cases of police use of force result-                                 police uses of force and for prosecution in cases of
ing in death, officer-involved shootings resulting                                     inappropriate deadly force and in-custody death
in injury or death, or in-custody deaths.                                              will demonstrate the transparency to the public
One way this can be accomplished is by the                                             that can lead to mutual trust between community
creation of multi-agency force investigation task                                      and law enforcement.
forces comprising state and local investigators.
Other ways to structure this investigative process                                     2.2.4 A CTION I TEM : Policies on use of force
include referring to neighboring jurisdictions or to                                   should also require agencies to collect, maintain,
the next higher levels of government (many small-                                      and report data to the Federal Government on
er departments may already have state agencies                                         all officer-involved shootings, whether fatal or
handle investigations), but in order to restore and                                    nonfatal, as well as any in-custody death.
maintain trust, this independence is crucial.
                                                                                       In-custody deaths are not only deaths in a prison
In written testimony to the task force, James                                          or jail but also deaths that occur in the process
Palmer of the Wisconsin Professional Police Asso-                                      of an arrest. The Bureau of Justice Statistics (BJS)
ciation offered an example in that state’s statutes                                    implemented the Arrest Related Deaths data
requiring that agency written policies “require an                                     collection in 2003 as part of requirements set forth
investigation that is conducted by at least two                                        in the Deaths in Custody Reporting Act of
investigators . . . neither of whom is employed by



36. Listening Session on Policy and Oversight: Use of Force Investigations and         37. Listening Session on Policy and Oversight (written testimony of James
Oversight (oral testimony of Chuck Wexler, executive director, Police Executive        Palmer, executive director, Wisconsin Professional Police Association, for the
Research Forum, for the President’s Task Force on 21st Century Policing, Cincinnati,   President’s Task Force on 21st Century Policing, Cincinnati, OH, January 30–31,
OH, January 30, 2015).                                                                 2015).



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2000 and reenacted in 2014. Although states               2.3 R ECOMMENDATION : Law
receiving grants under the Edward Byrne Memorial          enforcement agencies are encouraged to
Justice Assistance Grant Program are required to          implement nonpunitive peer review of
provide this data to BJS, the Arrest Related Deaths       critical incidents separate from criminal
data collection is a voluntary reporting program          and administrative investigations.
for law enforcement agencies. Access to this data
                                                          These reviews, sometimes known as “near miss”
is important to gain a national picture of police use
                                                          or “sentinel event” reviews, focus on the improve-
of force as well as to incentivize the systematic and
                                                          ment of practices and policy. Such reviews already
transparent collection and analysis of use of force
                                                          exist in medicine, aviation, and other industries.
incident data at the local level. The agency-
                                                          According to the National Institute of Justice (NIJ),
reported data should include information on the
                                                          a sentinel event in criminal justice would include
circumstances of the use of force, as well as the
                                                          wrongful convictions but also “near miss” acquit-
race, gender, and age of the decedents. Agency
                                                          tals and dismissals of cases that at earlier points
data should be reported to the U.S. Department of
                                                          seemed solid; cold cases that stayed cold too long;
Justice through the FBI’s Uniform Crime Reporting
                                                          wrongful releases of dangerous or factually guilty
System or an expansion of collections managed
                                                          criminals or of vulnerable arrestees with mental
by the BJS.
                                                          disabilities; and failures to prevent domestic
                                                          violence within at-risk families.
2.2.5 A CTION I TEM : Policies on use of force
should clearly state what types of information            Sentinel events can include episodes that are
will be released, when, and in what situation, to         within policy but disastrous in terms of commu-
maintain transparency.                                    nity relations, whether or not everyone agrees
                                                          that the event should be classified as an error. In
This should also include procedures on the release        fact, anything that stakeholders agree can cause
of a summary statement regarding the circum-              widespread or viral attention could be considered
stances of the incident by the department as soon         a sentinel event.38
as possible and within 24 hours. The intent of this
directive should be to share as much information          What distinguishes sentinel event reviews from
as possible without compromising the integrity of         other kinds of internal investigations of apparent
the investigation or anyone’s rights.                     errors is that they are nonadversarial. As task force
                                                          member Sean Smoot has written,
2.2.6 A CTION I TEM : Law enforcement agen-                  For sentinel event reviews to be effective and
cies should establish a Serious Incident Review
                                                             practical, they must be cooperative efforts that
Board comprising sworn staff and community
                                                             afford the types of protections provided in the
members to review cases involving officer-
                                                             medical context, where state and federal laws
involved shootings and other serious incidents
                                                             protect the privacy of participants and prevent the
that have the potential to damage community
                                                             disclosure of information to anyone outside of the
trust or confidence in the agency. The purpose of
                                                             sentinel event review . . . . Unless the sentinel event
this board should be to identify any administra-
tive, supervisory, training, tactical, or policy issues   38. James M. Doyle, “Learning from Error in the Criminal Justice System: Sentinel
that need to be addressed.                                Event Reviews,” Mending Justice: Sentinel Event Reviews (Special Report from the
                                                          National Institute of Justice, September 2014): 3–20.


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                                                                                             PILLAR 2. POLICY & OVERSIGHT




Barbara O’Connor, President of the National Association of Women Law Enforcement Executives, speaks during a panel on diversity in law enforcement,
Cincinnati, January 30, 2015.                                                                                                     PHOTO: DEBORAH SPENCE


   process is honest and trustworthy, with adequate                            A recent study by the National Academy of
   legal protections—including use immunity,                                   Sciences, Identifying the Culprit: Assessing Eyewitness
   privacy, confidentiality, and nondisclosure, for                            Identification, studied the important role played
   example—police officers, who have the very best                             by eyewitnesses in criminal cases, noting that
   information about how things really work and what                           research on factors affecting the accuracy of
   really happened, will not be motivated to fully                             eyewitness identification procedures has given an
   participate. The sentinel event review approach will                        increasingly clear picture of how identifications are
   have a better chance of success if departments can                          made and, more important, an improved under-
   abandon the process of adversarial/punitive-based                           standing of the limits on vision and memory that
   discipline, adopting instead “education-based”                              can lead to failure of identification.40 Many factors,
   disciplinary procedures and policies.39                                     including external conditions and the witness’s
                                                                               emotional state and biases, influence what a
                                                                               witness sees or thinks she sees. Memories can
2.4 R ECOMMENDATION : Law enforcement
                                                                               be forgotten, reconstructed, updated, and
agencies are encouraged to adopt
                                                                               distorted. Meanwhile, policies governing law
identification procedures that implement
                                                                               enforcement procedures for conducting and
scientifically supported practices that
                                                                               recording identifications are not standard, and
eliminate or minimize presenter bias
                                                                               policies and practices to address the issue of
or influence.
                                                                               misidentification vary widely.




                                                                               40. Samuel R. Gross et al., “Rate of False Conviction of Criminal Defendants who
39. Sean Smoot “Punishment-Based vs. Education-Based Discipline: A             are Sentenced to Death,” Proceedings of the National Academy of Sciences of the
Surmountable Challenge?” in Mending Justice: Sentinel Event Reviews (Special   United States of America 111, no. 20 (2014): 7230–7235. http://www.pnas.org/
Report from the National Institute of Justice, September 2014): 48–50.         content/111/20/7230.full.pdf+html.


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2.5 R ECOMMENDATION : All federal, state,                                               2.5.1 A CTION I TEM : The Bureau of Justice
local, and tribal law enforcement agencies                                              Statistics should add additional demographic
should report and make available to the                                                 questions to the Law Enforcement Management
public census data regarding the composition                                            and Administrative Statistics (LEMAS) survey in
of their departments including race, gender,                                            order to meet the intent of this recommendation.
age, and other relevant demographic data.

While the BJS collects information on many                                              2.6 R ECOMMENDATION : Law enforcement
aspects of police activities, there is no single data                                   agencies should be encouraged to collect,
collection instrument that yields the information                                       maintain, and analyze demographic data
requested in this recommendation. Demographic                                           on all detentions (stops, frisks, searches,
data should be collected and made available to                                          summons, and arrests). This data should be
the public so communities can assess the diver-                                         disaggregated by school and non-school
sity of their departments and do so in a national                                       contacts.
context. This data will also be important to better
                                                                                        The BJS periodically conducts the Police-Public
understand the impact of diversity on the func-
                                                                                        Contact Survey, a supplement to the National
tioning of departments. Malik Aziz, National Chair
                                                                                        Crime Victimization Survey. The most recent
of the National Black Police Association (NBPA),
                                                                                        survey, released in 2013, asked a nationally
reminded the task force that the NBPA not only
                                                                                        representative sample of U.S. residents age 16
urges all departments to meet the demographics
                                                                                        or older about experiences with police during
of the community in which they serve by main-
                                                                                        the prior 12 months.42 But these surveys do not
taining a plan of action to recruit and retain police
                                                                                        reflect what is happening every day at the local
officers of color but also has called for the DOJ to
                                                                                        level when police interact with members of the
collect the annual demographic statistics from
                                                                                        communities they serve. More research and tools
the 18,000 police agencies across the nation. “It is
                                                                                        along the lines of Lorie Fridell’s 2004 publication,
not enough to mandate diversity,” he stated, “but
                                                                                        By the Numbers: A Guide for Analyzing Race Data
it becomes necessary to diversify command ranks
                                                                                        From Vehicle Stops—to help local agencies collect
in departments that have historically failed to de-
                                                                                        and analyze their data, understand the importance
velop and/or promote qualified and credentialed
                                                                                        of context to the analysis and reporting process,
officers to executive and command ranks.”41
                                                                                        and establish benchmarks resulting from their
                                                                                        findings—would improve understanding and lead
                                                                                        to evidence-based policies.




                                                                                        42. Lynn Langton and Matthew Durose, Police Behavior during Traffic and Street
41. Listening Session on Policy and Oversight: Law Enforcement Culture and              Stops, 2011, Special Report (Washington, DC: Office of Justice Programs Bureau of
Diversity (oral testimony of Malik Aziz, chairman, National Black Police Association,   Justice Statistics, 2013), NCJ 242937; Matthew Durose and Lynn Langton, Requests
for the President’s Task Force on 21st Century Policing, Cincinnati, OH, January 30,    for Police Assistance, 2011, Special Report (Washington, DC: Office of Justice
2015).                                                                                  Programs Bureau of Justice Statistics, 2013), NCJ 242938.



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                                                                                                   PILLAR 2. POLICY & OVERSIGHT



2.6.1 A CTION I TEM : The Federal Gov-                                               2.7.1 A CTION I TEM : Law enforcement agen-
ernment could further incentivize universities                                       cy policies should address procedures
and other organizations to partner with police                                       for implementing a layered response to mass
departments to collect data and develop knowl-                                       demonstrations that prioritize de-escalation
edge about analysis and benchmarks as well as                                        and a guardian mindset.
to develop tools and templates that help depart-
ments manage data collection and analysis.                                           These policies could include plans to minimize
                                                                                     confrontation by using “soft look” uniforms, having
                                                                                     officers remove riot gear as soon as practical,
2.7 R ECOMMENDATION : Law enforcement                                                and maintaining open postures. “When officers
agencies should create policies and                                                  line up in a military formation while wearing full
procedures for policing mass demonstrations                                          protective gear, their visual appearance may have
that employ a continuum of managed tactical                                          a dramatic influence on how the crowd perceives
resources that are designed to minimize the                                          them and how the event ends.”44
appearance of a military operation and avoid
using provocative tactics and equipment that
                                                                                     2.7.2 A CTION I TEM : The Federal Govern-
undermine civilian trust.
                                                                                     ment should create a mechanism for investigating
Policies should emphasize protection of the First                                    complaints and issuing sanctions regarding the
Amendment rights of demonstrators and effective                                      inappropriate use of equipment and tactics during
ways of communicating with them. Superin-                                            mass demonstrations.
tendent Garry McCarthy of the Chicago Police
                                                                                     There has been substantial media attention in
Department detailed his police force training and
                                                                                     recent months surrounding the police use of
operations in advance of the 2012 NATO Summit
                                                                                     military equipment at events where members of
at the height of the “Occupy” movement. The
                                                                                     the public are exercising their First Amendment
department was determined not to turn what it
                                                                                     rights. This has led to the creation of the Presi-
knew would be a mass demonstration into a riot.
                                                                                     dent’s Interagency Law Enforcement Equipment
Police officers refreshed “perishable” skills, such
                                                                                     Working Group.
as engaging in respectful conversations with
demonstrators, avoiding confrontation, and using                                     That group has been tasked by the Executive
“extraction techniques” not only on the minority                                     Order 13688 of January 16, 2015 with a number of
of demonstrators who were behaving unlawfully                                        issues, including ensuring that law enforcement
(throwing rocks, etc.) but also on officers who                                      agencies adopt organizational and operational
were becoming visibly upset and at risk of losing                                    practices and standards that prevent the misuse
their composure and professional demeanor.43                                         or abuse of controlled equipment and ensuring
                                                                                     compliance with civil rights requirements resulting
                                                                                     from receipt of federal financial assistance.




43. Listening Session on Policy and Oversight (oral testimony of Garry McCarthy,     44. Listening Session on Policy and Oversight (written testimony of Edward
Chicago Police Department, to the President’s Task Force on 21st Century Policing,   Maguire, American University, for the President’s Task Force on 21st Century
Cincinnati, OH, January 30, 2015).                                                   Policing, Cincinnati, OH, January 30, 2015).



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2.8 R ECOMMENDATION : Some form                                                       2.8.1 A CTION I TEM : The U.S. Department of
of civilian oversight of law enforcement is                                           Justice, through its research arm, the National In-
important in order to strengthen trust with                                           stitute of Justice (NIJ), should expand its research
the community. Every community should                                                 agenda to include civilian oversight.
define the appropriate form and structure
of civilian oversight to meet the needs of                                            NIJ recently announced its research priorities in
that community.                                                                       policing for FY 2015, which include such topics as
                                                                                      police use of force, body-worn cameras, and proce-
Many, but not all, state and local agencies operate                                   dural justice. While proposals related to research on
with the oversight or input of civilian police boards                                 police oversight might fit into several of these top-
or commissions. Part of the process of assessing                                      ical areas, police oversight is not highlighted by NIJ
the need and desire for new or additional civilian                                    in any of them. NIJ should specifically invite research
oversight should include input from and collabora-                                    into civilian oversight and its impact on and relation-
tion with police employees because the people to                                      ship to policing in one or more of these areas.
be overseen should be part of the process that will
oversee them. This guarantees that the principles
                                                                                      2.8.2 A CTION I TEM : The U.S. Department of
of internal procedural justice are in place to benefit
                                                                                      Justice’s Office of Community Oriented Policing
both the police and the community they serve.
                                                                                      Services (COPS Office) should provide technical
We must examine civilian oversight in the com-                                        assistance and collect best practices from existing
munities where it operates and determine which                                        civilian oversight efforts and be prepared to help
models are successful in promoting police and                                         cities create this structure, potentially with some
community understanding. There are important ar-                                      matching grants and funding.
guments for having civilian oversight even though
we lack strong research evidence that it works.                                       2.9 R ECOMMENDATION : Law enforcement
Therefore we urge action on further research,                                         agencies and municipalities should refrain
based on the guiding principle of procedural jus-                                     from practices requiring officers to issue a
tice, to find evidence-based practices to implement                                   predetermined number of tickets, citations,
successful civilian oversight mechanisms.                                             arrests, or summonses, or to initiate
                                                                                      investigative contacts with citizens for reasons
As noted by witness Brian Buchner at the Policy
                                                                                      not directly related to improving public safety,
and Oversight Listening Session on January 30,
                                                                                      such as generating revenue.
     Citizen review is not an advocate for the community
                                                                                      Productivity expectations can be effective
     or for the police. This impartiality allows oversight to
                                                                                      performance management tools. But testimony
     bring stakeholders together to work collaboratively
                                                                                      from Laura Murphy, Director of the Washington
     and proactively to help make policing more effective
                                                                                      Legislative Office of the American Civil Liberties
     and responsive to the community. Civilian oversight
                                                                                      Union, identifies some of the negative effects
     alone is not sufficient to gain legitimacy; without
                                                                                      of these practices:
     it, however, it is difficult, if not impossible, for the
     police to maintain the public’s trust.45                                           One only needs to paint a quick picture of the state
45. Listening Session on Policy and Oversight (oral testimony of Brian Buchner,         of policing to understand the dire need for reform.
president, National Association for Civilian Oversight of Law Enforcement, for the      First, there are local and federal incentives that
President’s Task Force on 21st Century Policing, Cincinnati, OH, January 30, 2015).

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                                                                                             PILLAR 2. POLICY & OVERSIGHT




Co-chair Laurie Robinson asks a panelist a question, Phoenix, February 13, 2015.                                         PHOTO: DEBORAH SPENCE


   instigate arrests. At the local level, cities across the                          2.11 R ECOMMENDATION : Law
   country generate much of their revenue through                                    enforcement agencies should adopt policies
   court fines and fees, with those who can’t pay                                    requiring officers to identify themselves
   subject to arrest and jail time. These debtors’ prisons                           by their full name, rank, and command (as
   are found in cities like Ferguson, where the number                               applicable) and provide that information in
   of arrest warrants in 2013—33,000—exceeded its                                    writing to individuals they have stopped. In
   population of 21,000. Most of the warrants were for                               addition, policies should require officers to
   driving violations.46                                                             state the reason for the stop and the reason
                                                                                     for the search if one is conducted.

2.10 R ECOMMENDATION : Law
                                                                                     2.11.1 A CTION I TEM : One example of how
enforcement officers should be required
                                                                                     to do this is for law enforcement officers to carry
to seek consent before a search and explain
                                                                                     business cards containing their name, rank, com-
that a person has the right to refuse consent
                                                                                     mand, and contact information that would enable
when there is no warrant or probable
                                                                                     individuals to offer suggestions or commenda-
cause. Furthermore, officers should ideally
                                                                                     tions or to file complaints with the appropriate
obtain written acknowledgement that
                                                                                     individual, office, or board. These cards would be
they have sought consent to a search
                                                                                     easily distributed in all encounters.
in these circumstances.

46. Listening Session on Trust and Legitimacy (oral testimony of Laura Murphy,
director of the Washington Legislative Office, American Civil Liberties Union, for
                                                                                     2.12 R ECOMMENDATION : Law
the President’s Task Force on 21st Century Policing, Washington, DC, January 13,     enforcement agencies should establish search
2015); Joseph Shapiro, “In Ferguson, Court Fines and Fees Fuel Anger,” NPR.com,      and seizure procedures related to LGBTQ and
last updated August 25, 2014, http://www.npr.org/2014/08/25/343143937/
in-ferguson-court-fines-and-fees-fuel-anger; In For A Penny: The Rise of             transgender populations and adopt as policy
America’s Debtors’ Prisons (New York: American Civil Liberties Union, 2010),         the recommendation from the President’s
http://www.aclu.org/files/assets/InForAPenny_web.pdf.


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Advisory Council on HIV/AIDS (PACHA) to                                                 through investigative reports, Freedom of Information
cease using the possession of condoms as the                                            Act (FOIA) requests, and lawsuits that agencies target
sole evidence of vice.                                                                  communities by religion and national origin.48


2.13 R ECOMMENDATION : Law                                                           2.13.1 A CTION I TEM : The Bureau of Justice
enforcement agencies should adopt and                                                Statistics should add questions concerning
enforce policies prohibiting profiling and                                           sexual harassment of and misconduct toward
discrimination based on race, ethnicity,                                             community members, and in particular LGBTQ
national origin, religion, age, gender, gender                                       and gender-nonconforming people, by law
identity/expression, sexual orientation,                                             enforcement officers to the Police Public
immigration status, disability, housing status,                                      Contact Survey.
occupation, or language fluency.
                                                                                     2.13.2 A CTION I TEM : The Centers for
The task force heard from a number of witnesses                                      Disease Control should add questions concerning
about the importance of protecting the safety and                                    sexual harassment of and misconduct toward
dignity of all people. Andrea Ritchie noted that                                     community members, and in particular LGBTQ and
                                                                                     gender-nonconforming people, by law enforce-
     gender and sexuality-specific forms of racial profiling
                                                                                     ment officers to the National Intimate Partner and
     and discriminatory policing [include] . . . . Failure to
                                                                                     Sexual Violence Survey.
     respect individuals’ gender identity and expression
     when addressing members of the public and
                                                                                     2.13.3 A CTION I TEM : The U.S. Department
     during arrest processing, searches, and placement
                                                                                     of Justice should promote and disseminate
     in police custody.47
                                                                                     guidance to federal, state, and local law enforce-
Invasive searches should never be used for the                                       ment agencies on documenting, preventing, and
sole purpose of determining gender identity, and                                     addressing sexual harassment and misconduct by
an individual’s gender identity should be respect-                                   local law enforcement agents, consistent with the
ed in lock-ups and holding cells to the extent that                                  recommendations of the International Association
the facility allows for gender segregation. And                                      of Chiefs of Police.49
witness Linda Sarsour spoke to how
                                                                                     2.14 R ECOMMENDATION : The U.S.
     an issue plaguing and deeply impacting Arab-                                    Department of Justice, through the Office of
     American and American Muslim communities across
                                                                                     Community Oriented Policing Services and
     the country is racial and religious profiling by local,
                                                                                     Office of Justice Programs, should provide
     state, and federal law enforcement. We have learned
                                                                                     technical assistance and incentive funding to
                                                                                     jurisdictions with small police agencies that
                                                                                     take steps towards shared services, regional
                                                                                     training, and consolidation.

                                                                                     48. Listening Session on Training and Education (oral testimony of Linda Sarsour,
                                                                                     Advocacy And Civic Engagement coordinator for the National Network for Arab
                                                                                     American Communities, for the President’s Task Force on 21st Century Policing,
47. Listening Session on Training and Education (oral testimony of Andrea Ritchie,   Phoenix, AZ, February 14, 2015).
founder of Streetwise and Safe, for the President’s Task Force on 21st Century       49. IACP, Addressing Sexual Offenses and Misconduct by Law Enforcement:
Policing, Phoenix, AZ, February 14, 2015).                                           Executive Guide (Alexandria, VA: International Association of Chiefs of Police, 2011).

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                                                                                                  PILLAR 2. POLICY & OVERSIGHT



Half of all law enforcement agencies in the United                                   2.15 R ECOMMENDATION : The U.S.
States have fewer than ten officers, and nearly                                      Department of Justice, through the Office of
three-quarters have fewer than 25 officers.50 Law-                                   Community Oriented Policing Services, should
rence Sherman noted in his testimony that “so many                                   partner with the International Association
problems of organizational quality control are made                                  of Directors of Law Enforcement Standards
worse by the tiny size of most local police agencies                                 and Training (IADLEST) to expand its National
. . . less than 1 percent of 17,985 U.S. police agencies                             Decertification Index to serve as the National
meet the English minimum of 1,000 employees or                                       Register of Decertified Officers with the goal
more.”51 These small forces often lack the resources                                 of covering all agencies within the United
for training and equipment accessible to larger                                      States and its territories.
departments and often are prevented by municipal
                                                                                     The National Decertification Index is an aggrega-
boundaries and local custom from combining
                                                                                     tion of information that allows hiring agencies to
forces with neighboring agencies. Funding and
                                                                                     identify officers who have had their license or cer-
technical assistance can give smaller agencies the
                                                                                     tification revoked for misconduct. It was designed
incentive to share policies and practices and give
                                                                                     as an answer to the problem “wherein a police
them access to a wider variety of training, equip-
                                                                                     officer is discharged for improper conduct and
ment, and communications technology than they
                                                                                     loses his/her certification in that state . . . [only to
could acquire on their own.
                                                                                     relocate] to another state and hire on with another
                                                                                     police department.”52 Peace Officer Standards and

Table 1. Full-time state and local law enforcement employees, by size of agency, 2008

 Size of agency                                             Number of agencies                                 Total number of full-time employees
 All agencies                                               17,985                                             1,133,915
 1,000 or more officers                                     83                                                 326,197
 500–999                                                    89                                                 94,168
 250–499                                                    237                                                133,024
 100–249                                                    778                                                174,505
 500–99                                                     1,300                                              136,390
 25–49                                                      2,402                                              124,492
 10–24                                                      4,300                                              98,563
 5–9                                                        3,446                                              32,493
 2–4                                                        3,225                                              11,498
 0–1                                                        2,125                                              2,585
Source: Brian A. Reaves, “State and Local Law Enforcement Agencies” (see note 50).

50. Brian A. Reaves, Census of State and Local Law Enforcement Agencies, 2008,
Bulletin (Washington, DC: Office of Justice Programs Bureau of Justice Statistics,
2011), NCJ 233982.
51. Listening Session on the Future of Community Policing (oral testimony of
Lawrence Sherman, Cambridge University, for the President’s Task Force on 21st       52. “National Decertification Index—FAQs,” accessed February 27, 2015,
Century Policing, Washington, DC, February 24, 2015).                                https://www.iadlest.org/Portals/0/Files/NDI/FAQ/ndi_faq.html.



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Bill Schrier of the Office of the Chief Information Officer for the state of Washington used PowerPoint to demonstrate how agencies
can use Twitter for engagement, Cincinnati, January 31, 2015.                                                                       PHOTO: DEBORAH SPENCE


Training (POST) boards can record administrative                              have lost their certification for misconduct are not
actions taken against certified police and correc-                            easily hired in other jurisdictions. A national regis-
tional officers. Currently the criteria for reporting                         ter would effectively treat “police professionals the
an action on an officer is determined by each                                 way states’ licensing laws treat other professionals.
POST independently, as is the granting of read-                               If anything, the need for such a system is even
only access to hiring departments to use as part                              more important for law enforcement, as officers
of their pre-hire screening process. Expanding this                           have the power to make arrests, perform searches,
system to ensure national and standardized re-                                and use deadly force.”53
porting would assist in ensuring that officers who




                                                                              53. Roger L. Goldman, “Police Officer Decertification: Promoting Police
                                                                              Professionalism through State Licensing and the National Decertification Index,”
                                                                              Police Chief 81 (November 2014): 40–42, http://www.policechiefmagazine.
                                                                              org/magazine/index.cfm?fuseaction=display_arch&article_id=3538&issue_
                                                                              id=112014.



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P I L L A R 3. T E C H N O LO G Y & S O C I A L
MEDIA
Implementing new technologies can give police departments an
opportunity to fully engage and educate communities in a dialogue
about their expectations for transparency, accountability, and privacy.
We live in a time when technology and its many         knowledge, and practical experiences can help
uses are advancing far more quickly than are           agencies reach their goals,54 but law enforcement
policies and laws. “Technology” available to law       agencies and personnel also need to recognize that
enforcement today includes everything from             technology is only a tool for doing their jobs: just
body-worn cameras (BWC) to unmanned aircraft to        because you have access to technology does not
social media and a myriad of products in between.      necessarily mean you should always use it.55

The use of technology can improve policing prac-       BWCs are a case in point. An increasing number of
tices and build community trust and legitimacy,        law enforcement agencies are adopting BWC pro-
but its implementation must be built on a defined      grams as a means to improve evidence collection,
policy framework with its purposes and goals           to strengthen officer performance and account-
clearly delineated. Implementing new technologies      ability, and to enhance agency transparency. By
can give police departments an opportunity to fully    documenting encounters between police and the
engage and educate communities in a dialogue           public, BWCs can also be used to investigate and
about their expectations for transparency, account-    resolve complaints about officer-involved incidents.
ability, and privacy. But technology changes quickly
in terms of new hardware, software, and other          Jim Bueermann, retired chief of the Redlands
options. Law enforcement agencies and leaders          (California) Police Department and President of
need to be able to identify, assess, and evaluate      the Police Foundation, told the task force about
new technology for adoption and do so in ways          a seminal piece of research that demonstrated a
that improve their effectiveness, efficiency, and      positive impact of BWCs in policing. The research-
evolution without infringing on individual rights.     ers used the gold standard of research models, a
                                                       randomized control trial, in which the people
Thus, despite (and because of ) the centrality of
technology in policing, law enforcement agencies       54. Elizabeth Groff and Tom McEwen, Identifying and Measuring the Effects
face major challenges including determining the        of Information Technologies on Law Enforcement Agencies: The Making Officer
                                                       Redeployment Effective Program (Washington, DC: Office of Community Oriented
effects of implementing various technologies;          Policing Services, 2008), http://www.cops.usdoj.gov/Publications/e08084156-IT.pdf;
identifying costs and benefits; examining unintend-    Christopher S. Koper, Cynthia Lum, James J. Willis, Daniel J. Woods, and Julie
                                                       Hibdon, Realizing the Potential of Technology in Policing: A Multi-Site Study of the
ed consequences; and exploring the best practices      Social, Organizational, and Behavioral Aspects of Implementing Police Technologies
by which technology can be evaluated, acquired,        (Washington, DC: National Institute of Justice, 2015), http://cebcp.org/wp-
maintained, and managed. Addressing these tech-        content/evidence-based-policing/ImpactTechnologyFinalReport.
                                                       55. IACP Technology Policy Framework (Alexandria, VA: International Association
nology challenges by using research, accumulated       of Chiefs of Police, 2014), http://www.theiacp.org/Portals/0/documents/pdfs/
                                                       IACP%20Technology%20Policy%20Framework%20January%202014%20Final.pdf.



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being studied are randomly assigned either to                                             perception of the police, and expectations about
a control group that does not receive the treat-                                          how police agencies should share information with
ment being studied or to a treatment group that                                           the public.57
does. The results of this 12-month study strongly
                                                                                       Now that agencies operate in a world in which
suggest that the use of BWCs by the police can
                                                                                       anyone with a cell phone camera can record
significantly reduce both officer use of force and
                                                                                       video footage of a police encounter, BWCs help
complaints against officers. The study found that
                                                                                       police departments ensure that events are also
the officers wearing the cameras had 87.5 percent
                                                                                       captured from an officer’s perspective.58 But when
fewer incidents of use of force and 59 percent
                                                                                       the public does not believe its privacy is being
fewer complaints than the officers not wearing
                                                                                       protected by law enforcement, a breakdown in
the cameras. One of the important findings of the
                                                                                       community trust can occur. Agencies need to
study was the impact BWCs might have on the
                                                                                       consider ways to involve the public in discussions
self-awareness of officers and citizens alike.
                                                                                       related to the protection of their privacy and civil
When police officers are acutely aware that their
                                                                                       liberties prior to implementing new technology,
behavior is being monitored (because they turn
                                                                                       as well work with the public and other partners in
on the cameras) and when officers tell citizens
                                                                                       the justice system to develop appropriate policies
that the cameras are recording their behavior,
                                                                                       and procedures for use.
everyone behaves better. The results of this
study strongly suggest that this increase in self-                                     Another technology relatively new to law
awareness contributes to more positive outcomes                                        enforcement is social media. Social media is a
in police-citizen interaction.56                                                       communication tool the police can use to engage
                                                                                       the community on issues of importance to both
But other considerations make the issue of BWCs
                                                                                       and to gauge community sentiment regarding
more complex. A 2014 Police Executive Research
                                                                                       agency policies and practices. Social media can
Forum (PERF) publication, funded by the Office of
                                                                                       also help police identify the potential nature and
Community Oriented Policing Services (COPS Of-
                                                                                       location of gang and other criminal or disorderly
fice), reporting on extensive research exploring the
                                                                                       activity such as spontaneous crowd gatherings.59
policy and implementation questions surrounding
BWCs noted:                                                                            The Boston Police Department (BPD), for example,
                                                                                       has long embraced both community policing and
     Although body-worn cameras can offer many
                                                                                       the use of social media. The department put its
     benefits, they also raise serious questions about how
                                                                                       experience to good and highly visible use in April
     technology is changing the relationship between
                                                                                       2013 during the rapidly developing investigation
     police and the community. Body-worn cameras
                                                                                       that followed the deadly explosion of two bombs
     not only create concerns about the public’s privacy
                                                                                       at the finish line of the Boston Marathon. The
     rights but also can affect how officers relate
     to people in the community, the community’s
                                                                                       57. Lindsay Miller and Jessica Toliver, Implementing a Body-Worn Camera
                                                                                       Program: Recommendations and Lessons Learned (Washington, DC: Office
56. Listening Session on Technology and Social Media: Body Cameras-Research            of Community Oriented Policing Services, 2014), vii, http://ric-zai-inc.com/
and Legal Considerations (oral testimony of Jim Bueermann, president, Police           Publications/cops-p296-pub.pdf.
Foundation, for the President’s Task Force on 21st Century Policing, Cincinnati, OH,   58. Ibid., 1.
January 31, 2015); Ariel Barak, William A. Farrar, and Alex Sutherland, “The Effect    59. Police Executive Research Forum, Social Media and Tactical Considerations for
of Police Body-Worn Cameras on Use of Force and Citizens’ Complaints Against the       Law Enforcement (Washington, DC: Office of Community Oriented Policing Services,
Police: A Randomized Controlled Trial,” Journal of Quantitative Criminology 2014.      2013), http://ric-zai-inc.com/Publications/cops-p261-pub.pdf.

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                                                                          PILLAR 3. TECHNOLOGY & SOCIAL MEDIA



BPD successfully used Twitter to keep the public                              technology to enable their systems to operate with
informed about the status of the investigation, to                            different systems and sometimes must also make
calm nerves and request assistance, to correct mis-                           expensive modifications or additions to legacy
taken information reported by the press, and to                               systems to support interoperability with newer
ask for public restraint in the tweeting of informa-                          technology. And these costs do not include the
tion from police scanners. This demonstrated the                              additional funds needed for training. Agencies are
level of trust and interaction that a department                              often unprepared for the unintended consequenc-
and a community can attain online.60                                          es that may accompany the acquisition of new
                                                                              technologies. Implementation of new technologies
While technology is crucial to law enforcement,                               can cause disruptions to daily routines, lack of
it is never a panacea. Its acquisition and use can                            buy-in, and lack of understanding of the purpose
have unintended consequences for both the                                     and appropriate uses of the technologies. It also
organization and the community it serves, which                               often raises questions regarding how the new
may limit its potential. Thus, agencies need clearly                          technologies will impact the officer’s expectations,
defined policies related to implementation of                                 discretion, decision making, and accountability.61
technology, and must pay close attention to
community concerns about its use.                                             Inconsistent or nonexistent standards also lead
                                                                              to isolated and fractured information systems
                                                                              that cannot effectively manage, store, analyze, or
3.1 R ECOMMENDATION : The U.S.
                                                                              share their data with other systems. As a result,
Department of Justice, in consultation with
                                                                              much information is lost or unavailable—which
the law enforcement field, should broaden the
                                                                              allows vital information to go unused and have
efforts of the National Institute of Justice to
                                                                              no impact on crime reduction efforts. As one
establish national standards for the research
                                                                              witness noted, the development of mature crime
and development of new technology. These
                                                                              analysis and CompStat processes allows law
standards should also address compatibility
                                                                              enforcement to effectively develop policy and
and interoperability needs both within law
                                                                              deploy resources for crime prevention, but there is
enforcement agencies and across agencies
                                                                              a lack of uniformity in data collection throughout
and jurisdictions and maintain civil and human
                                                                              law enforcement, and only patchwork methods
rights protections.
                                                                              of near real-time information sharing exist.62 These
The lack of consistent standards leads to a con-                              problems are especially critical in light of the
stantly spiraling increase in technology costs. Law                           threats from terrorism and cybercrime.
enforcement often has to invest in new layers of




60. Edward F. Davis III, Alejandro A. Alves, and David Alan Sklansky,
“Social Media and Police Leadership: Lessons from Boston,” New Perspectives   61. Koper et al., Potential of Technology in Policing (see note 54).
in Policing (Washington, DC: National Institute of Justice, March 2014),      62. Listening Session on Technology and Social Media (oral testimony of Elliot
http://www.hks.harvard.edu/content/download/67536/1242954/version/1/file/     Cohen, Maryland State Police, for the President’s Task Force on 21st Century
SocialMediaandPoliceLeadership-03-14.pdf.                                     Policing, Cincinnati, OH, January 31, 2015).

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All of the task force listening sessions were streamed live and can still be viewed at the task force website.         PHOTO: DEBORAH SPENCE



3.1.1 A CTION I TEM : The Federal Gov-                                             access to data obtained from cell phones, social
ernment should support the development and                                         media, GPS, and other sources, allowing officers to
delivery of training to help law enforcement                                       detect, prevent, or respond to crime.
agencies learn, acquire, and implement technol-
ogy tools and tactics that are consistent with the                                 3.1.3 A CTION I TEM : Law enforcement
best practices of 21st century policing.                                           agencies should deploy smart technology that is
                                                                                   designed to prevent the tampering with or manip-
3.1.2 A CTION I TEM : As part of national stan-                                    ulating of evidence in violation of policy.
dards, the issue of technology’s impact on privacy
concerns should be addressed in accordance with
                                                                                   3.2 R ECOMMENDATION : The
protections provided by constitutional law.
                                                                                   implementation of appropriate technology by
Though all constitutional guidelines must be                                       law enforcement agencies should be designed
maintained in the performance of law enforce-                                      considering local needs and aligned with
ment duties, the legal framework (warrants, etc.)                                  national standards.
should continue to protect law enforcement



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                                                    PILLAR 3. TECHNOLOGY & SOCIAL MEDIA



While standards should be created for develop-           3.2.2 A CTION I TEM : Law enforcement agen-
ment and research of technology at the national          cies should include an evaluation or assessment
level, implementation of developed technologies          process to gauge the effectiveness of any new
should remain a local decision to address the            technology, soliciting input from all levels of the
needs and resources of the community.                    agency, from line officer to leadership, as well as
                                                         assessment from members of the community.63
In addition to the expense of acquiring technology,
implementation and training also requires funds,         Witnesses suggested that law enforcement
as well as time, personnel, and physical capacity.       agencies create an advisory group when adopting
A case in point is the Phoenix Police Department’s       a new technology.64 Ideally, it would include line
adoption of BWCs mentioned by witness Michael            officers, union representatives, and members from
White, who said that the real costs came on the          other departmental units, such as research and
back end for managing the vast amount of data            planning, technology, and internal affairs. External
generated by the cameras. He quoted the Chief            stakeholders, such as representatives from the
of the Phoenix Police Department as saying that          prosecutor’s office, the defense bar, advocacy
it would cost their department $3.5 million to not       groups, and citizens should also be included, giv-
only outfit all of their officers with the cameras but   ing each group the opportunity to ask questions,
also successfully manage the program.                    express their concerns, and offer suggestions on
                                                         policy and training.
3.2.1 A CTION I TEM : Law enforcement agen-
cies should encourage public engagement and              3.2.3 A CTION I TEM : Law enforcement
collaboration, including the use of community            agencies should adopt the use of new technolo-
advisory bodies, when developing a policy for the        gies that will help them better serve people with
use of a new technology.                                 special needs or disabilities.

Local residents will be more accepting of and
respond more positively to technology when they          3.3 R ECOMMENDATION : The U.S.
have been informed of new developments and               Department of Justice should develop
their input has been encouraged. How police use          best practices that can be adopted by state
technology and how they share that information           legislative bodies to govern the acquisition,
with the public is critical. Task force witness Jim      use, retention, and dissemination of
Bueermann, president of the Police Foundation,           auditory, visual, and biometric data by
addressed this issue, noting that concerns about         law enforcement.
BWCs include potential compromises to the priva-
cy of both officers and citizens, who are reluctant
to speak to police if they think they are being
recorded. And as the task force co-chair, Charles
                                                         63. Sharon Stolting, Shawn Barrett, and David Kurz, Best Practices Guide for
Ramsey, noted, “Just having the conversation can         Acquisition of New Technology (Alexandria, VA: International Association of Chiefs of
increase trust and legitimacy and help depart-           Police, n.d.), http://www.theiacp.org/portals/0/pdfs/BP-NewTechnology.pdf.
                                                         64. Listening Session on Technology and Social Media: Body Cameras—Research
ments make better decisions.”                            and Legal Considerations (oral testimony of Michael White, professor, Arizona State
                                                         University, for the President’s Task Force on 21st Century Policing, Cincinnati, OH,
                                                         January 31, 2015).



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These model policies and practices should at            3.4 R ECOMMENDATION : Federal, state,
minimum address technology usage and data               local, and tribal legislative bodies should be
and evidence acquisition and retention, as well as      encouraged to update public record laws.
privacy issues, accountability and discipline. They
                                                        The quickly evolving nature of new technologies
must also consider the impact of data collection
                                                        that collect video, audio, information, and biomet-
and use on public trust and police legitimacy.
                                                        ric data on members of the community can cause
                                                        unforeseen consequences. Public record laws,
3.3.1 A CTION I TEM : As part of the process            which allow public access to information held by
for developing best practices, the U.S. Department      government agencies, including law enforcement,
of Justice should consult with civil rights and civil   should be modified to protect the privacy of
liberties organizations, as well as law enforcement     the individuals whose records they hold and to
research groups and other experts, concerning           maintain the trust of the community.
the constitutional issues that can arise as a result
of the use of new technologies.                         Issues such as the accessibility of video captured
                                                        through dashboard or body-worn cameras are
3.3.2 A CTION I TEM : The U.S. Department               especially complex. So too are the officer use of
of Justice should create toolkits for the most          force events that will be captured by video camera
effective and constitutional use of multiple            systems and then broadcast by local media outlets.
forms of innovative technology that will provide        Use of force, even when lawful and appropriate,
state, local, and tribal law enforcement agencies       can negatively influence public perception and
with a one-stop clearinghouse of information            trust of police. Sean Smoot, task force member, ad-
and resources.                                          dressed this by recalling the shooting of a Flagstaff,
                                                        Arizona, police officer whose death was recorded
                                                        by his BWC. Responding to public record requests
3.3.3 A CTION I TEM : Law enforcement
                                                        by local media, the police department released
agencies should review and consider the Bureau
                                                        the graphic footage, which was then shown on
of Justice Assistance’s (BJA) Body Worn Camera
                                                        local TV and also on YouTube.65 This illustration also
Toolkit to assist in implementing BWCs.
                                                        raises questions concerning the recording of police
A Body-Worn Camera Expert Panel of law enforce-         interactions with minors and the appropriateness
ment leaders, recognized practitioners, national        of releasing those videos for public view given their
policy leaders, and community advocates con-            inability to give informed consent for distribution.
vened a two-day workshop in February, 2015 to
develop a toolkit and provide guidance and model        3.5 R ECOMMENDATION : Law enforcement
policy for law enforcement agencies implementing        agencies should adopt model policies
BWC programs. Subject matter experts contributed        and best practices for technology-based
ideas and content for the proposed toolkit while a      community engagement that increases
panel composed of privacy and victim advocates          community trust and access.
contributed ideas and content for the toolkit to
broaden input and ensure transparency.
                                                        65. Listening Session on Technology and Social Media (Sean Smoot, task force
                                                        member, for the President’s Task Force on 21st Century Policing, Cincinnati, OH,
                                                        January 31, 2015).



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                                                                                     PILLAR 3. TECHNOLOGY & SOCIAL MEDIA



Table 2. What types of social media does your agency currently use, and what types of
social media do you plan to begin using within the next 2 to 5 years?

 Social media type                                           Percent of responding agencies                           Percent of responding agencies plan-
                                                             currently using                                          ning to begin using in 2 to 5 years
 Agency website                                              100                                                      —
 Facebook                                                    82                                                       14
 Twitter                                                     69                                                       18
 YouTube                                                     48                                                       20
 LinkedIn                                                    34                                                       20
Note: PERF, with the support of the COPS Office and Target Corporation, disseminated a “Future of Policing” survey in 2012 to more than 500 police agencies; nearly
200 responded.
Source: Police Executive Research Forum, Future Trends in Policing (Washington, DC: Office of Community Oriented Policing Services, 2014),
http://ric-zai-inc.com/Publications/cops-p282-pub.pdf.


These policies and practices should at a minimum                                         not just public information.”67 False or incorrect
increase transparency and accessibility, provide                                         statements made via social media, mainstream
access to information (crime statistics, current                                         media, and other means of technology deeply
calls for service), allow for public posting of policy                                   harm trust and legitimacy and can only be over-
and procedures, and enable access and usage for                                          come with targeted and continuing community
persons with disabilities. They should also address                                      engagement and repeated positive interaction.
issues surrounding the use of new and social                                             Agencies need to unequivocally discourage falsi-
media, encouraging the use of social media as a                                          ties by underlining how harmful they are and how
means of community interaction and relationship                                          difficult they are to overcome.
building, which can result in stronger law enforce-
ment. As witness Elliot Cohen noted,                                                     Agencies should also develop policies and prac-
                                                                                         tices on social media use that consider individual
   We have seen social media support policing efforts                                    officer expression, professional representation,
   in gathering intelligence during active assailant                                     truthful communication, and other concerns that
   incidents: the Columbia Mall shooting and the                                         can impact trust and legitimacy.
   Boston Marathon bombing. Social media allowed for
   a greater volume of information to be collected in an
                                                                                         3.6 R ECOMMENDATION : The Federal
   electronic format, both audibly and visually.66
                                                                                         Government should support the development
But to engage the community, social media must                                           of new “less than lethal” technology to help
be responsive and current. Said Bill Schrier, “Regu-                                     control combative suspects.
larly refresh the content to maintain and engage                                         The fatal shootings in Ferguson, Cleveland, and
the audience, post content rapidly during inci-                                          elsewhere have put the consequences of use of
dents to dispel rumors, and use it for engagement,                                       force front and center in the national news.
                                                                                         67. Listening Session on Technology and Social Media: Technology Policy (oral
66. Listening Session on Technology and Social Media: Technology Policy (oral            testimony of Bill Schrier, senior policy advisor, Office of the Chief Information
testimony of Elliot Cohen, lieutenant, Maryland State Police, for the President’s Task   Officer, State of Washington, for the President’s Task Force on 21st Century Policing,
Force on 21st Century Policing, Cincinnati, OH, January 31, 2015).                       Cincinnati, OH, January 31, 2015).


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Rev. Jeff Brown speaks on restoring trust between police and communities, Phoenix, February 13, 2015.                                                PHOTO: DEBORAH SPENCE

Policies and procedures must change, but so                                           subject to the appropriate use of force continuum
should the weaponry. New technologies such as                                         restrictions. And Vincent Talucci made the point in
conductive energy devices (CED) have been devel-                                      his testimony that over-reliance on technological
oped and may be used and evaluated to decrease                                        weapons can also be dangerous.69
the number of fatal police interventions. Studies of
CEDs have shown them to be effective at reducing                                      3.6.1 A CTION I TEM : Relevant federal agen-
both officer and civilian injuries. For example, in                                   cies, including the U.S. Departments of Defense
one study that compared seven law enforcement                                         and Justice, should expand their efforts to study
agencies that use CEDs with six agencies that do                                      the development and use of new less than lethal
not, researchers found a 70 percent decrease in                                       technologies and evaluate their impact on public
officer injuries and a 40 percent decrease in sus-                                    safety, reducing lethal violence against citizens,
pect injures.68 But new technologies should still be                                  constitutionality, and officer safety.
68. Bruce Taylor et al., Comparing Safety Outcomes in Police Use-Of-Force Cases
for Law Enforcement Agencies That Have Deployed Conducted Energy Devices and
A Matched Comparison Group That Have Not: A Quasi-Experimental Evaluation             Taylor and Daniel J. Woods, “Injuries to Officers and Suspects in Police Use-of-
(Washington, DC: Police Executive Research Forum, 2009), https://www.ncjrs.           Force Cases: A Quasi-Experimental Evaluation,” Police Quarterly 13, no. 3 (2010):
gov/pdffiles1/nij/grants/237965.pdf; John M. MacDonald, Robert J. Kaminski,           260–289, http://pqx.sagepub.com/content/13/3/260.full.pdf.
and Michael R. Smith, “The Effect of Less-Lethal Weapons on Injuries in Police Use-   69. Listening Session on Technology and Social Media (oral testimony of Vincent
of-Force Events,” American Journal of Public Health 99, no. 12 (2009) 2268–2274,      Talucci, International Association of Chiefs of Police, for the President’s Task Force on
http://www.ncbi.nlm.nih.gov/pmc/articles/PMC2775771/pdf/2268.pdf; Bruce G.            21st Century Policing, Cincinnati, OH, January 31, 2015).



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                                                                                     PILLAR 3. TECHNOLOGY & SOCIAL MEDIA



3.7 R ECOMMENDATION : The Federal                                                        A national public safety broadband network
Government should make the development                                                   which creates bandwidth for the exclusive use of
and building of segregated radio spectrum                                                law enforcement, the First Responder Network
and increased bandwidth by FirstNet                                                      (FirstNet) is considered a game-changing public
for exclusive use by local, state, tribal,                                               safety project, which would allow instantaneous
and federal public safety agencies a                                                     communication in even the most remote areas
top priority.70                                                                          whenever a disaster or incident occurs. It can also
                                                                                         support many other technologies, including video
                                                                                         transmission from BWCs.




70. Listening Session on Technology and Social Media: Technology Policy (oral
testimony of Bill Schrier, senior policy advisor, Office of the Chief Information
Officer, State of Washington, for the President’s Task Force on 21st Century Policing,
Cincinnati, OH, January 31, 2015).



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President Barack Obama delivers remarks to the press following a meeting with members of the President’s Task Force on 21st Century Policing in the
Roosevelt Room of the White House, March 2, 2015.                                                           OFFICIAL WHITE HOUSE PHOTO BY CHUCK KENNEDY




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PILLAR 4. COMMUNIT Y POLICING
& CRIME REDUCTION
Community policing requires the active building of positive relation-
ships with members of the community.
Community policing is a philosophy that promotes                                   Yet mutual trust and cooperation, two key
organizational strategies that support the                                         elements of community policing, are vital to
systematic use of partnerships and problem-solving                                 protecting residents of these communities from
techniques to proactively address the immediate                                    the crime that plagues them. Community policing
conditions that give rise to public safety issues such                             combines a focus on intervention and prevention
as crime, social disorder, and fear of crime.71                                    through problem solving with building collab-
                                                                                   orative partnerships between law enforcement
Over the past few decades, rates of both violent                                   agencies and schools, social services, and other
and property crime have dropped dramatically                                       stakeholders. In this way, community policing not
across the United States.72 However, some com-                                     only improves public safety but also enhances
munities and segments of the population have not                                   social connectivity and economic strength, which
benefited from the decrease as much as others, and                                 increases community resilience to crime. And, as
some not at all.73 Though law enforcement must                                     noted by one speaker, it improves job satisfaction
concentrate their efforts in these neighborhoods                                   for line officers, too.
to maintain public safety, sometimes those specific
efforts arouse resentment in the neighborhoods                                     In his testimony to the task force, Camden County,
the police are striving to protect.                                                New Jersey, Police Chief J. Scott Thomson noted
                                                                                   that community policing starts on the street
Police interventions must be implemented with                                      corner, with respectful interaction between a
strong policies and training in place, rooted in an                                police officer and a local resident, a discussion that
understanding of procedural justice. Indeed, with-                                 need not be related to a criminal matter.74 In fact,
out that, police interventions can easily devolve                                  it is important that not all interactions be based on
into racial profiling, excessive use of force, and                                 emergency calls or crime investigations.
other practices that disregard civil rights, causing
negative reactions from people living in already                                   Another aspect of community policing that was
challenged communities.                                                            discussed in the listening session on this topic is
                                                                                   the premise that officers enforce the law with the
71. Community Policing Defined (Washington, DC: Office of Community Oriented
Policing Services, 2014), http://ric-zai-inc.com/Publications/cops-p157-pub.pdf.   people not just on the people. In reflecting this
72. “Crime Statistics for 2013 Released: Decrease in Violent Crimes and Property   belief, some commented on the negative
Crimes,” Federal Bureau of Investigation, last modified November 10, 2014,
http://www.fbi.gov/news/stories/2014/november/crime-statistics-for-2013-
released/crime-statistics-for-2013-released.
73. Listening Session on Community Policing and Crime Reduction: Building          74. Listening Session on Community Policing and Crime Reduction: Using
Community Policing Organizations (oral testimony of Chris Magnus, chief,           Community Policing to Reduce Crime (oral testimony of J. Scott Thomson, chief,
Richmond [CA] Police Department, for the President’s Task Force on 21st Century    Camden County [NJ] Police Department, for the President’s Task Force on 21st
Policing, Phoenix, AZ, February 13, 2015).                                         Century Policing, Phoenix, AZ, February 13, 2015).



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results of zero tolerance policies, which mete out                                  community in order to effectively address chronic
automatic and predetermined actions by officers                                     crime and disorder problems. As Office of Com-
regardless of extenuating circumstances.                                            munity Oriented Policing Services Director Ronald
                                                                                    L. Davis has said, “We need to teach new recruits
Community policing requires the active building                                     that law enforcement is more than just cuffing
of positive relationships with members of the                                       ‘perps’—it’s understanding why people do what
community—on an agency as well as on a per-                                         they do.”77
sonal basis. This can be done through assigning
officers to geographic areas on a consistent basis,                                 In summary, law enforcement’s obligation is not
so that through the continuity of assignment they                                   only to reduce crime but also to do so fairly while
have the opportunity to know the members of                                         protecting the rights of citizens. Any prevention
the community. It can also be aided by the use                                      strategy that unintentionally violates civil rights,
of programs such as Eagle County, Colorado’s                                        compromises police legitimacy, or undermines
Law Enforcement Immigrant Advisory Commit-                                          trust is counterproductive from both ethical and
tee, which the police department formed with                                        cost-benefit perspectives. Ignoring these consider-
Catholic Charities to help the local immigrant                                      ations can have both financial costs (e.g., lawsuits)
community.75 This type of policing also requires                                    and social costs (e.g., loss of public support).
participation in community organizations, local
meetings and public service activities.                                             It must also be stressed that the absence of crime
                                                                                    is not the final goal of law enforcement. Rather, it
To be most effective, community policing also                                       is the promotion and protection of public safety
requires collaborative partnerships with agencies                                   while respecting the dignity and rights of all. And
beyond law enforcement, such as Philadelphia’s                                      public safety and well-being cannot be attained
successful Police Diversion Program described                                       without the community’s belief that their well-
by Kevin Bethel, Deputy Commissioner of Patrol                                      being is at the heart of all law enforcement activ-
Operations in the Philadelphia Police Department                                    ities. It is critical to help community members see
in his testimony to the task force.76 This partner-                                 police as allies rather than as an occupying force
ship with the Philadelphia Department of Human                                      and to work in concert with other community
Services, the school district, the District Attorney’s                              stakeholders to create more economically and
office, Family Court, and other stakeholders signifi-                               socially stable neighborhoods.
cantly reduced the number of arrests of minority
youths for minor offenses.
                                                                                    4.1 R ECOMMENDATION : Law enforcement
Problem solving, another key element of com-                                        agencies should develop and adopt policies
munity policing, is critical to prevention. And                                     and strategies that reinforce the importance
problems must be solved in partnership with the                                     of community engagement in managing
                                                                                    public safety.
75. Listening Session on Community Policing and Crime Reduction: Building
Community Policing Organizations (oral testimony of Chris Magnus, chief,
Richmond [CA] Police Department, for the President’s Task Force on 21st Century
Policing, Phoenix, AZ, February 13, 2015).
76. Listening Session on Community Policing and Crime Reduction: Using              77. Faye Elkins, “Five COPS Office Directors Look Back and Think Forward at the
Community Policing to Reduce Crime (oral testimony of Kevin Bethel, deputy police   20th Anniversary Celebration,” Community Policing Dispatch 8, no. 1 (January
commissioner, Philadelphia Police Department, for the President’s Task Force on     12, 2014), http://cops.usdoj.gov/html/dispatch/01-2015/cops_office_20th_
21st Century Policing, Phoenix, AZ, February 13, 2015).                             anniversary.asp.



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                                                  PILLAR 4. COMMUNITY POLICING & CRIME REDUCTION



Community policing is not just about the relation-                                  Community policing cannot be a program, unit,
ship between individual officers and individual                                     strategy or tactic. It must be the core principle that
neighborhood residents. It is also about the rela-                                  lies at the foundation of a police department’s
tionship between law enforcement leaders and                                        culture. The only way to significantly reduce fear,
leaders of key institutions in a community, such as                                 crime, and disorder and then sustain these gains is
churches, businesses, and schools, supporting the                                   to leverage the greatest force multiplier: the people
community’s own process to define prevention                                        of the community.80
and reach goals.
                                                                                 This message was closely echoed by Chris Mag-
Law enforcement agencies cannot ensure the safety                                nus, the police chief in Richmond, California. To
of communities alone but should seek to contribute                               build a more effective partnership with residents
to the strengthening of neighborhood capacity to                                 and transform culture within the police depart-
prevent and reduce crime through informal social                                 ment as well as in the community, the Richmond
control. More than a century of research shows                                   police made sure that all officers, not just a
that informal social control is a much more powerful                             select few, were doing community policing and
mechanism for crime control and reduction than is                                neighborhood problem solving. Every officer is
formal punishment. And perhaps the best evidence                                 expected to get to know the residents, businesses,
for the preventive power of informal social control                              community groups, churches, and schools on their
may be the millions of unguarded opportunities to                                beat and work with them to identify and address
commit crime that are passed up each day.78                                      public safety challenges, including quality of life
                                                                                 issues such as blight. Officers remain in the same
4.1.1 A CTION I TEM : Law enforcement agen-                                      beat or district for several years or more—which
cies should consider adopting preferences for                                    builds familiarity and trust.81
seeking “least harm” resolutions, such as diversion
                                                                                 Testimony from a number of witnesses also made
programs or warnings and citations in lieu of
                                                                                 clear that hiring, training, evaluating, and promot-
arrest for minor infractions.
                                                                                 ing officers based on their ability and track record
                                                                                 in community engagement—not just traditional
4.2 R ECOMMENDATION : Community                                                  measures of policing such as arrests, tickets, or
policing should be infused throughout the                                        tactical skills—is an equally important component
culture and organizational structure of law                                      of the successful infusion of community policing
enforcement agencies.                                                            throughout an organization.

Community policing must be a way of doing
business by an entire police force, not just a
specialized unit of that force.79 The task force heard
testimony from Police Chief J. Scott Thomson of
                                                                                 80. Listening Session on Community Policing and Crime Reduction: Using
Camden County, New Jersey, who noted:                                            Community Policing to Reduce Crime (oral testimony of J. Scott Thomson, chief,
                                                                                 Camden County [NJ] Police Department, for the President’s Task Force on 21st
78. Lawrence Cohen and Marcus Felson, “Social Change and Crime Rate Trends:      Century Policing, Phoenix, AZ, February 13, 2015).
A Routine Activities Approach,” American Sociological Review 44 (August 1979):   81. Listening Session on Community Policing and Crime Reduction: Building
588–607.                                                                         Community Policing Organizations (oral testimony of Chris Magnus, chief,
79. Tracey Meares, “Praying for Community Policing,” California Law Review 90    Richmond [CA] Police Department, for the President’s Task Force on 21st Century
(2002): 1593–1634, http://digitalcommons.law.yale.edu/fss_papers/518/.           Policing, Phoenix, AZ, February 13, 2015).



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4.2.1 A CTION I TEM : Law enforcement                    other professionals making decisions alongside
agencies should evaluate officers on their efforts       the police regarding planning, implementing, and
to engage members of the community and the               responding to mental health crisis situations. But
partnerships they build. Making this part of             this model is applicable to a number of com-
the performance evaluation process places an             munity problems that regularly involve a police
increased value on developing partnerships.              response, including homelessness, substance
                                                         abuse, domestic violence, human trafficking,
4.2.2 A CTION I TEM : Law enforcement                    and child abuse. Ultimately, the idea is for
agencies should evaluate their patrol deployment         officers to be trained and equipped to make
practices to allow sufficient time for patrol officers   use of existing community resources in the
to participate in problem solving and community          diffusion of crisis situations.
engagement activities.
                                                         4.3.1 A CTION I TEM : The U.S. Department of
4.2.3 A CTION I TEM : The U.S. Department                Justice should collaborate with others to develop
of Justice and other public and private entities         and disseminate baseline models of this crisis
should support research into the factors that            intervention team approach that can be adapted
have led to dramatic successes in crime reduction        to local contexts.
in some communities through the infusion of
non-discriminatory policing and to determine             4.3.2 A CTION I TEM : Communities should
replicable factors that could be used to guide law       look to involve peer support counselors as part
enforcement agencies in other communities.               of multidisciplinary teams when appropriate.
                                                         Persons who have experienced the same trauma
                                                         can provide both insight to the first responders
4.3 R ECOMMENDATION : Law enforcement
                                                         and immediate support to individuals in crisis.
agencies should engage in multidisciplinary,
community team approaches for planning,
implementing, and responding to crisis                   4.3.3 A CTION I TEM : Communities should be
situations with complex causal factors.                  encouraged to evaluate the efficacy of these crisis
                                                         intervention team approaches and hold agency
Collaborative approaches that engage profession-         leaders accountable for outcomes.
als from across systems have emerged as model
practices for addressing community problems
that are not resolvable by the police alone. These       4.4 R ECOMMENDATION : Communities
team approaches call upon law enforcement                should support a culture and practice of
agencies, service providers, and community               policing that reflects the values of protection
support networks to work together to provide the         and promotion of the dignity of all, especially
right resources for the situation and foster sustain-    the most vulnerable.
able change. Multiple witnesses before the task          The task force heard many different ways of
force spoke of departments coordinating mental           describing a positive culture of policing. David
health response teams that include mental health         Kennedy suggested there could be a Hippocratic
professionals, social workers, crisis counselors, and




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                                                     PILLAR 4. COMMUNITY POLICING & CRIME REDUCTION




Chief Edward Flynn of the Milwaukee Police Department, Phoenix, February 14, 2015.                                          PHOTO: DEBORAH SPENCE


Oath for Policing: First, Do No Harm.82 Law en-                                        importance of language used and adopt
forcement officers’ goal should be to avoid use                                        policies directing officers to speak to individuals
of force if at all possible, even when it is allowed                                   with respect.
by law and by policy. Terms such as fair and
impartial policing, rightful policing, constitutional                                  4.4.2 A CTION I TEM : Law enforcement
policing, neighborhood policing, procedural justice,                                   agencies should develop programs that create op-
and implicit bias training all address changing the                                    portunities for patrol officers to regularly interact
culture of policing. Respectful language; thought-                                     with neighborhood residents, faith leaders, and
ful and intentional dialogue about the perception                                      business leaders.
and reality of profiling and the mass incarceration
of minorities; and consistent involvement, both
formal and informal, in community events all help                                      4.5 R ECOMMENDATION : Community
ensure that relationships of trust between police                                      policing emphasizes working with
and community will be built. The vision of policing                                    neighborhood residents to co-produce public
in the 21st century should be that of officers as                                      safety. Law enforcement agencies should
guardians of human and constitutional rights.                                          work with community residents to identify
                                                                                       problems and collaborate on implementing
                                                                                       solutions that produce meaningful results for
4.4.1 A CTION I TEM : Because offensive or
                                                                                       the community.
harsh language can escalate a minor situation,
law enforcement agencies should underscore the                                         As Delores Jones Brown testified, “Neighborhood
                                                                                       policing provides an opportunity for police
82. Listening Session on Community Policing and Crime Reduction: Using                 departments to do things with residents in the
Community Policing to Reduce Crime (oral testimony of David Kennedy, professor,        co-production of public safety rather than doing
John Jay College of Criminal Justice, for the President’s Task Force on 21st Century
Policing, Phoenix, AZ, February 13, 2015).

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things to or for them.”83 Community policing is not                                     protect itself, be part of solving problems, and
just about the behavior and tactics of police; it is                                    prevent crime. Community and police jointly share
also about the civic engagement and capacity                                            the responsibility for civil dialogue and interaction.
of communities to improve their own neighbor-
hoods, their quality of life, and their sense of safety                                 4.5.1 A CTION I TEM : Law enforcement agen-
and well-being. Members of communities are key                                          cies should schedule regular forums and meetings
partners in creating public safety, so communities                                      where all community members can interact with
and police need mechanisms to engage with each                                          police and help influence programs and policy.
other in consistent and meaningful ways. One
model for formalizing this engagement is through
                                                                                        4.5.2 A CTION I TEM : Law enforcement agen-
a civilian governance system such as is found in
                                                                                        cies should engage youth and communities in joint
Los Angeles. As Chief Charlie Beck explained in
                                                                                        training with law enforcement, citizen academies,
testimony to the task force,
                                                                                        ride-alongs, problem solving teams, community
     The Los Angeles Police Department is formally                                      action teams, and quality of life teams.
     governed by the Board of Police Commissioners,
     a five-person civilian body with each member                                       4.5.3 A CTION I TEM : Law enforcement agen-
     appointed by the mayor. The commission has formal                                  cies should establish formal community/citizen
     authority to hire the chief of police, to set broad policy                         advisory committees to assist in developing crime
     for the department, and to hold the LAPD and its                                   prevention strategies and agency policies as well
     chief accountable to the people.84                                                 as provide input on policing issues.

Community policing, therefore, is concerned with                                        Larger agencies should establish multiple com-
changing the way in which citizens respond to                                           mittees to ensure they inform all levels of the
police in more constructive and proactive ways.                                         organization. The makeup of these committees
If officers feel unsafe and threatened, their ability                                   should reflect the demographics of the communi-
to operate in an open and shared dialogue with                                          ty or neighborhood being served.
community is inhibited. On the other hand, the
police have the responsibility to understand the                                        4.5.4 A CTION I TEM : Law enforcement agen-
culture, history, and quality of life issues of the                                     cies should adopt community policing strategies
entire community—youth, elders, faith commu-                                            that support and work in concert with economic
nities, special populations—and to educate the                                          development efforts within communities.
community, including its children, on the role and
function of police and ways the community can                                           As several witnesses, including Bill Geller, testified,
                                                                                        public safety and the economic health of commu-
                                                                                        nities go hand in hand.85 It is therefore important
83. Listening Session on Community Policing and Crime Reduction: Community
Policing and Crime Prevention Research (oral testimony of Delores Jones Brown,
professor, Department of Law, Police Science & Criminal Justice Administration,
John Jay College of Criminal Justice, for the President’s Task Force on 21st Century
Policing, Phoenix, AZ, February 13, 2015).                                              85. Listening Session on Community Policing and Crime Reduction: Community
84. Listening Session on Policy and Oversight: Civilian Oversight (oral testimony       Policing and Crime Prevention Research (oral testimony of Bill Geller, director, Geller
of Charles Beck, chief, Los Angeles Police Department, for the President’s Task Force   & Associates, for the President’s Task Force on 21st Century Policing, Phoenix, AZ,
on 21st Century Policing, Cincinnati, OH, January 30, 2015).                            February 13, 2015).



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                                 PILLAR 4. COMMUNITY POLICING & CRIME REDUCTION



for agencies to work with local, state, and federal   One witness told the task force a stunning story
partners on projects devoted to enhancing the         about what happened to him one day when he
economic health of the communities in which           was a high school freshman:
departments are located.
                                                         As I walked down the hall, one of the police officers
                                                         employed in the school noticed I did not have my
4.6 R ECOMMENDATION : Communities                        identification badge with me. Before I could explain
should adopt policies and programs that                  why I did not have my badge, I was escorted to the
address the needs of children and youth                  office and suspended for an entire week. I had to
most at risk for crime or violence and reduce            leave the school premises immediately. Walking to
aggressive law enforcement tactics that                  the bus stop, a different police officer pulled me over
stigmatize youth and marginalize their                   and demanded to know why I was not in school. As
participation in schools and communities.                I tried to explain, I was thrown into the back of the
The past decade has seen an explosion of                 police car. They drove back to my school to see if I was
knowledge about adolescent development and               telling the truth, and I was left waiting in the car for
the neurological underpinnings of adolescent             over two hours. When they came back, they told me
behavior. Much has also been learned about               I was in fact suspended, but because the school did
the pathways by which adolescents become                 not provide me with the proper forms, my guardian
delinquent, the effectiveness of prevention and          and I both had to pay tickets for me being off of
treatment programs, and the long-term effects            school property. The tickets together were 600 dollars,
of transferring youths to the adult system and           and I had a court date for each one. Was forgetting
confining them in harsh conditions. These findings       my ID worth missing school? Me being kicked out of
have raised doubts about a series of policies and        school did not solve or help anything. I was at home
practices of “zero tolerance” that have contributed      alone watching Jerry Springer, doing nothing.86
to increasing the school-to-prison pipeline by
criminalizing the behaviors of children as young      4.6.1 A CTION I TEM : Education and
as kindergarten age. Noncriminal offenses can         criminal justice agencies at all levels of
escalate to criminal charges when officers are        government should work together to reform
not trained in child and adolescent development       policies and procedures that push children into
and are unable to recognize and manage a child’s      the juvenile justice system.87
emotional, intellectual, and physical development
issues. School district policies and practices that
push students out of schools and into the juvenile
justice system cause great harm and do no good.



                                                      86. Listening Session on Community Policing and Crime Prevention (oral
                                                      testimony of Michael Reynolds for the President’s Task Force on 21st Century
                                                      Policing, Phoenix, AZ, February 13, 2015).
                                                      87. For more information about such policies and procedures, see the U.S.
                                                      Department of Justice’s Civil Rights Division and U.S. Department of Education’s
                                                      Office for Civil Rights, “Joint ‘Dear Colleague’ Letter,” last updated February 4, 2014,
                                                      http://www2.ed.gov/about/offices/list/ocr/letters/colleague-201401-title-vi.html.



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4.6.2 A CTION I TEM : In order to keep youth          4.6.6 A CTION I TEM : Law enforcement
in school and to keep them from criminal and vi-      agencies should work with schools to create a
olent behavior, law enforcement agencies should       continuum of developmentally appropriate and
work with schools to encourage the creation of        proportional consequences for addressing ongo-
alternatives to student suspensions and expulsion     ing and escalating student misbehavior after all
through restorative justice, diversion, counseling,   appropriate interventions have been attempted.
and family interventions.
                                                      4.6.7 A CTION I TEM : Law enforcement
4.6.3 A CTION I TEM : Law enforcement agen-           agencies should work with communities to play
cies should work with schools to encourage the        a role in programs and procedures to reintegrate
use of alternative strategies that involve youth in   juveniles back into their communities as they
decision making, such as restorative justice, youth   leave the juvenile justice system.
courts, and peer interventions.
                                                      Although this recommendation—and therefore
The Federal Government could incentivize schools      its action items—specifically focuses on juveniles,
to adopt this practice by tying federal funding to    this task force believes that law enforcement
schools implementing restorative justice practices.   agencies should also work with communities to
                                                      play a role in re-entry programs for adults leaving
4.6.4 A CTION I TEM : Law enforcement                 prisons and jails.
agencies should work with schools to adopt an
instructional approach to discipline that uses        4.6.8 A CTION I TEM : Law enforcement agen-
interventions or disciplinary consequences to help    cies and schools should establish memoranda of
students develop new behavior skills and positive     agreement for the placement of School Resource
strategies to avoid conflict, redirect energy, and    Officers that limit police involvement in student
refocus on learning.                                  discipline.

                                                      Such agreements could include provisions for
4.6.5 A CTION I TEM : Law enforcement
                                                      special training for School Resource Officers to
agencies should work with schools to develop and
                                                      help them better understand and deal with issues
monitor school discipline policies with input and
                                                      involving youth.
collaboration from school personnel, students,
families, and community members. These policies
should prohibit the use of corporal punishment        4.6.9 A CTION I TEM : The Federal Govern-
and electronic control devices.                       ment should assess and evaluate zero tolerance
                                                      strategies and examine the role of reasonable
                                                      discretion when dealing with adolescents in
                                                      consideration of their stages of maturation
                                                      or development.




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                                              PILLAR 4. COMMUNITY POLICING & CRIME REDUCTION




Task force executive director Ronald L. Davis and co-chairs Laurie Robinson and Charles Ramsey, Washington, D.C., February 23, 2015.
                                                                                                                                        PHOTO: DEBORAH SPENCE


4.7 R ECOMMENDATION : Communities                                             Phoenix native Jose Gonzales, 21, first went to jail
need to affirm and recognize the                                              at age nine and had a chaotic childhood, but in
voices of youth in community decision                                         turning his life towards a productive and healthy
making, facilitate youth-led research and                                     future, he vividly remembers one officer who
problem solving, and develop and fund                                         made a difference:
youth leadership training and life skills
                                                                                  Needless to say, I have had a fair amount of
through positive youth/police collaboration
                                                                                  interaction with law enforcement in my youth. Some
and interactions.
                                                                                  has been very positive. Like the time that a School
Youth face unique challenges when encountering                                    Resource Officer got me involved in an after school
the criminal justice system. Law enforcement                                      club. Officer Bill D. helped me stop being a bad
contacts for apparent infractions create trauma                                   kid and assisted with after school activities. He
and fear in children and disillusionment in youth,                                sought me out to be a part of a club that included
but proactive and positive youth interactions with                                all sorts of youth—athletes, academics—and
police create the opportunity for coaching, men-                                  helped me gain confidence in reaching out to
toring, and diversion into constructive alternative                               other social circles beyond my troubled community.
activities. Moving testimony from a panel of young                                The important idea I’d like to convey is that approach
people allowed the task force members to hear                                     is everything.88
how officers can lead youth out of the conditions
that keep them in the juvenile justice system and                             88. Listening Session on Community Policing and Crime Reduction: Youth and
into self-awareness and self-help.                                            Law Enforcement (oral testimony of Jose Gonzales for the President’s Task Force on
                                                                              21st Century Policing, Phoenix, AZ, February 13, 2015).


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4.7.1 A ction I tem : Communities and law          4.7.2 A ction I tem : Communities
enforcement agencies should restore and build      should develop community- and school-based
trust between youth and police by creating pro-    evidence-based programs that mitigate punitive
grams and projects for positive, consistent, and   and authoritarian solutions to teen problems.
persistent interaction between youth and police.




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P I L L A R 5 . T R A I N I N G & E D U C AT I O N
Hiring officers who reflect the community they serve is important not
only to external relations but also to increasing understanding within
the agency.
As our nation becomes more pluralistic and the          Many who spoke before the task force recom-
scope of law enforcement’s responsibilities ex-         mended that law enforcement partner with
pands, the need for more and better training has        academic institutions; organizations such as the
become critical. Today’s line officers and leaders      International Association of Chiefs of Police (IACP),
must meet a wide variety of challenges including        the Major Cities Chiefs Association (MCCA), the
international terrorism, evolving technologies,         National Organization of Black Law Enforcement
rising immigration, changing laws, new cultural         Executives (NOBLE), and the Police Executive
mores, and a growing mental health crisis. All          Research Forum (PERF); and other sources
states and territories and the District of Columbia     of appropriate training. Establishing fellowships
should establish standards for hiring, training,        and exchange programs with other agencies was
and education.                                          also suggested.

The skills and knowledge required to effectively        Other witnesses spoke about the police edu-
deal with these issues requires a higher level of       cation now offered by universities, noting that
education as well as extensive and ongoing train-       undergraduate criminal justice and criminology
ing in specific disciplines. The task force discussed   programs provide a serviceable foundation but
these needs in depth, making recommendations            that short courses of mixed quality and even
for basic recruit and in-service training, as well as   some graduate university degree programs do
leadership development in a wide variety of areas:      not come close to addressing the needs of
                                                        21st-century law enforcement.
y Community policing and problem-solving
   principles
                                                        In addition to discussion of training programs
y Interpersonal and communication skills                and educational expectations, witnesses at the
y Bias awareness                                        listening session made clear that new approaches
                                                        to recruitment, hiring, evaluation, and promotion
y Scenario-based, situational decision making
                                                        are also essential to developing a more highly
y Crisis intervention                                   educated workforce with the character traits and
y Procedural justice and impartial policing             social skills that enable effective policing and
y Trauma and victim services                            positive community relationships.

y Mental health issues                                  To build a police force capable of dealing with the
y Analytical research and technology                    complexity of the 21st century, it is imperative
                                                        that agencies place value on both educational
y Languages and cultural responsiveness
                                                        achievements and socialization skills when making
                                                        hiring decisions. Hiring officers who reflect the



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To be effective in an ever-changing world, training must continue
throughout an officer’s career.

community they serve is also important not only                                 fringes.90 Ronal Serpas recommended training on
to external relations but also to increasing under-                             the effects of violence not only on the community
standing within the agency. On the other hand,                                  and individual victims but also on police officers
task force member Constance Rice described the                                  themselves, noting that exposure to violence can
best line officer she knew—White, but better at                                 make individuals more prone to violent behavior.91
relating to the African-American community than                                 And witnesses Bruce Lipman and David Friedman
his Black colleagues. Her recommendation was to                                 both spoke about providing officers with historical
look for the character traits that support fairness,                            perspectives of policing to provide context as to
compassion, and cultural sensitivity.89                                         why some communities have negative feelings
                                                                                toward the police and improve understanding of
The need for understanding, tolerance, and                                      the role of the police in a democratic society.92
sensitivity to African Americans, Latinos, recent
immigrants, Muslims, and the LGBTQ community                                    Though today’s law enforcement professionals
was discussed at length at the listening session,                               are highly trained and highly skilled operationally,
with witnesses giving examples of unacceptable                                  they must develop specialized knowledge and un-
behavior in law enforcement’s dealings with all                                 derstanding that enable fair and procedurally just
of these groups. Participants also discussed the                                policing and allow them to meet a wide variety
need to move towards practices that respect all                                 of new challenges and expectations. Tactical skills
members of the community equally and away                                       are important, but attitude, tolerance, and inter-
from policing tactics that can unintentionally lead                             personal skills are equally so. And to be effective
to excessive enforcement against minorities.                                    in an ever-changing world, training must continue
                                                                                throughout an officer’s career.
Witnesses noted that officers need to develop the
skills and knowledge necessary in the fight against                             The goal is not only effective, efficient policing but
terrorism by gaining an understanding of the links                              also procedural justice and fairness. Following are
between normal criminal activity and terrorism,                                 the task force’s recommendations for implement-
for example. What is more, this training must be                                ing career-long education and training practices
ongoing, as threats and procedures for combat-                                  for law enforcement in the 21st century.
ting terrorism evolve.
                                                                                90. Listening Session on Community Policing and Crime Reduction: Community
The need for realistic, scenario-based training to                              Policing and Crime Prevention Research (oral testimony of Dennis Rosenbaum,
better manage interactions and minimize using                                   professor, University of Illinois at Chicago, for the President’s Task Force on 21st
                                                                                Century Policing, Phoenix, AZ, February 13, 2015).
force was discussed by a number of witnesses.                                   91. Listening Session on Training and Education: Special Training on Building Trust
Others focused more on content than delivery:                                   (oral testimony of Ronal Serpas, advisory board member, Cure Violence Chicago, for
                                                                                the President’s Task Force on 21st Century Policing, Phoenix, AZ, February 14, 2015).
Dennis Rosenbaum suggested putting proce-                                       92. Listening Session on Training and Education: Special Training on Building Trust
dural justice at the center of training, not on the                             (oral testimony of David C. Friedman, director of National Law Enforcement Initiatives,
                                                                                Anti-Defamation League, for the President’s Task Force on 21st Century Policing, Phoenix,
89. Listening Session on Training and Education (Constance Rice, task force     AZ, February 14, 2015); Listening Session on Training and Education: Special Training
member, for the President’s Task Force on 21st Century Policing, Phoenix, AZ,   on Building Trust (oral testimony of Bruce Lipman, Procedural Justice Training, for the
February 14, 2015).                                                             President’s Task Force on 21st Century Policing, Phoenix, AZ, February 14, 2015).


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                                                                                      P I L L A R 5 . T R A I N I N G & E D U C AT I O N




Task force members Jose Lopez and Brittany Packnett listen to testimony, Phoenix, February 14, 2015.                   PHOTO: DEBORAH SPENCE


5.1 R ECOMMENDATION : The Federal                                             5.1.1 A CTION I TEM : The training innovation
Government should support the development                                     hubs should develop replicable model programs
of partnerships with training facilities across                               that use adult-based learning and scenario-based
the country to promote consistent standards                                   training in a training environment modeled less
for high quality training and establish training                              like boot camp. Through these programs the hubs
innovation hubs.                                                              would influence nationwide curricula, as well as
                                                                              instructional methodology.
A starting point for changing the culture of polic-
ing is to change the culture of training academies.
The designation of certain training academies as                              5.1.2 A CTION I TEM : The training innovation
federally supported regional “training innovation                             hubs should establish partnerships with academic
hubs” could act as leverage points for changing                               institutions to develop rigorous training practices,
training culture while taking into consideration                              evaluation, and the development of curricula
regional variations. Federal funding would be a                               based on evidence-based practices.
powerful incentive to these designated academies
to conduct the necessary research to develop and                              5.1.3 A CTION I TEM : The Department of
implement the highest quality curricula focused                               Justice should build a stronger relationship with
on the needs of 21st century American policing,                               the International Association of Directors of Law
along with cutting-edge delivery modalities.


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Enforcement (IADLEST) in order to leverage their       5.3 R ECOMMENDATION : Law enforcement
network with state boards and commissions of           agencies should provide leadership training
Peace Officer Standards and Training (POST).           to all personnel throughout their careers.

The POSTs are critical to the development and          Standards and programs need to be established
implementation of statewide training standards         for every level of leadership from the first line to
and the certification of instructors and training      middle management to executive leadership. If
courses, as well as integral to facilitating commu-    there is good leadership and procedural justice
nication, coordination, and influence with the         within the agency, the officers are more likely to
more than 650 police academies across the nation.      behave according to those standards in the com-
This relationship would also serve as a pipeline for   munity. As Chief Edward Flynn of the Milwaukee
disseminating information and creating discussion      Police Department noted, “Flexible, dynamic, in-
around best practices.                                 sightful, ethical leaders are needed to develop the
                                                       informal social control and social capital required
                                                       for a civil society to flourish.”93 One example of
5.2 R ECOMMENDATION : Law enforcement                  leadership training is Leading Police Organizations,
agencies should engage community members               a program developed by the IACP and modeled
in the training process.                               after the West Point Leadership Program, which
Not only can agencies make important contri-           offers training for all levels of agency manage-
butions to the design and implementation of            ment in programs based on a behavioral science
training that reflects the needs and character of      approach to leading people groups, change, and
their communities but it is also important for po-     organizations, focusing on the concept of “every
lice training to be as transparent as possible. This   officer a leader.”
will result in both a better informed public and a
better informed officer.                               5.3.1 A CTION I TEM : Recognizing that
                                                       strong, capable leadership is required to create
Where appropriate and through managed pro-
                                                       cultural transformation, the U.S. Department of
grams, the community would
                                                       Justice should invest in developing learning goals
y learn about and evaluate the existing training       and model curricula/training for each level of
     within departments;                               leadership.
y provide input into shaping that some training
     content and delivery;                             This training should focus on organizational
                                                       procedural justice, community policing, police
y in some cases, participate in training alongside
     officers.                                         accountability, teaching, coaching, mentoring, and
                                                       communicating with the media and the public.
                                                       Chief Kim Jacobs noted this in her testimony
5.2.1 A CTION I TEM : The U.S. Department of
                                                       discussing current issues with training on review-
Justice should conduct research to develop and
                                                       ing investigations of police actions and prepare
disseminate a toolkit on how law enforcement
                                                       comprehensive reports for all stakeholders,
agencies and training programs can integrate
community members into this training process.          93. Listening Session on Training and Education (oral testimony of Edward Flynn,
                                                       chief, Milwaukee Police Department, for the President’s Task Force on 21st Century
                                                       Policing, Phoenix, AZ, February 14, 2015).



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                                                                                          P I L L A R 5 . T R A I N I N G & E D U C AT I O N



including the media and citizens.94 These standards                               engage law enforcement and professionals
should also influence requirements for promotion                                  from multiple disciplines to collaboratively
and continuing/ongoing education should also be                                   identify and protect drug endangered children
required to maintain leadership positions.                                        and their families.95


5.3.2 A CTION I TEM : The Federal Govern-                                         5.4 R ECOMMENDATION : The U.S.
ment should encourage and support partnerships                                    Department of Justice should develop,
between law enforcement and academic                                              in partnership with institutions of higher
institutions to support a culture that values                                     education, a national postgraduate institute
ongoing education and the integration of                                          of policing for senior executives with a
current research into the development of                                          standardized curriculum preparing them to
training, policies, and practices.                                                lead agencies in the 21st century.

                                                                                  To advance American law enforcement, we must
5.3.3 A CTION I TEM : The U.S. Department
                                                                                  advance its leadership. To that end, the task force
of Justice should support and encourage
                                                                                  recommends the establishment of a top quality
cross-discipline leadership training.
                                                                                  graduate institute of policing to provide ongo-
This can be within the criminal justice system                                    ing leadership training, education, and research
but also across governments, nonprofits, and the                                  programs which will enhance the quality of law
private sector, including social services, legal aid,                             enforcement culture, knowledge, skills, practices
businesses, community corrections, education,                                     and policies. Modeled after the Naval Postgrad-
the courts, mental health organizations, civic and                                uate School in Monterey, California, this institute
religious organizations, and others. When people                                  will be staffed with subject matter experts and
come together from different disciplines and                                      instructors drawn from the nation’s top educa-
backgrounds, there is a cross-fertilization of ideas                              tional institutions, who will focus on the real world
that often leads to better solutions. Furthermore,                                problems that challenge today’s and tomorrow’s
by interacting with a more diverse group of pro-                                  law enforcement, teaching practical skills and pro-
fessionals, police can establish a valuable network                               viding the most current information for improving
of contacts whose knowledge and skills differ from                                policing services throughout the nation. This
but complement their own. This opportunity does                                   institute could even, as witness Lawrence Sher-
exist for front-line staff on a variety of specialized                            man proposed, “admit qualified applicants to a
topics but also needs to happen at decision/policy                                three-month residential course for potential police
maker levels. For example, the National Alliance                                  executives, concluding in an assessment center
for Drug Endangered Children is an especially                                     and examination that would certify qualified grad-
appropriate model for the value of cross-discipline                               uates to serve as chief police executives anywhere
training. Their written testimony to the task force                               in the United States.”96
explains how their training approach focuses on                                   95. Listening Session on Training and Education (written testimony of the
                                                                                  National Alliance for Drug Endangered Children for the President’s Task Force on
the formation of community partnerships that                                      21st Century Policing, Phoenix, AZ, February 14, 2015).
                                                                                  96. Listening Session on The Future of Community Policing (oral testimony of
94. Listening Session on Training and Education (oral testimony of Kim Jacobs,    Lawrence Sherman, Wolfson Professor of Criminology, University of Cambridge, and
chief, Columbus [OH] Division of Police, for the President’s Task Force on 21st   Distinguished University Professor, University of Maryland, for the President’s Task
Century Policing, Phoenix, AZ, February 14, 2015).                                Force on 21st Century Policing, Washington, DC, February 24, 2015).



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5.5 R ECOMMENDATION : The U.S.                                                              been found that after completing CIT orientation,
Department of Justice should instruct the                                                   officers felt encouraged to interact with people
Federal Bureau of Investigation to modify                                                   suffering a mental health crisis and to delay their
the curriculum of the National Academy at                                                   “rush to resolution.”99 Dr. Randolph Dupont, Chair
Quantico to include prominent coverage of                                                   of the Department of Criminology and Criminal
the topical areas addressed in this report.                                                 Justice at the University of Memphis, spoke
In addition, the COPS Office and the Office                                                 to the task force about the effectiveness
of Justice Programs should work with law                                                    of the Memphis Crisis Intervention Team (CIT),
enforcement professional organizations to                                                   which stresses verbal intervention and other
encourage modification of their curricula in a                                              de-escalation techniques.
similar fashion.97
                                                                                            Noting that empathy training is an important
The Office of Community Oriented Policing                                                   component, Dr. Dupont said the Memphis CIT
Services (COPS Office) and the Office of Justice                                            includes personal interaction between officers and
Programs (OJP) should work with the law enforce-                                            individuals with mental health problems. Officers
ment professional organizations to encourage                                                who had contact with these individuals felt more
modification of their curricula—for example, the                                            comfortable with them, and hospital mental
Senior Management Institute for Police run by                                               health staff who participated with the officers
PERF and the Police Executive Leadership Institute                                          had more positive views of law enforcement. CIT
managed by the Major Cities Chiefs Association.                                             also provides a unique opportunity to develop
                                                                                            cross-disciplinary training and partnerships.
5.6 R ECOMMENDATION : POSTs should
make Crisis Intervention Training (CIT)                                                     5.6.1 A CTION I TEM : Because of the impor-
a part of both basic recruit and in-service                                                 tance of this issue, Congress should appropriate
officer training.                                                                           funds to help support law enforcement crisis
                                                                                            intervention training.
Crisis intervention training (CIT) was developed in
Memphis, Tennessee, in 1988 and has been shown
to improve police ability to recognize symptoms                                             5.7 R ECOMMENDATION : POSTs should
of a mental health crisis, enhance their confidence                                         ensure that basic officer training includes
in addressing such an emergency, and reduce                                                 lessons to improve social interaction as well as
inaccurate beliefs about mental illness.98 It has                                           tactical skills.

97. Listening Session on Training and Education: Supervisory, Leadership and                These include topics such as critical thinking,
Management Training (oral testimony of Kimberly Jacobs, chief, Columbus [OH]                social intelligence, implicit bias, fair and impartial
Division of Police, for the President’s Task Force on 21st Century Policing, Phoenix, AZ,
                                                                                            policing, historical trauma, and other topics that
February 14, 2015); Listening Session on Training and Education (e-mail of Annie
McKee, senior fellow, University of Pennsylvania, for the President’s Task Force on         address capacity to build trust and legitimacy in
21st Century Policing, Phoenix, AZ, February 13–14, 2015); Listening Session on             diverse communities and offer better skills for
Training and Education (written testimony of Anthony Braga et al. for the President’s
Task Force on 21st Century Policing, Phoenix, AZ, February 13–14, 2015).                    gaining compliance without the use of physical
98. Natalie Bonfine, Christian Ritter, and Mark R. Munetz, “Police Officer
Perceptions of the Impact of Crisis Intervention Team (CIT) Programs,” International        99. Kelly E. Canada, Beth Angell, and Amy C. Watson, “Crisis Intervention Teams in
Journal of Law and Psychiatry 37, no. 4 (July–August 2014): 341–350,                        Chicago: Successes on the Ground,” Journal of Police Crisis Negotiations 10, no. 1–2
doi:10.1016/j.ijlp.2014.02.004.                                                             (2010), 86–100, doi:10.1080/15332581003792070.



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                                                                                     P I L L A R 5 . T R A I N I N G & E D U C AT I O N




Task force member Bryan Stevenson asks a panelist a question, Phoenix, February 13, 2015.                                               PHOTO: DEBORAH SPENCE


force. Basic recruit training must also include tacti-                       The growing understanding of this science has
cal and operations training on lethal and nonlethal                          led to a number of law enforcement agencies
use of force with an emphasis on de-escalation                               equipping officers with overdose-reversal drugs
and tactical retreat skills.                                                 such as naloxone and the passage of legislation in
                                                                             many states that shield any person from civil and
                                                                             criminal liability if they administer naloxone.
5.8 R ECOMMENDATION : POSTs should
ensure that basic recruit and in-service officer                             The Obama Administration’s drug policy reflects
training include curriculum on the disease of                                this understanding and emphasizes access to
addiction.                                                                   treatment over incarceration, pursuing “smart on
It is important that officers be able to recognize                           crime” rather than “tough on crime” approaches to
the signs of addiction and respond accordingly                               drug-related offenses, and support for early health
when they are interacting with people who may                                interventions designed to break the cycle of drug
be impaired as a result of their addiction. Science                          use, crime, incarceration, and re-arrest.100 And the
has demonstrated that addiction is a disease                                 relationship between incarceration and addiction
of the brain—a disease that can be prevented                                 is a significant one. A 2004 survey by the U.S.
and treated and from which people can recover.                               100. A Drug Policy for the 21st Century, July 2014, accessed February 27, 2015,
                                                                             http://www.whitehouse.gov/ondcp/drugpolicyreform.


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Department of Justice estimated that about 70                                       research has shown that “of those involved in traf-
percent of state and 64 percent of federal prison-                                  fic and street stops, a smaller percentage of Blacks
ers regularly used drugs prior to incarceration.101                                 than Whites believed the police behaved properly
                                                                                    during the stop.”103

5.9 R ECOMMENDATION : POSTs should                                                  And in a 2012 survey of LGBTQ/HIV contact with
ensure both basic recruit and in-service                                            police, 25 percent of respondents with any recent
training incorporates content around                                                police contact reported at least one type of
recognizing and confronting implicit bias and                                       misconduct or harassment, such as being accused
cultural responsiveness.                                                            of an offense they did not commit, verbal assault,
As the nation becomes more diverse, it will become                                  being arrested for an offense they did not commit,
increasingly important that police officers be                                      sexual harassment, physical assault, or sexual
sensitive to and tolerant of differences. It is vital that                          assault.104
law enforcement provide training that recognizes
the unique needs and characteristics of minority                                    5.9.1 A CTION I TEM : Law enforcement
communities, whether they are victims or witnesses                                  agencies should implement ongoing, top down
of crimes, subjects of stops, or criminal suspects.                                 training for all officers in cultural diversity and
                                                                                    related topics that can build trust and legitimacy
Keeshan Harley, a young Black man, testified that                                   in diverse communities. This should be accom-
he estimates that he’s been stopped and frisked                                     plished with the assistance of advocacy groups
more than 100 times and that he felt that the                                       that represent the viewpoints of communities that
problem is not just a few individual bad apples,                                    have traditionally had adversarial relationships
but the systemic way policing treats certain                                        with law enforcement.
communities—including low-income and young
people, African Americans, LGBTQ people, the
                                                                                    5.9.2 A CTION I TEM : Law enforcement agen-
homeless, immigrants, and people with psychiatric
                                                                                    cies should implement training for officers that
disabilities. In so doing, police have produced
                                                                                    covers policies for interactions with the LGBTQ
communities of alienation and resentment.102 He is
                                                                                    population, including issues such as determining
arguably not alone in his opinions, given that
                                                                                    gender identity for arrest placement, the Muslim,
                                                                                    Arab, and South Asian communities, and immi-
                                                                                    grant or non-English speaking groups, as well as
                                                                                    reinforcing policies for the prevention of sexual
                                                                                    misconduct and harassment.


101. C. Mumola and J.C. Karberg, Drug Use and Dependence, State and Federal
Prisoners, 2004 (Washington, DC: U.S. Department of Justice, Office of Justice
Programs, Bureau of Justice Statistics, 2007), http://www.bjs.gov/content/pub/
pdf/dudsfp04.pdf.
102. Listening Session on Training and Education: Voices in the Community (oral     103. Langton and Durose, Traffic and Street Stops, 2011 (see note 42).
testimony of Keeshan Harley, member, Communities United for Police Reform,          104. Listening Session on Policy and Oversight (written testimony of Lambda
for the President’s Task Force on 21st Century Policing, Phoenix, AZ, February      Legal for the President’s Task Force on 21st Century Policing, Cincinnati, OH, January
14, 2015); see also Tracey L. Meares, “Programming Errors: Understanding the        30–31, 2015); Lambda Legal, Protected and Served? Survey of LGBT/HIV Contact
Constitutionality of Stop-and-Frisk as a Program, Not an Incident,” University of   with Police, Courts, Prisons, and Security, 2014, accessed February 28, 2015, http://
Chicago Law Review (forthcoming).                                                   www.lambdalegal.org/protected-and-served.

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                                                                                            P I L L A R 5 . T R A I N I N G & E D U C AT I O N



Table 3. College degree requirements for full-time instructors in state and local law enforce-
ment training academies, by type of operating agency, 2006

 Primary operating agency Total percentage of acad-    Percentage of academies                                              Percent of academies
                          emies with a minimum         requiring a 4-year degree                                            requiring a 2-year degree
                          educational requirement that
                          included a college degree
 All types                               19                                         11                                      8
 State Peace Officer Standards           13                                         13                                      0
 and Training
 State police                            11                                         7                                       5
 Sheriff’s office                        2                                          0                                       2
 County police                           5                                          0                                       5
 Municipal police                        7                                          4                                       3
 College/university                      35                                         22                                      13
 Multiagency                             15                                         2                                       13
 Other types                             8                                          8                                       0
Source: Brian A. Reaves, State and Local Law Enforcement Training Academies, 2006, Special Report (Washington, DC: Bureau of Justice Statistics, 2009),
http://www.bjs.gov/content/pub/pdf/slleta06.pdf.


5.10 R ECOMMENDATION : POSTs should                                                 Offering entry level opportunities to recruits
require both basic recruit and in-service                                           without a college degree can be combined with
training on policing in a democratic society.                                       the provision of means to obtain higher education
                                                                                    throughout their career, thereby ensuring the
Police officers are granted a great deal of authority,
                                                                                    benefits of a diverse staff with a well-educated
and it is therefore important that they receive train-
                                                                                    police force and an active learning culture. Current
ing on the constitutional basis of and the proper
                                                                                    student loan programs allow repayment based on
use of that power and authority. Particular focus
                                                                                    income, and some already provide tuition debt
should be placed on ensuring that Terry stops105
                                                                                    forgiveness after 120 months of service in the
are conducted within constitutional guidelines.
                                                                                    government or nonprofit sector.

5.11 R ECOMMENDATION : The Federal                                                  5.11.1 A CTION I TEM : The Federal Gov-
Government, as well as state and local                                              ernment should create a loan repayment and
agencies, should encourage and incentivize                                          forgiveness incentive program specifically for
higher education for law enforcement officers.                                      policing.
While many believe that a higher level of re-
                                                                                    This could be modeled on similar programs that
quired education could raise the quality of officer
                                                                                    already exist for government service and other
performance, law enforcement also benefits from
                                                                                    fields or the reinstitution of funding for programs
a diverse range of officers who bring their cul-
                                                                                    such as the 1960s and 70s Law Enforcement
tures, languages, and life experiences to policing.
                                                                                    Education Program.
105. Terry v. Ohio, 392 U.S. 1 (1968).

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5.12 R ECOMMENDATION : The Federal                       5.13 R ECOMMENDATION : The U.S.
Government should support research into                  Department of Justice should support
the development of technology that                       the development and implementation of
enhances scenario-based training,                        improved Field Training Officer programs.
social interaction skills, and enables
                                                         This is critical in terms of changing officer culture.
the dissemination of interactive distance
                                                         Field Training Officers impart the organizational
learning for law enforcement.
                                                         culture to the newest members. The most com-
This will lead to new modalities that enhance the        mon current program, known as the San Jose
effectiveness of the learning experience, reduce         Model, is more than 40 years old and is not based
instructional costs, and ensure the broad dissem-        on current research knowledge of adult learning
ination of training through platforms that do not        modalities. In many ways it even conflicts with
require time away from agencies.                         innovative training strategies that encourage
                                                         problem-based learning and support organiza-
This would be especially helpful for smaller and         tional procedural justice.
more rural departments who cannot spare the
time for their officers to participate in residential/
                                                         5.13.1 A CTION I TEM : The U.S. Department
in-person training programs. Present day
                                                         of Justice should support the development of
technologies should also be employed more
                                                         broad Field Training Program standards and
often—web-based learning, behavior evaluations
                                                         training strategies that address changing police
through body worn camera videos, software pro-
                                                         culture and organizational procedural justice
grams for independent learning, scenario-based
                                                         issues that agencies can adopt and customize to
instruction through videos, and other methods.
                                                         local needs.
This can also increase access to evidence-based
research and other sources of knowledge.                 A potential model for this is the Police Training
                                                         Officer program developed by the COPS Office in
                                                         collaboration with PERF and the Reno (Nevada)
                                                         Police Department. This problem-based learning
                                                         strategy used adult learning theory and problem
                                                         solving tools to encourage new officers to
                                                         think with a proactive mindset, enabling the
                                                         identification of and solution to problems
                                                         within their communities.


                                                         5.13.2 A CTION I TEM : The U.S. Department
                                                         of Justice should provide funding to incentivize
                                                         agencies to update their Field Training Programs
                                                         in accordance with the new standards.




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PILLAR 6. OFFICER WELLNESS &
SAFETY
The wellness and safety of law enforcement officers is critical not
only to themselves, their colleagues, and their agencies but also to
public safety.
Most law enforcement officers walk into risky                                         Commenting on the irony of law enforcement’s
situations and encounter tragedy on a regular basis.                                  lack of services and practices to support wellness
Some, such as the police who responded to the                                         and safety, Dr. Laurence Miller observed in his
carnage of Sandy Hook Elementary School, witness                                      testimony that supervisors would not allow an of-
horror that stays with them for the rest of their lives.                              ficer to go on patrol with a deficiently maintained
Others are physically injured in carrying out their du-                               vehicle, an un-serviced duty weapon, or a mal-
ties, sometimes needlessly, through mistakes made                                     functioning radio—but pay little attention to the
in high stress situations. The recent notable deaths                                  maintenance of what is all officers’ most valuable
of officers are stark reminders of the risk officers face.                            resource: their brains.107
As a result, physical, mental, and emotional injuries
plague many law enforcement agencies.                                                 Officer suicide is also a problem: a national study
                                                                                      using data of the National Occupational Mortality
However, a large proportion of officer injuries and                                   Surveillance found that police died from suicide
deaths are not the result of interaction with crim-                                   2.4 times as often as from homicides. And though
inal offenders but the outcome of poor physical                                       depression resulting from traumatic experiences
health due to poor nutrition, lack of exercise, sleep                                 is often the cause, routine work and life stress-
deprivation, and substance abuse. Yet these caus-                                     ors—serving hostile communities, working long
es are often overlooked or given scant attention.                                     shifts, lack of family or departmental support—are
Many other injuries and fatalities are the result of                                  frequent motivators too.
vehicular accidents.
                                                                                      In this pillar, the task force focused on many of
The wellness and safety of law enforcement                                            the issues that impact and are impacted by officer
officers is critical not only to themselves, their                                    wellness and safety, focusing on strategies in
colleagues, and their agencies but also to public                                     several areas: physical, mental, and emotional
safety. An officer whose capabilities, judgment,                                      health; vehicular accidents; officer suicide; shoot-
and behavior are adversely affected by poor                                           ings and assaults; and the partnerships with social
physical or psychological health not only may be                                      services, unions, and other organizations that can
of little use to the community he or she serves but                                   support solutions.
also may be a danger to the community and to
other officers. As task force member Tracey Meares
observed, “Hurt people can hurt people.”106
106. Listening Session on Officer Safety and Wellness (comment of Tracey              107. Listening Session on Officer Safety and Wellness (oral testimony of Laurence
Meares, task force member, for the President’s Task Force on 21st Century Policing,   Miller, psychologist, for the President’s Task Force on 21st Century Policing,
Washington, DC, February 23, 2015).                                                   Washington, DC, February 23, 2015).


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Physical injuries and death in the line of duty,                                         Poor nutrition and fitness are also serious threats, as
while declining, are still too high. According to                                        is sleep deprivation. Many errors in judgment can
estimates of U.S. Bureau of Labor Statistics, more                                       be traced to fatigue, which also makes it harder to
than 100,000 law enforcement professionals                                               connect with people and control emotions. But ad-
are injured in the line of duty each year. Many                                          ministrative changes such as reducing work shifts
are the result of assaults, which underscores                                            can improve officer’s feelings of well-being, and
the need for body armor, but most are due to                                             the implementation of mental health strategies
vehicular accidents.                                                                     can lessen the impact of the stress and trauma.

To protect against assaults, Orange County (Flori-                                       However, the most important factor to consid-
da) Sheriff Jerry Demings talked about immersing                                         er when discussing wellness and safety is the
new officers in simulation training that realistically                                   culture of law enforcement, which needs to be
depicts what they are going to face in the real                                          transformed. Support for wellness and safety
world. “I subscribe to an edict that there is no sub-                                    should permeate all practices and be expressed
stitute for training and experience . . . deaths and                                     through changes in procedures, requirements,
injuries can be prevented through training that is                                       attitudes, and behaviors. An agency work envi-
both realistic and repetitive.”108                                                       ronment in which officers do not feel they are
                                                                                         respected, supported, or treated fairly is one of
But to design effective training first requires col-                                     the most common sources of stress. And research
lecting substantially more information about the                                         indicates that officers who feel respected by their
nature of injuries sustained by officers on the job.                                     supervisors are more likely to accept and volun-
Dr. Alexander Eastman’s testimony noted that the                                         tarily comply with departmental policies. This
field of emergency medicine involves the analysis                                        transformation should also overturn the tradition
of vast amounts of data with regard to injuries in                                       of silence on psychological problems, encourag-
order to improve prevention as well as treatment.                                        ing officers to seek help without concern about
     In order to make the job of policing more safe, a                                   negative consequences.
     nationwide repository for [law enforcement officer]
                                                                                         Partnerships are another crucial element. An agen-
     injuries sustained is desperately needed. A robust
                                                                                         cy cannot successfully tackle these issues without
     database of this nature, analyzed by medical providers
                                                                                         partners such as industrial hygienists, chaplains,
     and scientists involved in law enforcement, would
                                                                                         unions, and mental health providers. But no
     allow for recommendations in tactics, training,
                                                                                         program can succeed without buy-in from agency
     equipment, medical care and even policies/procedures
                                                                                         leadership as well as the rank and file.
     that are grounded in that interface between scientific
     evidence, best medical practice, and sound policing.109                             The “bulletproof cop” does not exist. The officers
                                                                                         who protect us must also be protected—against
                                                                                         incapacitating physical, mental, and emotional
108. Listening Session on Officer Safety and Wellness: Officer Safety (oral              health problems as well as against the hazards of
testimony of Jerry Demings, sheriff, Orange County, FL, for the President’s Task Force
                                                                                         their job. Their wellness and safety are crucial for
on 21st Century Policing, Washington, DC, February 23, 2015).
109. Listening Session on Officer Safety and Wellness: Officer Safety (oral              them, their colleagues, and their agencies, as well
testimony of Dr. Alexander Eastman, lieutenant and deputy medical director,              as the well-being of the communities they serve.
Dallas Police Department, for the President’s Task Force on 21st Century Policing,
Washington, DC, February 23, 2015).



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                                                                          PILLAR 6. OFFICER WELLNESS & SAFETY




Elliot Cohen of the Maryland State Police speaks about technology usage while Madhu Grewal of the Constitution Project waits her turn to testify,
Cincinnati, January 31, 2015.                                                                                                      PHOTO: DEBORAH SPENCE



6.1 R ECOMMENDATION : The U.S.                                                6.1.2 A CTION I TEM : The U.S. Department of
Department of Justice should enhance and                                      Justice, in partnership with the U.S. Department
further promote its multi-faceted officer                                     of Health and Human Services, should establish a
safety and wellness initiative.                                               task force to study mental health issues unique to
                                                                              officers and recommend tailored treatments.
As noted by all task force members during the lis-
tening session, officer wellness and safety supports                          Law enforcement officers are subject to more
public safety. Officers who are mentally or physically                        stress than the general population owing to the
incapacitated cannot serve their communities                                  nature of their jobs. In addition to working with
adequately and can be a danger to the people they                             difficult—even hostile—individuals, responding
serve, to their fellow officers, and to themselves.                           to tragic events, and sometimes coming under fire
                                                                              themselves, they suffer from the effects of everyday
6.1.1 A CTION I TEM : Congress should estab-                                  stressors—the most acute of which often come
lish and fund a national “Blue Alert” warning system.                         from their agencies, because of confusing messages
                                                                              or non-supportive management; and their families,
Leveraging the current Amber Alert program used                               who do not fully understand the pressures the offi-
to locate abducted children, the Blue Alert would                             cers face on the job. And as witness Laurence Miller
enlist the help of the public in finding suspects                             said, “When both work and family relations fray, the
after a law enforcement officer is killed in the line                         individual’s coping abilities can be stretched to the
of duty. Some similar state systems do exist, but                             limit, resulting in alcohol abuse, domestic violence,
there are large gaps; a national system is needed.                            overaggressive policing, even suicide.”110
In addition to aiding the apprehension of suspects,
it would send a message about the importance of                               110. Listening Session on Officer Safety and Wellness (oral testimony of Laurence
protecting law enforcement from undue harm.                                   Miller, psychologist, for the President’s Task Force on 21st Century Policing,
                                                                              Washington, DC, February 23, 2015).



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To add to the problems of those suffering from             to those of the veteran who has spent the last five
psychological distress, law enforcement culture            years sitting in a squad car. Many health prob-
has not historically supported efforts to treat or         lems—notably cardiac issues—are cumulative.
even acknowledged mental health problems,
which are usually seen as a sign of “weakness.”            6.1.4 A CTION I TEM : Pension plans should
The challenges and treatments of mental health             recognize fitness for duty examinations as definitive
issues should therefore be viewed within the               evidence of valid duty or non-duty related disability.
context of law enforcement’s unique culture and
working environment.                                       Officers who have been injured in the line of
                                                           duty can exist in limbo, without pay, unable to
This task force should also look to establish a na-        work but also unable to get benefits because
tional toll-free mental health hotline specifically for    the “fitness for duty” examinations given by their
police officers. This would be a fast, easy, and confi-    agencies are not recognized as valid proof of
dential way for officers to get advice whenever they       disability. And since officers, as public servants,
needed to; and because they would be anonymous,            cannot receive social security, they can end up in
officers would be more likely to take advantage of         a precarious financial state.
this resource. Since nobody understands the chal-
lenges an officer faces like another officer, it should
                                                           6.1.5 A CTION I TEM : Public Safety Officer
be peer driven—anonymously connecting callers
                                                           Benefits (PSOB) should be provided to survivors of
to officers who are not in the same agency and who
                                                           officers killed while working, regardless of wheth-
could refer the caller to professional help if needed.
                                                           er the officer used safety equipment (seatbelt or
An advisory board should be formed to guide the
                                                           anti-ballistic vest) or if officer death was the result
creation of this hotline service.
                                                           of suicide attributed to a current diagnosis of
                                                           duty-related mental illness, including but not
6.1.3 A CTION I TEM : The Federal Govern-                  limited to post-traumatic stress disorder (PTSD).
ment should support the continuing research into
the efficacy of an annual mental health check for          Families should not be penalized because an offi-
officers, as well as fitness, resilience, and nutrition.   cer died in the line of duty but was not wearing a
                                                           seat belt or body armor. Though these precautions
Currently, most mental health checks are ordered           are very important and strongly encouraged, there
as interventions for anger management or sub-              are occasions when officers can be more effective
stance abuse and are ordered reactively after an           without them.111
incident. Mental health checks need to be more
frequent to prevent problems. Because officers are         A couple of situations were mentioned by task
exposed to a wide range of stressors on a continu-         force member Sean Smoot, who described the
ous basis as part of their daily routines, mental and      efforts of an officer who took off his seat belt to
physical health check-ups should be conducted              tend to the injuries of a victim in the back of the
on an ongoing basis. Furthermore, officer nutrition        car as his partner sped to the hospital. Another
and fitness issues change with time, varying wide-
                                                           111. Listening Session on Officer Safety and Wellness: Voices from the Field (oral
ly from those of the new academy graduate                  testimony of William Johnson, executive director, National Association of Police
                                                           Organizations, for the President’s Task Force on 21st Century Policing, Washington,
                                                           DC, February 23, 2015).



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                                                                                      PILLAR 6. OFFICER WELLNESS & SAFETY



scenario he mentioned was the rescue of a drown-                                       Though legislation and funding from the Federal
ing woman by an officer who shed his heavy                                             Government is necessary in some cases, most of
body armor to go into the water. Charles Ramsey,                                       the policies, programs, and practices recommended
task force co-chair, also noted that these types                                       by the task force can and should be implemented
of situations could be further mitigated by the                                        at the local level. It is understood, however, that
invention of seatbelts that officers could quickly                                     there are no “one size fits all” solutions and that
release without getting tangled on their belts,                                        implementation will vary according to agency size,
badges, and radios, as well as body armor that is                                      location, resources, and other factors.
lighter and more comfortable.

                                                                                       6.3 R ECOMMENDATION : The U.S.
6.2 R ECOMMENDATION : Law enforcement                                                  Department of Justice should encourage and
agencies should promote safety and wellness                                            assist departments in the implementation of
at every level of the organization.                                                    scientifically supported shift lengths by law
                                                                                       enforcement.
Safety and wellness issues affect all law en-
forcement professionals, regardless of their                                           It has been established by significant bodies of
management status, duty, or tenure. Moreover,                                          research that long shifts can not only cause fa-
line officers are more likely to adopt procedures                                      tigue, stress, and decreased ability to concentrate
or change practices if they are advised to do so                                       but also lead to other more serious consequenc-
by managers who also model the behavior they                                           es.113 Fatigue and stress undermine not only the
encourage. According to witness David Orr, buy-in                                      immune system but also the ability to work at full
from the leaders as well as the rank and file is                                       capacity, make decisions, and maintain emotional
essential to the success of any program.112                                            equilibrium. Though long shifts are understand-
                                                                                       able in the case of emergencies, as a standard
6.2.1 A CTION I TEM : Though the Fed-                                                  practice they can lead to poor morale, poor job
eral Government can support many of the                                                performance, irritability, and errors in judgment
programs and best practices identified by the                                          that can have serious, even deadly, consequences.
U.S. Department of Justice initiative described in
recommendation 6.1, the ultimate responsibility                                        6.3.1 A CTION I TEM : The U.S. Department of
lies with each agency.                                                                 Justice should fund additional research into the
                                                                                       efficacy of limiting the total number of hours an
                                                                                       officer should work within a 24–48-hour period,
                                                                                       including special findings on the maximum num-
                                                                                       ber of hours an officer should work in a high risk
                                                                                       or high stress environment (e.g., public demon-
                                                                                       strations or emergency situations).


                                                                                       113. Bryan Vila, Tired Cops: The Importance of Managing Police Fatigue,
                                                                                       (Washington, DC: Police Executive Research Forum, 2000); Mora L. Fiedler,
112. Listening Session on Officer Safety and Wellness (oral testimony of David Orr,    Officer Safety and Wellness: An Overview of the Issues (Washington, DC: Office of
sergeant, Norwalk [CT] Police Department, to the President’s Task Force on 21st        Community Oriented Policing Services, 2011), 4, http://cops.usdoj.gov/pdf/OSWG/
Century Policing, Washington, DC, February 23, 2015).                                  e091120401-OSWGReport.pdf.



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Christina Brown of Black Lives Matter Cincinnati speaks about mass demonstrations while Superintendent Garry McCarthy of the Chicago Police
Department looks on, Cincinnati, January 30, 2015.                                                                               PHOTO: DEBORAH SPENCE


6.4 R ECOMMENDATION : Every law                                                         to integrate rescue/emergency medical services
enforcement officer should be provided with                                             personnel into community-wide active shooter
individual tactical first aid kits and training as                                      preparedness and training. These activities
well as anti-ballistic vests.                                                           would complement the current “Save Our
                                                                                        Own” law enforcement-based hemorrhage
Task force witness Dr. Alexander Eastman, who is
                                                                                        control programs.115
a trauma surgeon as well as a law enforcement
professional, noted that tactical first aid kits would                                  To further reduce officer deaths, the task force also
significantly reduce the loss of both officer and                                       strongly recommends the provision of body armor
civilian lives due to blood loss. Already available                                     to all officers with replacements when necessary.
to members of the military engaged in combat
missions, these kits are designed to save lives by
                                                                                        6.4.1 A CTION I TEM : Congress should
controlling hemorrhaging. They contain tourni-
                                                                                        authorize funding for the distribution of law
quets, an Olaes modular bandage, and QuikClot
                                                                                        enforcement individual tactical first aid kits.
gauze and would be provided along with training in
hemorrhage control. Dr. Eastman estimated that the
kits could cost less than $50 each and require about
                                                                                        6.4.2 A CTION I TEM : Congress should
                                                                                        reauthorize and expand the Bulletproof Vest
two hours of training, which could be provided
                                                                                        Partnership (BVP) program.
through officers who have completed “train the
trainer” programs.114                                                                   Created by statute in 1998, this program is a
                                                                                        unique U.S. Department of Justice initiative
This would be a national adoption of the Hartford
                                                                                        designed to provide a critical resource to state and
Consensus, which calls for agencies to adopt hem-
                                                                                        local law enforcement. Based on data collected
orrhage control as a core law enforcement skill and
                                                                                        and recorded by Bureau of Justice Assistance staff,
114. Listening Session on Officer Safety and Wellness: Officer Safety (oral testimony
of Dr. Alexander Eastman, lieutenant and deputy medical director, Dallas Police         115. M. Jacobs Lenworth, Jr., “Joint Committee to Create a National Policy to
Department, for the President’s Task Force on 21st Century Policing, Washington,        Enhance Survivability from Mass Casualty Shooting Events: Hartford Consensus II,”
DC, February 23, 2015).                                                                 Journal of the American College of Surgeons 218, no. 3 (March 2014): 476–478.


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                                                                                   PILLAR 6. OFFICER WELLNESS & SAFETY



in FY 2012 protective vests were directly attributed                                suggests in-car cameras and seat belt sensors
to saving the lives of at least 33 law enforcement                                  to encourage use along with aggressive safety
and corrections officers.                                                           campaigns. Some witnesses endorsed mandatory
                                                                                    seat belt policies as well.

6.5 R ECOMMENDATION : The U.S.                                                      The Prince George’s County (Maryland) Arrive Alive
Department of Justice should expand efforts                                         Campaign initiated by task force witness Chief
to collect and analyze data not only on officer                                     Mark Magraw to promote 100 percent seat belt
deaths but also on injuries and “near misses.”                                      usage relied on incentives and peer pressure for
Another recommendation mentioned by multiple                                        success. The message was, “it is not just about you,
witnesses is the establishment of a nationwide                                      it is also about your family and your department.”118
repository of data on law enforcement injuries,
                                                                                    There were also many calls for mandatory
deaths, and near misses. Though the Federal
                                                                                    requirements that all officers wear soft body
Bureau of Investigation (FBI) does maintain a
                                                                                    armor any time they are going to be engaging
database of information pertinent to police
                                                                                    in enforcement activities, uniformed or not. It
procedures on officers killed in the line of duty, it
                                                                                    was also suggested that law enforcement
does not contain the medical details that could
                                                                                    agencies be required to provide these for
be analyzed by medical providers and scientists to
                                                                                    all commissioned personnel.
improve medical care, tactics, training, equipment,
and procedures that would prevent or reduce
injuries and save lives. The Police Foundation, with                                6.7 R ECOMMENDATION : Congress
the support of a number of other law enforce-                                       should develop and enact peer review error
ment organizations, launched an online Law                                          management legislation.
Enforcement Near Miss Reporting System in late                                      The task force recommends that Congress enact
2014, but it is limited in its ability to systematically                            legislation similar to the Healthcare Quality
analyze national trends in this important data by                                   Improvement Act of 1986119 that would support
its voluntary nature.116                                                            the development of an effective peer review error
                                                                                    management system for law enforcement similar
6.6 R ECOMMENDATION : Law enforcement                                               to what exists in medicine. A robust but nonpuni-
agencies should adopt policies that require                                         tive peer review error management program—in
officers to wear seat belts and bullet-proof                                        which law enforcement officers could openly and
vests and provide training to raise awareness                                       frankly discuss their own or others’ mistakes or
of the consequences of failure to do so.
                                                                                    Task Force on 21st Century Policing, Washington, DC, February 23, 2015).
According to task force witness Craig Floyd, traffic                                118. Listening Session on Officer Safety and Wellness (oral testimony of Mark
                                                                                    Magraw, chief, Prince Georges County [MD] Police Department, for the President’s
accidents have been the number one cause of                                         Task Force on 21st Century Policing, Washington, DC, February 23, 2015).
officer fatalities in recent years, and nearly half of                              119. The Health Care Quality Improvement Act of 1986 (HCQIA), 42 USC §11101
those officers were not wearing seat belts.117 He                                   et seq., sets out standards for professional review actions. If a professional review
                                                                                    body meets these standards, then neither the professional review body nor any
116. Deborah L. Spence, “One on One with LEO Near Miss,” Community Policing         person acting as a member or staff to the body will be liable in damages under
Dispatch 8, no. 2 (February 2015), http://cops.usdoj.gov/html/dispatch/02-2015/     most federal or state laws with respect to the action. For more information, see
leo_near_miss.asp.                                                                  “Medical Peer Review,” American Medical Association, accessed February 28, 2015,
117. Listening Session on Officer Safety and Wellness (oral testimony of Craig      http://www.ama-assn.org/ama/pub/physician-resources/legal-topics/medical-
Floyd, National Law Enforcement Officer Memorial Foundation, for the President’s    peer-review.page.


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near misses without fear of legal repercussions—                                  6.8 R ECOMMENDATION : The U.S.
would go a long way toward reducing injuries and                                  Department of Transportation should
fatalities by improving tactics, policies, and proce-                             provide technical assistance opportunities for
dures. Protecting peer review error management                                    departments to explore the use of vehicles
findings from being used in legal discovery would                                 equipped with vehicle collision prevention
enable the widespread adoption of this program                                    “smart car” technology that will reduce the
by law enforcement.                                                               number of accidents.

The Near Miss anonymous reporting system de-                                      Given that the FBI’s 2003 to 2012 Law Enforcement
veloped by the Police Foundation in Washington,                                   Officers Killed in Action report showed that
D.C., currently collects anonymous data that can                                  49 percent of officer fatalities were a result of
be very helpful in learning from and preventing                                   vehicle-related accidents, the need for protective
mistakes, fatalities, and injuries—but a program                                  devices cannot be understated. New technologies
that enabled peer review of errors would provide                                  such as vehicle collision prevention systems should
even more valuable perspectives and solutions.                                    be explored.


Figure 3. Total law enforcement fatalities from 1964–2014




Source: “126 Law Enforcement Fatalities Nationwide in 2014,” Preliminary 2014 Law Enforcement Officer Fatalities Report (Washington, DC: National Law
Enforcement Officers Memorial Fund, December 2014), http://www.nleomf.org/assets/pdfs/reports/Preliminary-2014-Officer-Fatalities-Report.pdf.




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I M P L E M E N TAT I O N
The members of the President’s Task Force on         For recommendation 7.3, the COPS Office should
21st Century Policing are convinced that these 59    consider taking actions including but not limited
concrete recommendations for research, action,       to the following:
and further study will bring long-term improve-
                                                     y Create a National Policing Practices and
ments to the ways in which law enforcement              Accountability Division within the COPS Office.
agencies interact with and bring positive change
                                                     y Establish national benchmarks and best
to their communities. But we also recognize that        practices for federal, state, local, and tribal
the Administration, through policies and practices      police departments.
already in place, can start right now to move
                                                     y Provide technical assistance and funding to
forward on the bedrock recommendations in this          national, state, local, and tribal accreditation
report. Accordingly, we propose the following           bodies that evaluate policing practices.
items for immediate action.                          y Recommend additional benchmarks
                                                        and best practices for state training and
                                                        standards boards.
7.1 R ECOMMENDATION : The President
should direct all federal law enforcement            y Provide technical assistance and funding
                                                        to state training boards to help them meet
agencies to review the recommendations                  national benchmarks and best practices in
made by the Task Force on 21st Century                  training methodologies and content.
Policing and, to the extent practicable, to
                                                     y Prioritize grant funding to departments
adopt those that can be implemented at the              meeting benchmarks.
federal level.
                                                     y Support departments through an expansion of
                                                        the COPS Office Collaborative Reform Initiative.
7.2 R ECOMMENDATION : The U.S.                       y Collaborate with universities, the Office of
Department of Justice should explore                    Justice Programs and its bureaus (Bureau of
public-private partnership opportunities,               Justice Assistance [BJA], Bureau of Justice
                                                        Statistics [BJS], National Institute of Justice
starting by convening a meeting with local,
                                                        [NIJ], and Office of Juvenile Justice and
regional, and national foundations to discuss           Delinquency Prevention [OJJDP]), and others
the proposals for reform described in this              to review research and literature in order
report and seeking their engagement and                 to inform law enforcement agencies about
                                                        evidence-based practices and to identify areas
support in advancing implementation of
                                                        of police operations where additional research
these recommendations.                                  is needed.
                                                     y Collaborate with the BJS to
7.3 R ECOMMENDATION : The U.S.
                                                             establish a central repository for data
Department of Justice should charge its                       concerning police use of force resulting
Office of Community Oriented Policing                         in death, as well as in-custody deaths,
Services (COPS Office) with assisting the law                 and disseminate this data for use by both
enforcement field in addressing current and                   community and police;
future challenges.



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                                                                                          PHOTO: BRANDON TRAMEL

         provide local agencies with technical      y Collaborate with the NIJ and the BJS to publish
          assistance and a template to conduct          an annual report on the “State of Policing” in
          local citizen satisfaction surveys;           the United States.

         compile annual citizen satisfaction        y Provide support to national police
          surveys based on the submission of            leadership associations and national rank
          voluntary local surveys, develop a            and file organizations to encourage them to
          national level survey as well as surveys      implement task force recommendations.
          for use by local agencies and by small     y Work with the U.S. Department of Homeland
          geographic units, and develop questions       Security to ensure that community
          to be added to the National Crime             policing tactics in state, local, and tribal law
          Victimization Survey relating to citizen      enforcement agencies are incorporated into
          satisfaction with police agencies and         their role in homeland security.
          public trust.

y Collaborate with the BJS and others to
     develop a template of broader indicators of
     performance for police departments beyond
     crime rates alone that could comprise a
     Uniform Justice Report.




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APPENDIX A. PUBLIC LISTENING
SESSIONS & WITNESSES
The President’s Task Force on 21st Century                          Panel Four: Civil Rights / Civil Liberties
Policing hosted multiple public listening sessions                  Sherrilyn Ifill, President and Director-Counsel, National Associ-
to gain broad input and expertise from stakehold-                     ation for the Advancement of Colored People Legal Defense and
ers. The information collected in these meetings                      Educational Fund
informed and advised the task force in developing                   Maria Teresa Kumar, President and CEO, Voto Latino
its recommendations.                                                Laura Murphy, Director, Washington Legislative Office, American
                                                                      Civil Liberties Union
                                                                    Vikrant Reddy, Senior Policy Analyst, Texas Public Policy Founda-
Listening Session 1. Building                                         tion Center for Effective Justice
Trust & Legitimacy
                                                                    Panel Five: Mayors
Washington, D.C., January 13, 2015                                  Kevin Johnson, Sacramento
Panel One: Subject Matter Experts                                   Michael Nutter, Philadelphia
Jennifer Eberhardt, Associate Professor of Psychology,              Stephanie Rawlings-Blake, Baltimore
  Stanford University
Charles Ogletree, Jesse Climenko Professor of Law, Harvard          Listening Session 2. Policy
  Law School
                                                                    & Oversight
Tom Tyler, Macklin Fleming Professor of Law and Professor of
  Psychology, Yale Law School                                       Cincinnati, Ohio, January 30, 2015
Samuel Walker, Emeritus Professor of Criminal Justice, University   Panel One: Use of Force Research and
  of Nebraska Omaha                                                 Policies
Panel Two: Community Representatives                                Geoffrey Alpert, Professor, University of South Carolina
Carmen Perez, Executive Director, The Gathering for Justice         Mick McHale, President, National Association of
Jim St. Germain, Co-Founder, Preparing Leaders of                    Police Organizations
  Tomorrow, Inc.                                                    Harold Medlock, Chief, Fayetteville (North Carolina)
Jim Winkler, President and General Secretary, National                Police Department
  Council of Churches of Christ in the USA                          Rashad Robinson, Executive Director, Color of Change
Panel Three: Law Enforcement                                        Panel Two: Use of Force Investigations
Organizations                                                       and Oversight
Richard Beary, President, International Association of Chiefs       Sim Gill, District Attorney, Salt Lake County, Utah
  of Police                                                         Jay McDonald, President, Fraternal Order of Police of Ohio
Chuck Canterbury, National President, Fraternal Order of Police     Kirk Primas, Assistant Sheriff, Las Vegas Metropolitan
Andrew Peralta, National President, National Latino Peace             Police Department
  Officers Association                                              Chuck Wexler, Executive Director, Police Executive Research Forum
Richard Stanek, Immediate Past President, Major County
  Sheriffs’ Association




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Panel Three: Civilian Oversight                                     Kenton Rainey, Chief, Bay Area Rapid Transit, San Francisco
Charlie Beck, Chief, Los Angeles Police Department                  Richard Van Houten, Sergeant, Fort Worth (Texas) Police
Brian Buchner, President, National Association for Civilian           Officers Association
  Oversight of Law Enforcement                                      Panel Three: Technology Policy
Darius Charney, Senior Staff Attorney, Center for                   Eliot Cohen, Lieutenant, Maryland State Police
  Constitutional Rights
                                                                    Madhu Grewal, Policy Counsel, The Constitution Project
Panel Four: Mass Demonstrations                                     Bill Schrier, Senior Policy Advisor, Office of the Chief Information
Christina Brown, Founding Organizer, Black Lives                      Officer, State of Washington
  Matter: Cincinnati                                                Vincent Talucci, Executive Director / Chief Executive Officer,
Garry McCarthy, Superintendent, Chicago Police Department             International Association of Chiefs of Police
Rodney Monroe, Chief, Charlotte-Mecklenburg (North Carolina)        Panel Four: Social Media, Community
  Police Department                                                 Digital Engagement and Collaboration
Sean Whent, Chief, Oakland (California) Police Department           Hassan Aden, Director, Research and Programs, International
Panel Five: Law Enforcement Culture                                   Association of Chiefs of Police
and Diversity                                                       DeRay McKesson, This is the Movement
Malik Aziz, National Chairman, National Black Police Association    Steve Spiker, Research and Technology Director, Urban
Hayley Gorenberg, Deputy Legal Director, Lambda Legal                 Strategies Council

Kathy Harrell, President, Fraternal Order of Police, Queen City     Lauri Stevens, Founder and Principal Consultant,
  Lodge #69, Cincinnati, Ohio                                         LAwS Communications

Barbara O’Connor, President, National Association of Women
  Law Enforcement Executives                                        Listening Session 4. Community
                                                                    Policing & Crime Reduction
Listening Session 3. Technology                                     Phoenix, Arizona, February 13, 2015
& Social Media                                                      Panel One: Community Policing and
Cincinnati, Ohio, January 31, 2015                                  Crime Prevention Research
Panel One: Body Cameras—Research                                    Bill Geller, Director, Geller & Associates
and Legal Considerations                                            Dr. Delores Jones-Brown, Professor, John Jay College of
Jim Bueermann, President, Police Foundation                           Criminal Justice, City University of New York

Scott Greenwood, Attorney                                           Dr. Dennis Rosenbaum, Professor, University of Illinois
                                                                      at Chicago
Tracie Keesee, Co-Founder and Director of Research Partnerships,
  Center for Policing Equity                                        Dr. Wesley G. Skogan, Professor, Northwestern University

Bill Lewinski, Founder and Director, Force Science Institute        Panel Two: Building Community
Michael White, Professor, School of Criminology and Criminal        Policing Organizations
 Justice, Arizona State University                                  Anthony Batts, Police Commissioner, Baltimore
                                                                      Police Department
Panel Two: Body Cameras—Implemen-
                                                                    Jeffrey Blackwell, Chief, Cincinnati (Ohio) Police Department
tation
Johanna Miller, Advocacy Director, New York Civil Liberties Union   Chris Magnus, Chief, Richmond (California) Police Department

Ken Miller, Chief, Greenville (South Carolina) Police Department    Patrick Melvin, Chief, Salt River Police Department (Salt River
                                                                      Pima-Maricopa Indian Community)



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                                                                                                                   APPENDIX A



Panel Three: Using Community Policing Dr. Steven Winegar, Coordinator, Public Safety Leadership
to Reduce Crime                         Development, Oregon Department of Public Safety Standards
                                                                      and Training
Kevin Bethel, Deputy Police Commissioner, Philadelphia
  Police Department                                                 Panel Two: In-Service Training
Melissa Jones, Senior Program Officer, Boston’s Local Initiatives   Dr. Scott Decker, Professor, Arizona State University
 Support Corporation                                                Aaron Danielson, President, Public Safety Employee Association/
David Kennedy, Professor, John Jay College of Criminal Justice,       AFSCME Local 803, Fairbanks, Alaska
  City University of New York                                       Dr. Cheryl May, Director, Criminal Justice Institute and National
J. Scott Thomson, Chief, Camden County (New Jersey)                   Center for Rural Law Enforcement
   Police Department                                                John Ortolano, President, Arizona Fraternal Order of Police
George Turner, Chief, Atlanta Police Department                     Gary Schofield, Deputy Chief, Las Vegas Metropolitan
Panel Four: Using Community Policing                                  Police Department
to Restore Trust                                                    Panel Three: Supervisory, Leadership
Rev. Jeff Brown, Rebuilding Every City Around Peace                 and Management Training
Dwayne Crawford, Executive Director, National Organization of       Edward Flynn, Chief, Milwaukee (Wisconsin) Police Department
 Black Law Enforcement Executives                                   Sandra Hutchens, Sheriff, Orange County (California)
Justin Hansford, Assistant Professor of Law, Saint Louis              Sheriff’s Department
  University School of Law                                          Kimberly Jacobs, Chief, Columbus (Ohio) Division of Police
Cecil Smith, Chief, Sanford (Florida) Police Department             John Layton, Sheriff, Marion County (Indiana) Sheriff’s Office
Panel Five: Youth and Law Enforcement                               Dr. Ellen Scrivner, Executive Fellow, Police Foundation
Delilah Coleman, Member, Navajo Nation (Senior at Flagstaff         Panel Four: Voices in the Community
 High School)
                                                                    Allie Bones, MSW, Chief Executive Officer, Arizona Coalition to End
Jose Gonzales, Alumnus, Foster Care and Crossover Youth               Sexual and Domestic Violence
Jamecia Luckey, Youth Conference Committee Member, Cocoa            Renaldo Fowler, Senior Staff Advocate, Arizona Center for
  (Florida) Police Athletic League                                    Disability Law
Nicholas Peart, Staff Member, The Brotherhood-Sister Sol (Class     Keeshan Harley, Member, Communities United for Police Reform
  Member, Floyd, et al. v. City of New York, et al.)
                                                                    Andrea Ritchie, Senior Policy Counsel, Streetwise and Safe
Michael Reynolds, Co-President, Youth Power Movement
                                                                    Linda Sarsour, Executive Director, Arab American Association of
                                                                      New York
Listening Session 5. Training
                                                                    Panel Five: Special Training on Building
& Education
                                                                    Trust
Phoenix, Arizona, February 14, 2015                                 Lt. Sandra Brown (retired), Principal Trainer, Fair and
Panel One: Basic Recruit Academy                                      Impartial Policing
Arlen Ciechanowski, President, International Association of         Dr. Randolph Dupont, Professor and Clinical Psychologist,
  Directors of Law Enforcement Standards and Training                 University of Memphis
William J. Johnson, Executive Director, National Association of     David C. Friedman, Regional Director of National Law
 Police Organizations                                                 Enforcement Initiatives, Anti-Defamation League
Benjamin B. Tucker, First Deputy Commissioner, New York City        Lt. Bruce Lipman (retired), Procedural Justice /Police Legitimacy
  Police Department                                                   Training
                                                                    Dr. Ronal Serpas, Advisory Board Member, Cure Violence Chicago


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Listening Session 6. Officer Safety                                   Jonathan Thompson, Executive Director, National
                                                                        Sheriffs’ Association
& Wellness
                                                                      Panel Four: Labor/Management
Washington, D.C., February 23, 2015
                                                                      Relations
Panel One: Officer Wellness                                           Dr. Chuck Wexler, Executive Director, Police Executive
Dr. Laurence Miller, Clinical Forensic Psychologist and Law             Research Forum
  Enforcement Educator
                                                                      Karen Freeman-Wilson, Mayor, Gary, Indiana
David Orr, Sergeant, Norwalk (Connecticut) Police Department
                                                                      Mark Magaw, Chief, Prince George’s County (Maryland)
Dr. Sandra Ramey, Assistant Professor, University of Iowa              Police Department
  College of Nursing
                                                                      James Pasco, Executive Director, Fraternal Order of Police
Dr. John Violanti, Research Professor, State University of New
                                                                      Dustin Smith, President, Sacramento (California) Police
  York Buffalo
                                                                       Officers Association
Yost Zakhary, Public Safety Director, City of Woodway, Texas
Panel Two: Officer Safety                                             Listening Session 7. Future of
Jane Castor, Chief, Tampa (Florida) Police Department                 Community Policing
Jerry L. Demings, Sheriff, Orange County (Florida) Sheriff’s Office
                                                                      Washington, D.C., February 24, 2015
Dr. Alexander L. Eastman, Lieutenant and Deputy Medical
  Director, Dallas Police Department
                                                                      Panel: Future of Community Policing
                                                                      Dr. Phillip Goff, Professor, University of California, Los Angeles
Craig W. Floyd, Chairman and Chief Executive Officer, National
  Law Enforcement Officers Memorial Fund                              Jim McDonnell, Sheriff, Los Angeles County Sheriff’s Department
                                                                      Dr. Daniel Nagin, Teresa and H. John Heinz III Professor of Public
Panel Three: Voices from the Field
                                                                        Policy, Carnegie Mellon University
Dianne Bernhard, Executive Director, Concerns of
  Police Survivors                                                    Dr. Lawrence Sherman, Director of the Institute of Criminology
                                                                        of the University of Cambridge, United Kingdom
Robert Bryant, Chief, Penobscot Nation
                                                                      Jeremy Travis, President, John Jay College of Criminal Justice, City
Chuck Canterbury, National President, Fraternal Order of Police         University of New York
William J. Johnson, Executive Director, National Association of
 Police Organizations




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A P P E N D I X B. I N D I V I D UA L S
& O R G A N I Z AT I O N S T H AT
SUBMIT TED WRIT TEN TESTIMONY
In addition to receiving testimony from those                       Eli Briggs, Director of Government Affairs, National Association of
individuals that appeared as witnesses during public                   County and City Health Officials (NACCHO)
listening sessions, the President’s Task Force on 21st              Cherie Brown, Executive Director, National Coalition
Century Policing accepted written testimony from                      Building Institute
any individual or organization to ensure that its infor-            Steven Brown, Journalist / Public Relations Consultant
mation gathering efforts included as many people                    Chris Calabrese, Senior Policy Director, Center for Democracy
and perspectives as possible. The task force thanks                   and Technology—with Jake Laperruque, Fellow on Privacy,
the individuals and organizations who submitted                       Surveillance, and Security
written testimony for their time and expertise.                     Melanie Campbell, President and CEO, National Coalition on
                                                                     Black Civic Participation
This list reflects organizational affiliation at the time           Mo Canady, Executive Director, National Association of School
of testimony submission and may not represent                        Resource Officers (NASRO)
submitters’ current positions.                                      Hugh Carter Donahue, Adjunct Professor, Department of
                                                                     History, Rowan University
                                                                    Anthony Chapa, President, Hispanic American Police Command
Individuals                                                           Officers Association
Robert Abraham, Chair, Gang Resistance Education & Training         Lorig Charkoudian, Executive Director, Community
  (GREAT) National Policy Board                                       Mediation Maryland
Phillip Agnew, Executive Director, Dream Defenders                  Ralph Clark, President and CEO, SST Inc.
Kilolo Ajanaku, National Executive Director, World Conference of    Faye Coffield CJ Federal Task Force
  Mayors’ Dr. Martin Luther King, Jr. American Dream Initiative
                                                                    The Hon. LaDoris Cordell, Office of the Independent Police
Barbara Attard, Past President, National Association for Civilian     Auditor, San Jose, California
  Oversight of Law Enforcement
                                                                    Jill Corson Lake, Director of Global Advising, Parsons The New
Paul Babeu, Vice President, Arizona Sheriffs Association               School for Design
Monifa Bandele, Communities United for Police Reform                David Couper, Chief of Police (retired), Madison (Wisconsin)
Dante Barry, Executive Director, Million Hoodies                      Police Department
David Bayley, Distinguished Professor Emeritus, University          Madeline deLone, Executive Director, The Innocence Project—
  of Albany                                                          with Marvin Anderson, Board Member
Michael Bell, Lt. Colonel (retired), United States Air Force        Jimmie Dotson, Police Chief (retired), Houston Independent
                                                                      School District / GeoDD GeoPolicing Team
Michael Berkow, Chief, Savannah (Georgia) Police Department
                                                                    Ronnie Dunn, Professor, Cleveland State University
Greg Berman and Emily Gold LaGratta, Center for
  Court Innovation                                                  Lauren-Brooke Eisen and Nicole Fortier – Counsel,
                                                                      Justice Program, Brennan Center for Justice at NYU School of Law
Angela Glover Blackwell, Founder and CEO, PolicyLink
                                                                    Christian Ellis, CEO, Alternative Ballistics
Mark Bowman, Assistant Professor of Justice Studies,
 Methodist University                                               Jeffrey Fagan, Professor of Law, Columbia Law School


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Mai Fernandez, Executive Director, National Center for Victims           Wade Henderson, President and CEO, The Leadership Conference
 of Crime                                                                 on Civil and Human Rights—with Nancy Zirkin, Executive
Johnny Ford, Founder, Alabama Conference of Black Mayors and              Vice President
  Mayor, Tuskegee, Alabama                                               Maulin Chris Herring, Trainer/Consultant, Public Safety
Lisa Foster, Director, Access to Justice Initiative, U.S. Department     Sandy Holman, Director, The Culture CO-OP
  of Justice                                                             Zachary Horn and Kent Halverson, Aptima, Inc.—
Neill Franklin, Executive Director, Law Enforcement                        with Rebecca Damari and Aubrey Logan-Terry,
 Against Prohibition                                                       Georgetown University
S. Gabrielle Frey, Interim Executive Director, National Association      Tanya Clay House, Director of Public Policy, Lawyers’ Committee
   of Community Mediation                                                  for Civil Rights Under Law
Lorie Fridell, Associate Professor of Criminology, University of         Susan Hutson, Office of the Independent Police Monitor,
  South Florida                                                            New Orleans
Allen Frimpong, Activist--Malcolm X Grassroots Movement:                 Ingram Janaye, Executive Director, National Action Network
  New York’s Self Defensive Campaign                                     Melanie Jeffers
Ethan Garcia, Youth Specialist, Identity Inc.                            Megan Johnston, Executive Director, Northern Virginia
Michael Gennaco, Principal, OIR Group                                     Mediation Service
Al Gerhardstein, Civil Rights Attorney                                   Nola Joyce, Deputy Commissioner, Philadelphia Police Department
James Gierach, Executive Board Vice Chairman, Law Enforcement            Keith Kauffman, Captain, Hawthorne (California)
  Against Prohibition                                                      Police Department
Fred Ginyard, Organizing Director, Fabulous Independent                  Gwendolyn Puryear Keita, Executive Director, American
  Educated Radical for Community Empowerment (FIERCE)                     Psychological Association, Public Interest Directorate
Mark Gissiner, Past President, International Association for Civilian    Stanley Knee, Chief, Austin (Texas) Police Department
 Oversight of Law Enforcement                                            Laura Kunard, Senior Research Scientist, CNA Corporation
Becca Gomby, SDR Academy                                                 David Kurz, Chief, Durham (New Hampshire) Police Department
Rev. Aaron Graham, Lead Pastor, The District Church                      Deborah Lauter, Director of Civil Rights, Anti-Defamation
Fatima Graves, Vice President, National Women’s Law Center—               League—with Michael Lieberman, Washington Counsel
  with Lara S. Kaufmann, Senior Counsel and Director of                  Cynthia Lum and Christopher Koper, George Mason
  Education Policy for At-Risk Students                                    University, Center for Evidence-Based Crime Policy
Virgil Green, Chairman, Future America National Crime                    Bruce Lumpkins
  Solution Commission
                                                                         Edward Maguire, Professor of Justice, Law & Criminology,
Sheldon Greenberg, Professor, School of Education, Division of             American University
  Public Safety Leadership, The Johns Hopkins University
                                                                         Baron Marquis, Member, Riverside Church, New York
Robert Haas, Police Commissioner, Cambridge (Massachusetts)
  Police Department                                                      Travis Martinez, Lieutenant, Redlands (California)
                                                                           Police Department
David Harris, Distinguished Faculty Scholar and Professor of Law
  Associates Dean for Research, University of Pittsburgh School of Law   Mike Masterson, Chief, Boise (Idaho) Police Department
W. Craig Hartley, Executive Director, CALEA                              Andrew Mazzara, Executive Director, International Law
                                                                           Enforcement Forum—with Colin Burrows QMP (U.K.), ILEF
Steven Hawkins, Executive Director, Amnesty International USA              Advisory Board Chair
Louis Hayes, The Virtus Group, Inc.                                      R. Paul McCauley, Past President, Academy of Criminal
                                                                            Justice Sciences



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                                                                                                                        APPENDIX B



V. Michael McKenzie                                                     Darakshan Raja, Program Manager, Washington Peace Center
Harvey McMurray, Chair, Department of Criminal Justice, North           Sir Desmond Rea and Robin Masefield, Northern Ireland
  Carolina Central University                                             Policing Board
Pamela Meanes, President, National Bar Association                      Nuno Rocha
Doug Mellis, President, Massachusetts Chiefs of Police Associa-         Edwin Roessler, Jr., Chief, Fairfax County (Virginia)
 tion—with Brian Kyes, President, Massachusetts Major City                Police Department
 Chiefs Association                                                     Jeffrey Rojek, University of Texas at El Paso
Seth Miller, President, The Innocence Network                           Iris Roley, Black United Front of Cincinnati
Charlene Moe, Program Coordinator, Center for Public Safety             Julia Ryan, Community Safety Initiative Director, LISC
  and Justice, Institute of Government and Public Affairs, University
  of Illinois                                                           Robert Samuels, Former Acting Director, DOJ Executive Office for
                                                                          Weed and Seed
Marc Morial, CEO, National Urban League
                                                                        Kami Chavis Simmons, Professor of Law and Director of the
Richard Myers, Chief, Newport News (Virginia) Police Department           Criminal Justice Program, Wake Forest University School of Law
Toye Nash, Sergeant, Phoenix Police Department                          Russell Skiba, Professor and Director, Equity Project at
Rebecca Neri and Anthony Berryman – UCLA                                  Indiana University
  Improvement by Design Research Group                                  Ronald Sloan, President, Association of State Criminal
Chuck Noerenberg, President, National Alliance for Drug                   Investigative Agencies
  Endangered Children                                                   Samuel Somers, Jr., Chief, Sacramento Police Department
Newell Normand, Sheriff, Jefferson Parish (Louisiana) Sherriff’s        Brett Stoudt, Morris Justice Project and Professor, John Jay College
  Office—submitted with Adrian Garcia, Sheriff, Harris County             of Criminal Justice
  (Texas) Sheriff’s Office; David Mahoney, Sheriff, Dane County
  (Wisconsin) Sheriff’s Office; Anthony Normore, Ph.D., Crim-           “Think Tank Johnny”
  inal Justice Commission for Credible Leadership Development; and      Don Tijerina, President, Hispanic American Police Command
  Mitch Javidi, Ph.D., International Academy of Public Safety            Officers Association
Gbadegesin Olubukola, St. Louis University                              Nicholas Turner, President and Director, Vera Institute of Justice
Patrice O’Neill, CEO/Executive Producer, Not In Our Town                James Unnever, Professor of Criminology, University of
Jim Palmer, Executive Director, Wisconsin Professional                    South Florida
  Police Association                                                    Javier Valdes, Executive Director, Make the Road New York
Julie Parker, Media Relations Division Director, Prince George’s        Kim Vansell, Director, National Center for Campus Public Safety
  County (Maryland) Police Department
                                                                        Nina Vinik, Program Director, Gun Violence Prevention,
George Patterson, Associate Professor, City University                    The Joyce Foundation
  of New York
                                                                        Vincent Warren, Executive Director, Center for
David Perry, President, International Association of Campus Law           Constitutional Rights
  Enforcement Administrators (IACLEA)
                                                                        Barbara Weinstein, Associate Director, Religious Action Center
Megan Price, Director, Insight Conflict Resolution Program, School        of Reform Judaism
 for Conflict Analysis and Resolution, George Mason University
                                                                        Jenny Yang, Chair, U.S. Equal Employment
Sue Quinn, Past President, National Association for Civilian              Opportunity Commission
  Oversight of Law Enforcement
Tess Raser, Teacher, Brooklyn, New York




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Organizations                                                           Local Initiatives Support Corporation (LISC)
                                                                        Major County Sheriffs’ Association
American Friends Service Committee
                                                                        Make the Road New York
American Society of Criminology, Division of Policing, Ad Hoc Commit-
  tee to the President’s Task Force on 21st Century Policing (Anthony   National Action Network (NAN)
  Braga, Rod K. Brunson, Gary Cordner, Lorie Fridell, Matthew           National Association for Civilian Oversight of Law Enforcement
  Hickman, Cynthia Lum, Stephen D. Mastrofski, Jack McDevitt, Dennis
                                                                        National Association of Counties
  P. Rosenbaum, Wesley G. Skogan, and William Terrill)
                                                                        National Association of Police Organizations
Brooklyn Defender Services
                                                                        National Association of Women Law Enforcement Executives
The Bronx Defenders
                                                                        National Collaborative for Health Equity, Dellums Commission
Center for Popular Democracy
                                                                        National Day Laborer Organizing Network
Civil Rights Coalition on Police Reform
                                                                        National Immigration Law Center
CNA Corporation (George Fachner, Michael D. White, James R. Coldren,
  Jr., and James K. Stewart)                                            National Fraternal Order of Police
Color of Change                                                         National Organization of Black Law Enforcement Executives (NOBLE)
Dignity in Schools Campaign                                             National Sheriffs’ Association
Ethics Bureau at Yale (Lawrence Fox, Supervising Lawyer)                New Sanctuary Coalition of New York
Evangelical Lutheran Church in America                                  Northern Manhattan Coalition for Immigrant Rights
Harvard Kennedy School (John F. Kennedy School of Government)           Northwest Immigrant Rights Project
Illinois Coalition for Immigrant and Refugee Rights                     PICO National Network
Immigrant Defense Project                                               Public Science Project
International Association for Human Values (IAHV) / Works of            Santa Fe College and the Santa Fe College Police Department,
   Wonder International                                                    Gainesville, Florida
Latino Justice                                                          Southern Poverty Law Center
Lawyers’ Committee for Civil Rights Under Law (including A. Phillip     Streetwise & Safe
  Randolph Institute, Black Youth Vote, Empowerment Movement,           Team Kids
  Hip Hop Caucus, Leadership Conference on Civil and Human Rights,
  Muslim Advocates, National Association for the Advancement            Works of Wonder International
  of Colored People [NAACP], NAACP Legal Defense Fund, National
  Coalition on Black Civic Participation, National Council of
  Churches of Christ in the USA, PICO National Network, and
  Rainbow PUSH Coalition)




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APPENDIX C. EXECUTIVE ORDER
13684 OF DECEMBER 18, 2014
By the authority vested in me as President by the       (b) The Director of the Office of Community
Constitution and the laws of the United States of       Oriented Policing Services shall serve as Executive
America, and in order to identify the best means        Director of the Task Force and shall, as directed by
to provide an effective partnership between law         the Co-Chairs, convene regular meetings of the
enforcement and local communities that reduces          Task Force and supervise its work.
crime and increases trust, it is hereby ordered
as follows:                                             (c) In carrying out its mission, the Task Force shall
                                                        be informed by, and shall strive to avoid duplicat-
Section 1. Establishment. There is established a        ing, the efforts of other governmental entities.
President’s Task Force on 21st Century Policing
(Task Force).                                           (d) The Department of Justice shall provide
                                                        administrative services, funds, facilities, staff,
Sec. 2. Membership. (a) The Task Force shall be         equipment, and other support services as may be
composed of not more than eleven members                necessary for the Task Force to carry out its mission
appointed by the President. The members shall           to the extent permitted by law and subject to the
include distinguished individuals with relevant         availability of appropriations.
experience or subject-matter expertise in law
enforcement, civil rights, and civil liberties.         (e) Members of the Task Force shall serve without
                                                        any additional compensation for their work on the
(b) The President shall designate two members of        Task Force, but shall be allowed travel expenses,
the Task Force to serve as Co-Chairs.                   including per diem, to the extent permitted by law
                                                        for persons serving intermittently in the Govern-
Sec. 3. Mission. (a) The Task Force shall, consistent   ment service (5 U.S.C.5701-5707).
with applicable law, identify best practices
and otherwise make recommendations to                   Sec. 5. Termination. The Task Force shall terminate
the President on how policing practices can             30 days after the President requests a final report
promote effective crime reduction while                 from the Task Force.
building public trust.
                                                        Sec. 6. General Provisions. (a) Nothing in this order
(b) The Task Force shall be solely advisory and shall   shall be construed to impair or otherwise affect:
submit a report to the President by March 2, 2015.
                                                        (i) the authority granted by law to a department,
Sec. 4. Administration. (a) The Task Force shall hold   agency, or the head thereof; or
public meetings and engage with Federal, State,
tribal, and local officials, technical advisors, and    (ii) the functions of the Director of the Office of
nongovernmental organizations, among others, as         Management and Budget relating to budgetary,
necessary to carry out its mission.                     administrative, or legislative proposals.




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(b) This order is not intended to, and does not,         (c) Insofar as the Federal Advisory Committee Act,
create any right or benefit, substantive or proce-       as amended (5 U.S.C. App.) (the “Act”) may apply
dural, enforceable at law or in equity by any party      to the Task Force, any functions of the President
against the United States, its departments, agen-        under the Act, except for those in section 6 of the
cies, or entities, its officers, employees, or agents,   Act, shall be performed by the Attorney General.
or any other person.
                                                         THE WHITE HOUSE,
                                                         December 18, 2014.




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A P P E N D I X D. TA S K F O R C E
MEMBERS’ BIOGRAPHIES
Co-Chairs                                              Laurie Robinson
                                                       Laurie Robinson is the Clarence J. Robinson
Charles Ramsey
                                                       Professor of Criminology, Law and Society at
Charles Ramsey is the commissioner of the
                                                       George Mason University, a position she has
Philadelphia Police Department (PPD), a position
                                                       held since 2012. She served as assistant attorney
he has held since 2008. Since 2010, he has served
                                                       general for the Office of Justice Programs (OJP) in
as president of the Major Cities Chiefs Association
                                                       the U.S. Department of Justice (DOJ) from 2009
and the Police Executive Research Forum. Commis-
                                                       to 2012. Prior to that, Ms. Robinson served as the
sioner Ramsey began his law enforcement career
                                                       Principal deputy assistant attorney general for
in 1968 as a cadet with the Chicago Police Depart-
                                                       OJP and acting assistant attorney general for OJP.
ment (CPD). Over the next 30 years, he held various
                                                       Previously, she was a member of the Obama-Biden
positions with the CPD, including commander of
                                                       Transition Team. From 2003 to 2009, Ms. Robinson
the Narcotics Division, deputy chief of the Patrol
                                                       was the director of the Master of Science Program
Division, and deputy superintendent, a role he held
                                                       in Criminology at the University of Pennsylvania.
from 1994 to 1998. In 1998, he was named chief of
                                                       From 1993 to 2000, she served her first term as
the Metropolitan Police Department of the District
                                                       assistant attorney general for OJP. Before joining
of Columbia (MPDC), where he served until early
                                                       DOJ, Ms. Robinson spent over 20 years with the
2007. In 2007, Commissioner Ramsey served on
                                                       American Bar Association, serving as assistant staff
the Independent Commission on Security Forces
                                                       director of the Criminal Justice Section from 1972
of Iraq, leading a review of the Iraqi Police Force.
                                                       to 1979, director of the Criminal Justice Section
In addition to his current role at the PPD, he also
                                                       from 1979 to 1993, and director of the Professional
serves as a member of the Homeland Security
                                                       Services Division from 1986 to 1993. She is a senior
Advisory Council. Commissioner Ramsey received a
                                                       fellow at the George Mason University Center for
BS and MS from Lewis University.
                                                       Evidence-Based Crime Policy and serves as co-
                                                       chair of the Research Advisory Committee for the
                                                       International Association of Chiefs of Police. She
                                                       also serves on the board of trustees of the Vera
                                                       Institute of Justice. Ms. Robinson received a BA
                                                       from Brown University.




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Members                                                committee of Communities United for Police
                                                       Reform, a New York City organization advocating
Cedric L. Alexander
                                                       for law enforcement reform. From 2001 to 2004,
Cedric L. Alexander is the deputy chief operating
                                                       he was an active contributor to the Radio Rookies
officer for Public Safety in DeKalb County, Georgia,
                                                       Project, an initiative of New York Public Radio. He
a position he has held since late 2013. Dr. Alexan-
                                                       received a BA from Hofstra University.
der is also the national president of the National
Organization of Black Law Enforcement Executives.      Tracey L. Meares
In 2013, he served as chief of police for the DeKalb   Tracey Meares is the Walton Hale Hamilton
County Police Department. Prior to this, Dr. Alex-     Professor of Law at Yale Law School, a position she
ander served as federal security director for the      has held since 2007. From 2009 to 2011, she also
Transportation Security Administration (TSA) at Dal-   served as deputy dean of Yale Law School. Before
las/Fort Worth International Airport from 2007 to      joining the faculty at Yale, she served as a profes-
2013. And from 2006 to 2007, he was deputy com-        sor at the University of Chicago Law School from
missioner of the New York State Division of Criminal   1995 to 2007. She has served on the Committee
Justice Services. From 2005 to 2006, Dr. Alexander     on Law and Justice, a National Research Council
was chief of the Rochester (New York) Police           Standing Committee of the National Academy
Department (RPD), where he previously served as        of Sciences. She was appointed by Attorney
deputy chief of police from 2002 to 2005. Before       General Eric Holder to serve on the inaugural U.S.
joining RPD, Dr. Alexander was a faculty member        Department of Justice, Office of Justice Programs
in the Department of Psychiatry at the University      Science Advisory Board. She also currently serves
of Rochester Medical Center from 1998 to 2002.         on the board of directors of the Joyce Foundation.
He began his career as a deputy sheriff in Florida     Ms. Meares began her legal career as a law clerk
from 1977 to 1981, before joining the Miami-Dade       for Judge Harlington Wood, Jr. of the U.S. Court of
Police Department, where he was as an officer and      Appeals for the Seventh Circuit. She later served
detective from 1981 to 1992. He received a BA and      as a trial attorney in the Antitrust Division at the
MS from St. Thomas University in Miami, Florida,       U.S. Department of Justice. Ms. Meares received a
and a PsyD from Wright State University.               BS from the University of Illinois and a JD from the
                                                       University of Chicago Law School.
Jose Lopez
Jose Lopez is currently the lead organizer at Make     Brittany N. Packnett
the Road New York (MRNY), a Brooklyn-based             Brittany Packnett is currently executive director of
non-profit community organization focused on           Teach For America in St. Louis, Missouri, a position
civil rights, education reform, and combating          she has held since 2012. From 2010 to 2012, she
poverty. He became lead organizer of MRNY in           was a director on the Government Affairs Team at
2013. Mr. Lopez began his career in 2000 as youth      Teach For America. Ms. Packnett was a legislative
organizer with Make the Road by Walking, which         assistant for the U.S. House of Representatives
later merged with the Latin American Integration       from 2009 to 2010. From 2007 to 2009, she was a
Center to form MRNY in 2007. He continued to           third grade teacher in Southeast Washington, D.C.,
serve as youth organizer with MRNY until 2009          as a member of the Teach For America Corps. Ms.
when he became senior organizer. Since 2011,           Packnett has volunteered as executive director
Mr. Lopez has represented MRNY on the steering


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                                                                                           APPENDIX D



of Dream Girls DMV, a mentoring program for            Constance Rice
young girls, and was the founding co-chair of The      Constance Rice is a civil rights attorney and
Collective-DC, a regional organization for Teach For   co-director of the Advancement Project, an
America alumni of color. She currently serves on       organization she co-founded in 1999. In 2003, Ms.
the board of New City School, the COCA (Center of      Rice was selected to lead the Blue Ribbon Ram-
Creative Arts) Associate Board, the Urban League of    part Review Panel, which investigated the largest
Metro St. Louis Education Committee, and the John      police corruption scandal in Los Angeles Police
Burroughs School Board Diversity Committee. Ms.        Department history. In 1991, Ms. Rice joined the
Packnett received a BA from Washington University      NAACP Legal Defense and Educational Fund, and
in St. Louis and an MA from American University.       she became co-director of the Los Angeles office
                                                       in 1996. She was previously an associate at Morri-
Susan Lee Rahr                                         son & Foerster and began her legal career as a law
Susan Rahr is executive director of the Washington     clerk to Judge Damon J. Keith of the U.S. Court of
State Criminal Justice Training Commission, a          Appeals for the Sixth Circuit. Ms. Rice received a BA
position she has held since 2012. From 2005 to         from Harvard College and a JD from the New York
2012, she served as the first female sheriff in King   University School of Law.
County, Washington. Ms. Rahr spent over 30 years
as a law enforcement officer, beginning as a patrol    Sean Michael Smoot
officer and undercover narcotics officer. While        Sean Smoot is currently director and chief counsel
serving with the King County Sheriff’s Office, she     for the Police Benevolent & Protective Association
held various positions including serving as the        of Illinois (PB&PA) and the Police Benevolent Labor
commander of the Internal Investigations and           Committee (PBLC), positions he has held since
Gang Units; commander of the Special Investi-          2000. He began his career with PB&PA and PBLC
gations Section; and police chief of Shoreline,        as a staff attorney in 1995, before becoming chief
Washington. Ms. Rahr received a BA from Washing-       counsel of both organizations in 1997. Since 2001,
ton State University. She has served as a member       Mr. Smoot has served as the treasurer of the Na-
of the National Institute of Justice and Harvard       tional Association of Police Organizations and has
Kennedy School Executive Session on Policing           served on the Advisory Committee for the Nation-
and Public Safety; president of the Washington         al Law Enforcement Officers’ Rights Center since
State Association of Sheriffs and Police Chiefs,       1996. From 2008 to 2009, he was a policy advisor
and an executive board member of the National          to the Obama-Biden Transition Project on public
Sheriffs’ Association.                                 safety and state and local police issues and was
                                                       a member of the National Institute of Justice and
                                                       Harvard Kennedy School of Government Executive
                                                       Session on Policing and Public Safety from 2008
                                                       to 2011. Mr. Smoot served as police commissioner
                                                       of Leland Grove, Illinois, from 1998 to 2008. He
                                                       received a BS from Illinois State University and a JD
                                                       from Southern Illinois University School of Law.




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Bryan Stevenson                                          Roberto Villaseñor
Bryan Stevenson is founder and executive director        Roberto Villaseñor is chief of police for the Tucson
of the Equal Justice Initiative (EJI), a private, non-   (Arizona) Police Department (TPD), a position he
profit organization headquartered in Montgomery,         has held since 2009. He joined the TPD in 1980
Alabama. In addition to directing the EJI since          and has served as officer, sergeant, lieutenant, and
1989, he is a clinical professor at New York Uni-        captain and as assistant chief from 2000 to 2009.
versity School of Law. He previously has served as       Chief Villaseñor was named Officer of the Year
a visiting professor of law at the University of Mich-   for the TPD in 1996 and has been awarded the
igan School of Law. Mr. Stevenson has received           TPD Medal of Merit three times. He also received
the American Bar Association’s Wisdom Award              the TPD Medal of Distinguished Service. Chief
for public service, the ACLU’s National Medal            Villaseñor is the incoming president of the Arizona
of Liberty, and the MacArthur Foundation                 Association of Chiefs of Police and a board mem-
“Genius” Award Prize. Mr. Stevenson received a           ber of the Police Executive Research Forum (PERF).
BA from Eastern College (now Eastern University),        He received a BS from Park University and a MEd
a JD from Harvard Law School, and an MPP from            from Northern Arizona University.
the John F. Kennedy School of Government at
Harvard University.




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A P P E N D I X E . R E C O M M E N D AT I O N S
AND AC TIONS
0.1 O VERARCHING R ECOMMENDATION :                    1.3 R ECOMMENDATION : Law enforcement
The President should support and provide              agencies should establish a culture of
funding for the creation of a National Crime          transparency and accountability in order to
and Justice Task Force to review and evaluate         build public trust and legitimacy. This will help
all components of the criminal justice system         ensure decision making is understood and in
for the purpose of making recommendations             accord with stated policy.
to the country on comprehensive criminal
justice reform.                                       1.3.1 A CTION I TEM : To embrace a culture of
                                                      transparency, law enforcement agencies should
0.2 OVERARCHING RECOMMENDATION:                       make all department policies available for public
The President should promote programs that            review and regularly post on the department’s
take a comprehensive and inclusive look at            website information about stops, summonses, ar-
community-based initiatives that address              rests, reported crime, and other law enforcement
the core issues of poverty, education, health,        data aggregated by demographics.
and safety.
                                                      1.3.2 A CTION I TEM : When serious incidents
1.1 R ECOMMENDATION : Law enforcement                 occur, including those involving alleged police
culture should embrace a guardian mindset to          misconduct, agencies should communicate
build public trust and legitimacy. Toward that        with citizens and the media swiftly, openly, and
end, police and sheriffs’ departments should          neutrally, respecting areas where the law requires
adopt procedural justice as the guiding               confidentiality.
principle for internal and external policies and
practices to guide their interactions with the        1.4 R ECOMMENDATION : Law enforcement
citizens they serve.                                  agencies should promote legitimacy internally
                                                      within the organization by applying the
1.2 R ECOMMENDATION : Law enforcement                 principles of procedural justice.
agencies should acknowledge the role of
policing in past and present injustice and            1.4.1 A CTION I TEM : In order to achieve
discrimination and how it is a hurdle to the          internal legitimacy, law enforcement agencies
promotion of community trust.                         should involve employees in the process of
                                                      developing policies and procedures.
1.2.1 A CTION I TEM : The U.S. Department of
Justice should develop and disseminate case studies   1.4.2 A CTION I TEM : Law enforcement
that provide examples where past injustices were      agency leadership should examine
publicly acknowledged by law enforcement agen-        opportunities to incorporate procedural justice
cies in a manner to help build community trust.       into the internal discipline process, placing


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additional importance on values adherence             1.6 R ECOMMENDATION : Law enforcement
rather than adherence to rules. Union                 agencies should consider the potential
leadership should be partners in this process.        damage to public trust when implementing
                                                      crime fighting strategies.
1.5 R ECOMMENDATION : Law enforcement
agencies should proactively promote public            1.6.1 A CTION I TEM : Research conducted
trust by initiating positive nonenforcement           to evaluate the effectiveness of crime fighting
activities to engage communities that                 strategies should specifically look at the potential
typically have high rates of investigative and        for collateral damage of any given strategy on
enforcement involvement with government               community trust and legitimacy.
agencies.
                                                      1.7 R ECOMMENDATION : Law enforcement
1.5.1 A CTION I TEM : In order to achieve             agencies should track the level of trust in
external legitimacy, law enforcement agencies         police by their communities just as they
should involve the community in the process of        measure changes in crime. Annual community
developing and evaluating policies and proce-         surveys, ideally standardized across
dures.                                                jurisdictions and with accepted sampling
                                                      protocols, can measure how policing in that
1.5.2 A CTION I TEM : Law enforcement agen-           community affects public trust.
cies should institute residency incentive programs
such as Resident Officer Programs.                    1.7.1 A CTION I TEM : The Federal Gov-
                                                      ernment should develop survey tools and
1.5.3 A CTION I TEM : Law enforcement agen-           instructions for use of such a model to prevent
cies should create opportunities in schools and       local departments from incurring the expense and
communities for positive nonenforcement interac-      to allow for consistency across jurisdictions.
tions with police. Agencies should also publicize
the beneficial outcomes and images of positive,       1.8 R ECOMMENDATION : Law enforcement
trust-building partnerships and initiatives.          agencies should strive to create a workforce
                                                      that contains a broad range of diversity
1.5.4 A CTION I TEM : Use of physical control         including race, gender, language, life
equipment and techniques against vulnerable           experience, and cultural background to
populations—including children, elderly persons,      improve understanding and effectiveness in
pregnant women, people with physical and men-         dealing with all communities.
tal disabilities, limited English proficiency, and
others—can undermine public trust and should          1.8.1 A CTION I TEM : The Federal Govern-
be used as a last resort. Law enforcement agencies    ment should create a Law Enforcement Diversity
should carefully consider and review their policies   Initiative designed to help communities diversify
towards these populations and adopt policies if       law enforcement departments to reflect the
none are in place.                                    demographics of the community.




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                                                                                           APPENDIX E



1.8.2 A CTION I TEM : The department                  1.9.3 A CTION I TEM : The U.S. Department
overseeing this initiative should help localities     of Justice should not include civil immigration
learn best practices for recruitment, training,       information in the FBI’s National Crime Informa-
and outreach to improve the diversity as well as      tion Center database.
the cultural and linguistic responsiveness of law
enforcement agencies.
                                                      2.1 R ECOMMENDATION : Law enforcement
                                                      agencies should collaborate with community
1.8.3 A CTION I TEM : Successful law en-              members to develop policies and strategies
forcement agencies should be highlighted and          in communities and neighborhoods
celebrated and those with less diversity should be    disproportionately affected by crime for
offered technical assistance to facilitate change.    deploying resources that aim to reduce
                                                      crime by improving relationships, greater
1.8.4 A CTION I TEM : Discretionary federal           community engagement, and cooperation.
funding for law enforcement programs could
be influenced by that department’s efforts to         2.1.1 A CTION I TEM : The Federal Gov-
improve their diversity and cultural and linguistic   ernment should incentivize this collaboration
responsiveness.                                       through a variety of programs that focus on public
                                                      health, education, mental health, and other
1.8.5 A CTION I TEM : Law enforcement                 programs not traditionally part of the criminal
agencies should be encouraged to explore more         justice system.
flexible staffing models.
                                                      2.2 R ECOMMENDATION : Law enforcement
1.9 R ECOMMENDATION : Law enforcement                 agencies should have comprehensive policies
agencies should build relationships based             on the use of force that include training,
on trust with immigrant communities. This is          investigations, prosecutions, data collection,
central to overall public safety.                     and information sharing. These policies must
                                                      be clear, concise, and openly available for
1.9.1 A CTION I TEM : Decouple federal immi-          public inspection.
gration enforcement from routine local policing
for civil enforcement and nonserious crime.           2.2.1 A CTION I TEM : Law enforcement
                                                      agency policies for training on use of force should
                                                      emphasize de-escalation and alternatives to arrest
1.9.2 A CTION I TEM : Law enforcement
                                                      or summons in situations where appropriate.
agencies should ensure reasonable and
equitable language access for all persons who
have encounters with police or who enter the          2.2.2 A CTION I TEM : These policies should
criminal justice system.                              also mandate external and independent criminal
                                                      investigations in cases of police use of force result-
                                                      ing in death, officer-involved shootings resulting
                                                      in injury or death, or in-custody deaths.




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2.2.3 A CTION I TEM : The task force encour-              2.5 R ECOMMENDATION : All federal, state,
ages policies that mandate the use of external and        local, and tribal law enforcement agencies
independent prosecutors in cases of police use of         should report and make available to the
force resulting in death, officer-involved shootings      public census data regarding the composition
resulting in injury or death, or in-custody deaths.       of their departments including race, gender,
                                                          age, and other relevant demographic data.
2.2.4 A CTION I TEM : Policies on use of force
should also require agencies to collect, maintain,        2.5.1 A CTION I TEM : The Bureau of Justice
and report data to the Federal Government on              Statistics should add additional demographic
all officer-involved shootings, whether fatal or          questions to the Law Enforcement Management
nonfatal, as well as any in-custody death.                and Administrative Statistics (LEMAS) survey in
                                                          order to meet the intent of this recommendation.

2.2.5 A CTION I TEM : Policies on use of force
should clearly state what types of information            2.6 R ECOMMENDATION : Law enforcement
will be released, when, and in what situation, to         agencies should be encouraged to collect,
maintain transparency.                                    maintain, and analyze demographic
                                                          data on all detentions (stops, frisks,
2.2.6 A CTION I TEM : Law enforcement agen-               searches, summons, and arrests). This
cies should establish a Serious Incident Review           data should be disaggregated by school
Board comprising sworn staff and community                and non-school contacts.
members to review cases involving officer-
involved shootings and other serious incidents            2.6.1 A CTION I TEM : The Federal Gov-
that have the potential to damage community               ernment could further incentivize universities
trust or confidence in the agency. The purpose of         and other organizations to partner with police
this board should be to identify any administra-          departments to collect data and develop knowl-
tive, supervisory, training, tactical, or policy issues   edge about analysis and benchmarks as well as
that need to be addressed.                                to develop tools and templates that help depart-
                                                          ments manage data collection and analysis.

2.3 R ECOMMENDATION : Law enforcement
agencies are encouraged to implement                      2.7 R ECOMMENDATION : Law enforcement
nonpunitive peer review of critical incidents             agencies should create policies and
separate from criminal and administrative                 procedures for policing mass demonstrations
investigations.                                           that employ a continuum of managed tactical
                                                          resources that are designed to minimize the
                                                          appearance of a military operation and avoid
2.4 R ECOMMENDATION : Law enforcement
                                                          using provocative tactics and equipment that
agencies are encouraged to adopt
                                                          undermine civilian trust.
identification procedures that implement
scientifically supported practices that eliminate
or minimize presenter bias or influence.



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2.7.1 A CTION I TEM : Law enforcement                  investigative contacts with citizens for reasons
agency policies should address procedures              not directly related to improving public safety,
for implementing a layered response to mass            such as generating revenue.
demonstrations that prioritize de-escalation and a
guardian mindset.                                      2.10 R ECOMMENDATION : Law
                                                       enforcement officers should be required to
2.7.2 A CTION I TEM : The Federal Govern-              seek consent before a search and explain
ment should create a mechanism for investigating       that a person has the right to refuse consent
complaints and issuing sanctions regarding the         when there is no warrant or probable
inappropriate use of equipment and tactics during      cause. Furthermore, officers should ideally
mass demonstrations.                                   obtain written acknowledgement that they
                                                       have sought consent to a search in these
                                                       circumstances.
2.8 R ECOMMENDATION : Some form
of civilian oversight of law enforcement is
important in order to strengthen trust with            2.11 R ECOMMENDATION : Law
the community. Every community should                  enforcement agencies should adopt policies
define the appropriate form and structure of           requiring officers to identify themselves
civilian oversight to meet the needs of that           by their full name, rank, and command (as
community.                                             applicable) and provide that information in
                                                       writing to individuals they have stopped. In
2.8.1 A CTION I TEM : The U.S. Department of           addition, policies should require officers to
Justice, through its research arm, the National In-    state the reason for the stop and the reason
stitute of Justice (NIJ), should expand its research   for the search if one is conducted.
agenda to include civilian oversight.
                                                       2.11.1 A CTION I TEM : One example of how
                                                       to do this is for law enforcement officers to carry
2.8.2 A CTION I TEM : The U.S. Department
                                                       business cards containing their name, rank, com-
of Justice’s Office of Community Oriented Policing
                                                       mand, and contact information that would enable
Services (COPS Office) should provide technical
                                                       individuals to offer suggestions or commenda-
assistance and collect best practices from existing
                                                       tions or to file complaints with the appropriate
civilian oversight efforts and be prepared to help
                                                       individual, office, or board. These cards would be
cities create this structure, potentially with some
                                                       easily distributed in all encounters.
matching grants and funding.

                                                       2.12 R ECOMMENDATION : Law
2.9 R ECOMMENDATION : Law enforcement
                                                       enforcement agencies should establish search
agencies and municipalities should refrain
                                                       and seizure procedures related to LGBTQ and
from practices requiring officers to issue
                                                       transgender populations and adopt as policy
a predetermined number of tickets, citations,
                                                       the recommendation from the President’s
arrests, or summonses, or to initiate
                                                       Advisory Council on HIV/AIDS (PACHA) to
                                                       cease using the possession of condoms as the
                                                       sole evidence of vice.

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2.13 R ECOMMENDATION : Law                              2.15 R ECOMMENDATION : The U.S.
enforcement agencies should adopt and                   Department of Justice, through the Office of
enforce policies prohibiting profiling and              Community Oriented Policing Services, should
discrimination based on race, ethnicity,                partner with the International Association
national origin, religion, age, gender, gender          of Directors of Law Enforcement Standards
identity/expression, sexual orientation,                and Training (IADLEST) to expand its National
immigration status, disability, housing status,         Decertification Index to serve as the National
occupation, or language fluency.                        Register of Decertified Officers with the goal
                                                        of covering all agencies within the United
2.13.1 A CTION I TEM : The Bureau of                    States and its territories.
Justice Statistics should add questions concerning
sexual harassment of and misconduct toward              3.1 R ECOMMENDATION : The U.S.
community members, and in particular LGBTQ and          Department of Justice, in consultation with
gender-nonconforming people, by law enforce-            the law enforcement field, should broaden the
ment officers to the Police Public Contact Survey.      efforts of the National Institute of Justice to
                                                        establish national standards for the research
2.13.2 A CTION I TEM : The Centers for                  and development of new technology. These
Disease Control should add questions concerning         standards should also address compatibility
sexual harassment of and misconduct toward              and interoperability needs both within law
community members, and in particular LGBTQ and          enforcement agencies and across agencies
gender-nonconforming people, by law enforce-            and jurisdictions and maintain civil and
ment officers to the National Intimate Partner and      human rights protections.
Sexual Violence Survey.
                                                        3.1.1 A CTION I TEM : The Federal Gov-
2.13.3 A CTION I TEM : The U.S. Department of           ernment should support the development and
Justice should promote and disseminate guidance         delivery of training to help law enforcement
to federal, state, and local law enforcement agencies   agencies learn, acquire, and implement technol-
on documenting, preventing, and addressing sexual       ogy tools and tactics that are consistent with the
harassment and misconduct by local law enforce-         best practices of 21st century policing.
ment agents, consistent with the recommendations
of the International Association of Chiefs of Police.   3.1.2 A CTION I TEM : As part of national stan-
                                                        dards, the issue of technology’s impact on privacy
                                                        concerns should be addressed in accordance with
2.14 R ECOMMENDATION : The U.S.
                                                        protections provided by constitutional law.
Department of Justice, through the Office of
Community Oriented Policing Services and
Office of Justice Programs, should provide              3.1.3 A CTION I TEM : Law enforcement
technical assistance and incentive funding to           agencies should deploy smart technology that is
jurisdictions with small police agencies that           designed to prevent the tampering with or manip-
take steps towards shared services, regional            ulating of evidence in violation of policy.
training, and consolidation.



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3.2 R ECOMMENDATION :                                   3.3.2 A CTION I TEM : The U.S. Department of
The implementation of appropriate                       Justice should create toolkits for the most effective
technology by law enforcement agencies                  and constitutional use of multiple forms of innova-
should be designed considering local needs              tive technology that will provide state, local, and
and aligned with national standards.                    tribal law enforcement agencies with a one-stop
                                                        clearinghouse of information and resources.
3.2.1 A CTION I TEM : Law enforcement agen-
cies should encourage public engagement and             3.3.3 A CTION I TEM : Law enforcement
collaboration, including the use of community           agencies should review and consider the Bureau
advisory bodies, when developing a policy for the       of Justice Assistance’s (BJA) Body Worn Camera
use of a new technology.                                Toolkit to assist in implementing BWCs.

3.2.2 A CTION I TEM : Law enforcement agen-
                                                        3.4 R ECOMMENDATION : Federal, state,
cies should include an evaluation or assessment
                                                        local, and tribal legislative bodies should be
process to gauge the effectiveness of any new
                                                        encouraged to update public record laws.
technology, soliciting input from all levels of the
agency, from line officer to leadership, as well as
assessment from members of the community.               3.5 R ECOMMENDATION : Law enforcement
                                                        agencies should adopt model policies
                                                        and best practices for technology-based
3.2.3 A CTION I TEM : Law enforcement
                                                        community engagement that increases
agencies should adopt the use of new technolo-
                                                        community trust and access.
gies that will help them better serve people with
special needs or disabilities.
                                                        3.6 R ECOMMENDATION : The Federal
                                                        Government should support the development
3.3 R ECOMMENDATION : The U.S.                          of new “less than lethal” technology to help
Department of Justice should develop                    control combative suspects.
best practices that can be adopted by
state legislative bodies to govern the                  3.6.1 A CTION I TEM : Relevant federal agen-
acquisition, use, retention, and dissemination          cies, including the U.S. Departments of Defense
of auditory, visual, and biometric data by              and Justice, should expand their efforts to study
law enforcement.                                        the development and use of new less than lethal
                                                        technologies and evaluate their impact on public
3.3.1 A CTION I TEM : As part of the process            safety, reducing lethal violence against citizens,
for developing best practices, the U.S. Department      constitutionality, and officer safety.
of Justice should consult with civil rights and civil
liberties organizations, as well as law enforcement
research groups and other experts, concerning           3.7 R ECOMMENDATION : The Federal
the constitutional issues that can arise as a result    Government should make the development
of the use of new technologies.                         and building of segregated radio spectrum




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and increased bandwidth by FirstNet for                  non-discriminatory policing and to determine
exclusive use by local, state, tribal, and federal       replicable factors that could be used to guide law
public safety agencies a top priority.                   enforcement agencies in other communities.


4.1 R ECOMMENDATION : Law enforcement                    4.3 R ECOMMENDATION : Law enforcement
agencies should develop and adopt policies               agencies should engage in multidisciplinary,
and strategies that reinforce the importance             community team approaches for planning,
of community engagement in managing                      implementing, and responding to crisis
public safety.                                           situations with complex causal factors.

4.1.1 A CTION I TEM : Law enforcement                    4.3.1 A CTION I TEM : The U.S. Department of
agencies should consider adopting preferences            Justice should collaborate with others to develop
for seeking “least harm” resolutions, such as diver-     and disseminate baseline models of this crisis
sion programs or warnings and citations in lieu of       intervention team approach that can be adapted
arrest for minor infractions.                            to local contexts.


4.2 R ECOMMENDATION : Community                          4.3.2 A CTION I TEM : Communities should
policing should be infused throughout the                look to involve peer support counselors as part
culture and organizational structure of law              of multidisciplinary teams when appropriate.
enforcement agencies.                                    Persons who have experienced the same trauma
                                                         can provide both insight to the first responders
4.2.1 A CTION I TEM : Law enforcement                    and immediate support to individuals in crisis.
agencies should evaluate officers on their efforts
to engage members of the community and the               4.3.3 A CTION I TEM : Communities should be
partnerships they build. Making this part of             encouraged to evaluate the efficacy of these crisis
the performance evaluation process places an             intervention team approaches and hold agency
increased value on developing partnerships.              leaders accountable for outcomes.

4.2.2 A CTION I TEM : Law enforcement
                                                         4.4 R ECOMMENDATION : Communities
agencies should evaluate their patrol deployment
                                                         should support a culture and practice of
practices to allow sufficient time for patrol officers
                                                         policing that reflects the values of protection
to participate in problem solving and community
                                                         and promotion of the dignity of all, especially
engagement activities.
                                                         the most vulnerable.

4.2.3 A CTION I TEM : The U.S. Department                4.4.1 A CTION I TEM : Because offensive or
of Justice and other public and private entities         harsh language can escalate a minor situation,
should support research into the factors that have       law enforcement agencies should underscore the
led to dramatic successes in crime reduction in          importance of language used and adopt policies di-
some communities through the infusion of                 recting officers to speak to individuals with respect.



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4.4.2 A CTION I TEM : Law enforcement                   4.6 R ECOMMENDATION : Communities
agencies should develop programs that create op-        should adopt policies and programs that
portunities for patrol officers to regularly interact   address the needs of children and youth
with neighborhood residents, faith leaders, and         most at risk for crime or violence and reduce
business leaders.                                       aggressive law enforcement tactics that
                                                        stigmatize youth and marginalize their
                                                        participation in schools and communities.
4.5 R ECOMMENDATION : Community
policing emphasizes working with
                                                        4.6.1 A CTION I TEM : Education and criminal
neighborhood residents to co-produce public
                                                        justice agencies at all levels of government should
safety. Law enforcement agencies should
                                                        work together to reform policies and procedures
work with community residents to identify
                                                        that push children into the juvenile justice system.
problems and collaborate on implementing
solutions that produce meaningful results for
the community.                                          4.6.2 A CTION I TEM : In order to keep youth
                                                        in school and to keep them from criminal and vi-
4.5.1 A CTION I TEM : Law enforcement agen-             olent behavior, law enforcement agencies should
cies should schedule regular forums and meetings        work with schools to encourage the creation of
where all community members can interact with           alternatives to student suspensions and expulsion
police and help influence programs and policy.          through restorative justice, diversion, counseling,
                                                        and family interventions.

4.5.2 A CTION I TEM : Law enforcement
agencies should engage youth and communities            4.6.3 A CTION I TEM : Law enforcement agen-
in joint training with law enforcement, citizen         cies should work with schools to encourage the
academies, ride-alongs, problem solving teams,          use of alternative strategies that involve youth in
community action teams, and quality of life             decision making, such as restorative justice, youth
teams.                                                  courts, and peer interventions.


4.5.3 A CTION I TEM : Law enforcement agen-             4.6.4 A CTION I TEM : Law enforcement
cies should establish formal community/citizen          agencies should work with schools to adopt an
advisory committees to assist in developing crime       instructional approach to discipline that uses
prevention strategies and agency policies as well       interventions or disciplinary consequences to help
as provide input on policing issues.                    students develop new behavior skills and positive
                                                        strategies to avoid conflict, redirect energy, and
                                                        refocus on learning.
4.5.4 A CTION I TEM : Law enforcement agen-
cies should adopt community policing strategies
that support and work in concert with economic          4.6.5 A CTION I TEM : Law enforcement
development efforts within communities.                 agencies should work with schools to develop and
                                                        monitor school discipline policies with input and
                                                        collaboration from school personnel, students,




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families, and community members. These policies     4.7.1 A CTION I TEM : Communities and law
should prohibit the use of corporal punishment      enforcement agencies should restore and build
and electronic control devices.                     trust between youth and police by creating pro-
                                                    grams and projects for positive, consistent, and
4.6.6 A CTION I TEM : Law enforcement               persistent interaction between youth and police.
agencies should work with schools to create a
continuum of developmentally appropriate and        4.7.2 A CTION I TEM : Communities should
proportional consequences for addressing ongo-      develop community- and school-based
ing and escalating student misbehavior after all    evidence-based programs that mitigate punitive
appropriate interventions have been attempted.      and authoritarian solutions to teen problems.


4.6.7 A CTION I TEM : Law enforcement               5.1 R ECOMMENDATION : The Federal
agencies should work with communities to play       Government should support the development
a role in programs and procedures to reintegrate    of partnerships with training facilities across
juveniles back into their communities as they       the country to promote consistent standards
leave the juvenile justice system.                  for high quality training and establish training
                                                    innovation hubs.
4.6.8 A CTION I TEM : Law enforcement agen-
cies and schools should establish memoranda of      5.1.1 A CTION I TEM : The training innovation
agreement for the placement of School Resource      hubs should develop replicable model programs
Officers that limit police involvement in student   that use adult-based learning and scenario-based
discipline.                                         training in a training environment modeled less
                                                    like boot camp. Through these programs the hubs
4.6.9 A CTION I TEM : The Federal Govern-           would influence nationwide curricula, as well as
ment should assess and evaluate zero tolerance      instructional methodology.
strategies and examine the role of reasonable
discretion when dealing with adolescents in         5.1.2 A CTION I TEM : The training innovation
consideration of their stages of maturation or      hubs should establish partnerships with academic
development.                                        institutions to develop rigorous training practices,
                                                    evaluation, and the development of curricula
                                                    based on evidence-based practices.
4.7 R ECOMMENDATION : Communities
need to affirm and recognize the voices
of youth in community decision making,              5.1.3 A CTION I TEM : The Department of
facilitate youth-led research and problem           Justice should build a stronger relationship with
solving, and develop and fund youth                 the International Association of Directors of Law
leadership training and life skills                 Enforcement (IADLEST) in order to leverage their
through positive youth/police                       network with state boards and commissions of
collaboration and interactions.                     Peace Officer Standards and Training (POST).




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5.2 R ECOMMENDATION : Law enforcement                    5.5 R ECOMMENDATION : The U.S.
agencies should engage community members                 Department of Justice should instruct the
in the training process.                                 Federal Bureau of Investigation to modify the
                                                         curriculum of the National Academy at Quantico
5.2.1 A CTION I TEM : The U.S. Department of             to include prominent coverage of the topical
Justice should conduct research to develop and           areas addressed in this report. In addition, the
disseminate a toolkit on how law enforcement             COPS Office and the Office of Justice Programs
agencies and training programs can integrate             should work with law enforcement professional
community members into this training process.            organizations to encourage modification of
                                                         their curricula in a similar fashion.

5.3 R ECOMMENDATION : Law enforcement
agencies should provide leadership training              5.6 R ECOMMENDATION : POSTs should
to all personnel throughout their careers.               make Crisis Intervention Training (CIT) a part of
                                                         both basic recruit and in-service officer training.
5.3.1 A CTION I TEM : Recognizing that strong,
capable leadership is required to create cultural        5.6.1 A CTION I TEM : Because of the impor-
transformation, the U.S. Department of Justice           tance of this issue, Congress should appropriate
should invest in developing learning goals and           funds to help support law enforcement crisis
model curricula/training for each level of leadership.   intervention training.


5.3.2 A CTION I TEM : The Federal Government             5.7 R ECOMMENDATION : POSTs should
should encourage and support partnerships be-            ensure that basic officer training includes
tween law enforcement and academic institutions          lessons to improve social interaction as well as
to support a culture that values ongoing education       tactical skills.
and the integration of current research into the
development of training, policies, and practices.        5.8 R ECOMMENDATION : POSTs should
                                                         ensure that basic recruit and in-service officer
5.3.3 A CTION I TEM : The U.S. Department                training include curriculum on the disease of
of Justice should support and encourage                  addiction.
cross-discipline leadership training.
                                                         5.9 R ECOMMENDATION : POSTs should
5.4 R ECOMMENDATION : The U.S.                           ensure both basic recruit and in-service
Department of Justice should develop,                    training incorporates content around
in partnership with institutions of higher               recognizing and confronting implicit bias and
education, a national postgraduate institute             cultural responsiveness.
of policing for senior executives with a
standardized curriculum preparing them to                5.9.1 A CTION I TEM : Law enforcement
lead agencies in the 21st century.                       agencies should implement ongoing, top down
                                                         training for all officers in cultural diversity and




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related topics that can build trust and legitimacy   5.13 R ECOMMENDATION : The U.S.
in diverse communities. This should be accom-        Department of Justice should support
plished with the assistance of advocacy groups       the development and implementation of
that represent the viewpoints of communities that    improved Field Training Officer programs.
have traditionally had adversarial relationships
with law enforcement.                                5.13.1 A CTION I TEM : The U.S. Department
                                                     of Justice should support the development of
5.9.2 A CTION I TEM : Law enforcement agen-          broad Field Training Program standards and
cies should implement training for officers that     training strategies that address changing police
covers policies for interactions with the LGBTQ      culture and organizational procedural justice
population, including issues such as determining     issues that agencies can adopt and customize to
gender identity for arrest placement, the Muslim,    local needs.
Arab, and South Asian communities, and immi-
grant or non-English speaking groups, as well as     5.13.2 A CTION I TEM : The U.S. Department
reinforcing policies for the prevention of sexual    of Justice should provide funding to incentivize
misconduct and harassment.                           agencies to update their Field Training Programs
                                                     in accordance with the new standards.

5.10 R ECOMMENDATION : POSTs should
require both basic recruit and in-service            6.1 R ECOMMENDATION : The U.S.
training on policing in a democratic society.        Department of Justice should enhance and
                                                     further promote its multi-faceted officer
5.11 R ECOMMENDATION : The Federal                   safety and wellness initiative.
Government, as well as state and local
agencies, should encourage and incentivize           6.1.1 A CTION I TEM : Congress should
higher education for law enforcement officers.       establish and fund a national “Blue Alert” warning
                                                     system.
5.11.1 A CTION I TEM : The Federal Gov-
ernment should create a loan repayment and           6.1.2 A CTION I TEM : The U.S. Department of
forgiveness incentive program specifically for       Justice, in partnership with the U.S. Department
policing.                                            of Health and Human Services, should establish a
                                                     task force to study mental health issues unique to
                                                     officers and recommend tailored treatments.
5.12 R ECOMMENDATION : The Federal
Government should support research into the
development of technology that enhances              6.1.3 A CTION I TEM : The Federal Govern-
scenario-based training, social interaction          ment should support the continuing research into
skills, and enables the dissemination                the efficacy of an annual mental health check for
of interactive distance learning for law             officers, as well as fitness, resilience, and nutrition.
enforcement.




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6.1.4 A CTION I TEM : Pension plans should                6.4 R ECOMMENDATION : Every law
recognize fitness for duty examinations as defin-         enforcement officer should be provided with
itive evidence of valid duty or non-duty related          individual tactical first aid kits and training as
disability.                                               well as anti-ballistic vests.


6.1.5 A CTION I TEM : Public Safety Officer               6.4.1 A CTION I TEM : Congress should
Benefits (PSOB) should be provided to survivors of        authorize funding for the distribution of law
officers killed while working, regardless of wheth-       enforcement individual tactical first aid kits.
er the officer used safety equipment (seatbelt or
anti-ballistic vest) or if officer death was the result   6.4.2 A CTION I TEM : Congress should
of suicide attributed to a current diagnosis of           reauthorize and expand the Bulletproof Vest
duty-related mental illness, including but not            Partnership (BVP) program.
limited to post-traumatic stress disorder (PTSD).

                                                          6.5 R ECOMMENDATION : The U.S.
6.2 R ECOMMENDATION : Law enforcement                     Department of Justice should expand efforts
agencies should promote safety and wellness               to collect and analyze data not only on officer
at every level of the organization.                       deaths but also on injuries and “near misses.”

6.2.1 A CTION I TEM : Though the Fed-                     6.6 R ECOMMENDATION : Law enforcement
eral Government can support many of the                   agencies should adopt policies that require
programs and best practices identified by the             officers to wear seat belts and bullet-proof
U.S. Department of Justice initiative described in        vests and provide training to raise awareness
recommendation 6.1, the ultimate responsibility           of the consequences of failure to do so.
lies with each agency.

                                                          6.7 R ECOMMENDATION : Congress
6.3 R ECOMMENDATION : The U.S.                            should develop and enact peer review error
Department of Justice should encourage and                management legislation.
assist departments in the implementation of
scientifically supported shift lengths by law
                                                          6.8 R ECOMMENDATION : The U.S.
enforcement.
                                                          Department of Transportation should
                                                          provide technical assistance opportunities for
6.3.1 A CTION I TEM : The U.S. Department of              departments to explore the use of vehicles
Justice should fund additional research into the          equipped with vehicle collision prevention
efficacy of limiting the total number of hours an         “smart car” technology that will reduce the
officer should work within a 24–48-hour period,           number of accidents.
including special findings on the maximum num-
ber of hours an officer should work in a high risk
or high stress environment (e.g., public demon-
strations or emergency situations).




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7.1 R ECOMMENDATION : The President                    y Provide technical assistance and funding to
should direct all federal law enforcement                 national, state, local, and tribal accreditation
                                                          bodies that evaluate policing practices.
agencies to review the recommendations
made by the Task Force on 21st Century                 y Recommend additional benchmarks
Policing and, to the extent practicable, to               and best practices for state training and
                                                          standards boards.
adopt those that can be implemented at the
federal level.                                         y Provide technical assistance and funding
                                                          to state training boards to help them meet
                                                          national benchmarks and best practices in
7.2 R ECOMMENDATION : The U.S.                            training methodologies and content.
Department of Justice should explore public-           y Prioritize grant funding to departments
private partnership opportunities, starting by            meeting benchmarks.
convening a meeting with local, regional, and          y Support departments through an expansion of
national foundations to discuss the proposals             the COPS Office Collaborative Reform Initiative.
for reform described in this report and seeking        y Collaborate with universities, the Office of
their engagement and support in advancing                 Justice Programs and its bureaus (Bureau of
implementation of these recommendations.                  Justice Assistance [BJA], Bureau of Justice
                                                          Statistics [BJS], National Institute of Justice
                                                          [NIJ], and Office of Juvenile Justice and
7.3 R ECOMMENDATION : The U.S.                            Delinquency Prevention [OJJDP]), and others
Department of Justice should charge its                   to review research and literature in order
                                                          to inform law enforcement agencies about
Office of Community Oriented Policing
                                                          evidence-based practices and to identify areas
Services (COPS Office) with assisting the law             of police operations where additional research
enforcement field in addressing current and               is needed.
future challenges.                                     y Collaborate with the BJS to
For recommendation 7.3, the COPS Office                        establish a central repository for data
should consider taking actions including but                    concerning police use of force resulting
not limited to the following:                                   in death, as well as in-custody deaths,
                                                                and disseminate this data for use by both
y Create a National Policing Practices and                      community and police;
     Accountability Division within the COPS Office.
y Establish national benchmarks and best                       provide local agencies with technical
     practices for federal, state, local, and tribal            assistance and a template to conduct
     police departments.                                        local citizen satisfaction surveys;




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                                                                                        APPENDIX E



       compile annual citizen satisfaction        y Collaborate with the NIJ and the BJS to publish
        surveys based on the submission of            an annual report on the “State of Policing” in
        voluntary local surveys, develop a            the United States.
        national level survey as well as surveys
        for use by local agencies and by small     y Provide support to national police
        geographic units, and develop questions       leadership associations and national rank
        to be added to the National Crime             and file organizations to encourage them to
        Victimization Survey relating to citizen      implement task force recommendations.
        satisfaction with police agencies and      y Work with the U.S. Department of Homeland
        public trust.                                 Security to ensure that community
                                                      policing tactics in state, local, and tribal law
y Collaborate with the BJS and others to              enforcement agencies are incorporated into
   develop a template of broader indicators of        their role in homeland security.
   performance for police departments beyond
   crime rates alone that could comprise a
   Uniform Justice Report.




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         “When any part of the American family does not feel like it is being treated fairly,
          that’s a problem for all of us. It means that we are not as strong as a country as
          we can be. And when applied to the criminal justice system, it means we’re not as
          effective in fighting crime as we could be.”
                                                                                       —President Barack Obama

         These remarks underpin the mission of the President’s Task Force on 21st Century Policing: to identify
         ways to build trust between citizens and their law enforcement officers so that all components of a com-
         munity treat one another fairly and justly and are invested in maintaining public safety in an atmosphere
         of mutual respect.




U.S. Department of Justice
Office of Community Oriented Policing Services
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Washington, DC 20530
To obtain details on COPS Office programs,
call the COPS Office Response Center at 800-421-6770.
Visit the COPS Office online at www.cops.usdoj.gov.                                                            e011522679
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